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                                                                           Page 1
                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION
           - - - - - - - - - - - - - - -
           CITY OF ROCKFORD,         Case No. 3:17-cv-50107
                            Plaintiff,
                                              VIDEOTAPED
               v.                             DEPOSITION OF:
                                              DR. STEVEN MILLER
           MALLINCKRODT ARD INC.,
           et al.,                            SEPTEMBER 15, 2022
                                              9:02 a.m.
                        Defendants.
           - - - - - - - - - - - - - - -
           SERIES 17-03-615, a       Case No. 3:20-cv-50056
           designated series of MSP
           RECOVERY CLAIMS, SERIES
           LLC, et al.,
                            Plaintiffs,
               v.

           EXPRESS SCRIPTS INC., et al.,

                        Defendants.
           - - - - - - - - - - - - - - -
                              VIDEOTAPED DEPOSITION OF
           DR. STEVEN MILLER, before Alexis A. Jensen, RPR,
           CRR, and a Certified Court Reporter, at Hilton
           St. Louis Airport, 10330 Natural Bridge Road,
           St. Louis, Missouri, on Thursday,
           September 15, 2022, commencing at approximately
           9:02 a.m., pursuant to Notice.
                             JOSEPH ALBANESE, JR., CSR
                               250 Washington Avenue
                            Toms River, New Jersey 08753
                              Telephone (732) 244-6100
                                 Fax (732) 286-6316
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                                                                           Page 2
     1     A P P E A R A N C E S:
     2
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                                                                           Page 3
     1     APPEARANCES CONTINUED:

     2
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     8

     9         Also present:       Urmila Baumann, Associate Chief
                                      Counsel, Express Scripts
    10                             Nathan Arndt, Videographer

    11

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     3     DR. STEVEN MILLER
     4
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           03     MNK00081796-98, page 78
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           05     MNK00082108, page 82
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                                                                           Page 6
     1                        THE VIDEOGRAPHER:        We are now on

     2              the record.       This is the deposition of

     3              Dr. Steve Miller in the matter of City of

     4              Rockford versus Mallinckrodt ARD, et al.

     5              This deposition is being held at the

     6              Hilton St. Louis Airport, 10330

     7              Natural Bridge Road, St. Louis, Missouri.

     8                        Today's date is September 15th,

     9              2022, and the time is 9:02 a.m.              My name

    10              is Nathan Arndt.         I'm the videographer.

    11              The court reporter is Alexis Jensen.

    12                        Counselors, will you please

    13              introduce yourselves and affiliations for

    14              the record, and the witness will be sworn

    15              in.

    16                        MR. HAVILAND:       This is Don Haviland

    17              from Haviland Hughes, Counsel for the City

    18              of Rockford and the Class.

    19                        MR. FORST:      Good morning.

    20              Keith Forst with Quinn Emanuel Urquhart --

    21              oh, I'm sorry.        I --

    22                        MR. HAVILAND:       We have other

    23              Plaintiffs' Counsel.

    24                        MR. FORST:      Go ahead.      I'm sorry.

    25                        MS. HIGGINS:       Good morning.
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                                                                           Page 7
     1              Anna Higgins, from Milberg, on behalf of

     2              the MSP Series Plaintiffs.

     3                        MR. FORST:      And, again,

     4              Keith Forst, with Quinn Emanuel Urquhart &

     5              Sullivan, on behalf of the witness and

     6              Defendants Express Scripts Entities.

     7                        MR. BARTIMUS:       James Bartimus on

     8              behalf of the City of Rockford.

     9                        MR. HAMANN:      Yes, I'm

    10              Matt Hamann --

    11                        MR. DEWITT:      Anthony DeWitt on

    12              behalf of the City of Rockford.

    13                        MR. HAVILAND:       Oh, we have a crowd.

    14              Okay.     Anyone else for Rockford?

    15                        MR. HAMANN:      Anyone else?

    16                        MR. HAVILAND:       Yeah.    Okay.

    17                        MR. HAMANN:      All right.      You also

    18              have Matt Hamann, from Quinn Emanuel, on

    19              behalf of the Express Scripts Entities.

    20                        MS. BAUMANN:       Urmila Paranjpe

    21              Baumann, Associate Chief Counsel for

    22              Litigation, on behalf of the Express

    23              Scripts Entities.

    24                        MR. HAVILAND:       All right.      We

    25              ready?
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                                                                           Page 8
     1                        Good morning, Dr. Miller.

     2                        (Discussion held off the record.)

     3                          DR. STEVEN MILLER,

     4              having been called as a witness, being

     5              duly sworn, testified as follows:

     6                              EXAMINATION

     7     BY MR. HAVILAND:

     8              Q         Once again, good morning,

     9     Dr. Miller.

    10     A        Good morning.

    11              Q         My name is Don Haviland, and I'm

    12     a -- a lawyer for the City of Rockford in a case

    13     that was filed against Mallinckrodt and

    14     Express Scripts way back in April of 2017.

    15                        I -- you understand you're

    16     appearing today to give a deposition, right?

    17     A        Correct.

    18              Q         Have you ever been deposed before,

    19     sir?

    20     A        Yes, sir.

    21              Q         In the last 10 years?

    22     A        No, sir.

    23              Q         Okay.    In your capacity as an

    24     employee of Express Scripts?

    25     A        No, sir.
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                                                                           Page 9
     1              Q         Okay.    I assume your esteemed

     2     Counsel here has gone over the -- the general

     3     guidelines.      We're in a conference room here in

     4     St. Louis.      We have a stenographer that's taking

     5     down the written transcription.             So, the room

     6     doesn't have very good acoustics, but I will keep

     7     my voice up.

     8                        So, if you don't understand or hear

     9     a question, just ask me.           I want to have a very

    10     clear record with you, so you understand what I'm

    11     asking, and I understand what you're answering.

    12                        Is that fair?

    13     A        Great.

    14              Q         If you need to take a break,

    15     consult with Counsel, you can do that at any

    16     time.    I ask you to give me a heads-up and try

    17     not to do that during a pending question, so that

    18     we can take reasonable breaks, and we'll -- we'll

    19     try to do something in about an hour or so.

    20                        Alrighty?

    21     A        Thank you.

    22              Q         Preliminarily, I want to show you

    23     what was signed this morning.             It's an

    24     acknowledgment of the Confidentiality Order.

    25     I've marked that as Miller Exhibit 1.               And just,
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                                                                           Page 10
      1    if you can, sir, identify your signature.

      2                       (Exhibit 1 was marked.)

      3                       THE DEPONENT:       That's -- that's my

      4              signature.

      5    BY MR. HAVILAND:

      6              Q        Okay.     Perfect.     Thank you.      And

      7    that's just dealing with the issue of some of the

      8    material that was produced by the Defendants in

      9    this case was deemed confidential.               All right.

     10                       You are no longer employed by

     11    Express Scripts?

     12    A         I consult for Cigna.

     13              Q        Cigna.     Okay.    Do you have a title?

     14    A         I'm a consultant to Cigna.

     15              Q        Okay.     When did you take that role

     16    on; after the merger or sometime after that?

     17    A         On January 1st, I stepped down from my

     18    full-time position as executive vice president

     19    and chief clinical officer for Cigna.

     20              Q        If you could just keep your voice

     21    up a little bit, that's -- it's tailing off at

     22    the end.

     23    A         Oh, sorry.

     24              Q        That's okay.       I'm a few feet away

     25    from you, so I'll try to monitor what I'm
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                                                                          Page 11
      1    hearing.      I'm sure the video's picking it up,

      2    but...

      3                       So you were the executive vice

      4    president up until December of 2021?

      5    A         Yes, correct.

      6              Q        Okay.     And then you took on this

      7    consulting role at Cigna, right?

      8    A         Correct.

      9              Q        All right.      Do you have any other

     10    employment outside of your consultancy?

     11    A         No, sir.

     12              Q        Okay.     Let's take a -- a moment

     13    just to acquaint you to the jury.

     14                       You are -- you go by

     15    Dr. Steve Miller, correct?

     16    A         Correct.

     17              Q        And the doctor is what; a doctorate

     18    in?

     19    A         MD.

     20              Q        You're an MD.       Okay.     When did you

     21    graduate medical school, sir?

     22    A         In 1983.

     23              Q        Okay.     Where'd you go?

     24    A         University of Missouri, Kansas City.

     25              Q        Okay.     There's a fellow Lion there
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                                                                          Page 12
      1    that'll want to have a chat with you later.                  He's

      2    from Kansas City himself, so...

      3                       All right.      And then walk me

      4    briefly through your history from graduating

      5    medical school, and -- and get me to Express

      6    Scripts, if you can.

      7    A         Yeah.    So, my first position after medical

      8    school was an intern at the University of

      9    Colorado, Denver.         Stayed there as a medical

     10    resident.      Stayed on as faculty for a year after

     11    that.

     12                       In 1988, I moved to Washington

     13    University in St. Louis, where I was a kidney and

     14    transplant fellow.         I stayed on the faculty there

     15    for 17 years, rising through the ranks, becoming

     16    the chief medical officer for Washington

     17    University and Barnes-Jewish Hospital.                A basic

     18    scientist by training, I had a laboratory, doing

     19    drug discovery.        I have many patents, many

     20    publications.

     21                       In 2005, was recruited to Express

     22    Scripts, and came there, stayed with them through

     23    the Cigna merger, as the executive vice -- or the

     24    executive vice president and chief medical

     25    officer -- or chief medical officer for Express
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                                                                          Page 13
      1    Scripts.      When Cigna bought Express Scripts, I

      2    was asked to be the chief clinical officer for

      3    both companies.        I stayed on for an additional

      4    three years post the merger, as the chief

      5    clinical officer -- the executive vice president

      6    and chief clinical officer for Cigna.

      7              Q        Was there a -- a change in

      8    responsibility or function between chief medical

      9    officer and chief clinical officer?

     10    A         Yes.    So, previously, I was responsible

     11    just for the PBM, which was primarily focused on

     12    pharmaceuticals.         Obviously, Cigna is a health

     13    plan, and so I took responsibility for the health

     14    plan, still overseeing the PBM.              But also, you

     15    know, Cigna is an international health plan, so

     16    we're in 30 different countries and the

     17    United States.

     18              Q        Okay.     So, I want to start in 2005.

     19                       Have you always had the role as a

     20    medical officer within Express Scripts?

     21    A         So, my first position when I came to

     22    Express Scripts was as -- I was the vice

     23    president of product, and stayed in that role for

     24    about the first year and a half or so, before I

     25    became the chief clinical officer.
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                                                                          Page 14
      1              Q        Okay.     So, to about --

      2    A         Chief medical officer.

      3              Q        -- mid '06?

      4    A         Correct.

      5              Q        Okay.     And then you transitioned,

      6    was it, over to --

      7    A         Got promoted to the senior vice president

      8    and chief medical officer.

      9              Q        In about the middle of '06?

     10    A         Correct.

     11              Q        Okay.     And then did your role

     12    essentially stay the same, but grow in

     13    responsibility?

     14    A         So, I was no longer -- so, Express Scripts

     15    had never had a chief medical officer.                When I

     16    was recruited, that was the vision for the

     17    position, but -- and they didn't -- it was

     18    somewhat of a nebulous job description.                 So what

     19    I did is I actually went to all the areas of

     20    Express Scripts to see how I could add value to

     21    them.

     22                       So HR, how can I add value to our

     23    own employee health benefits?             For sales and

     24    account management, how can I support you in the

     25    sales effort?        For legal, how can I be of help
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                                                                          Page 15
      1    to -- to their area?          For government affairs, how

      2    can I support them?          And so, I quickly was able

      3    to establish the ability to help many of the

      4    different areas within Express Scripts.

      5              Q        All right.      Did you also get

      6    involved in any of the business development

      7    functions?

      8    A         Yes.

      9              Q        Okay.     And it's very difficult to

     10    kind of pinpoint in time the business

     11    development, but you're familiar with a gentleman

     12    by the name of Rob Osborne?

     13    A         Yes.

     14              Q        Okay.     And I know he had a title of

     15    business development and kind of oversaw

     16    CuraScript and then later Accredo, when there was

     17    the Medco merger.

     18                       And did you -- did you have any

     19    interface with Mr. Osborne and his group?

     20    A         Yes.

     21              Q        Okay.     In what way -- ways?

     22    A         So, like every other area, if there was

     23    ways I could support them, I would.               You know,

     24    they were really about drug access, and so -- and

     25    at the time, as you know, or shortly thereafter,
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                                                                          Page 16
      1    Express Scripts acquired CuraScript, and so I

      2    supported the -- the due diligence of CuraScript

      3    and the integration of the company.

      4              Q        All right.      And -- and we -- we

      5    call it CuraScript, but it's also Priority

      6    Healthcare, right?

      7    A         Priority was one of the acquisitions of

      8    CuraScript.

      9              Q        Right.     And then later on, when ESI

     10    merged with Medco, it took on a -- similar

     11    companies to what was already in the portfolio,

     12    one of which was Accredo?

     13    A         Correct.

     14                       MR. FORST:      Objection to the form.

     15                       You can answer.

     16    BY MR. HAVILAND:

     17              Q        Is that right?

     18    A         Yes.

     19              Q        Yeah, I'm not going to -- we've

     20    talked to other company executives about these

     21    issues.       I'm just trying to orient ourselves and

     22    your role as -- as kind of a consultant to all

     23    those different areas, right?

     24                       MR. FORST:      Objection to the form.

     25                       You can answer.
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                                                                          Page 17
      1                       THE DEPONENT:       Oh.    Yes, so I

      2              attempted to aid any of the departments

      3              where I could be of value.

      4    BY MR. HAVILAND:

      5              Q        Okay.     Let's -- let's talk a little

      6    bit about Express Scripts.            And obviously, I'm

      7    limiting myself to the time you were there, from

      8    2005 to the time you -- well, you're still

      9    consulting at -- at Cigna, correct?

     10    A         I still consult at Cigna, correct.

     11              Q        So, you still have some consultant

     12    role with respect to the PBM as it exists within

     13    the Cigna company, right?

     14    A         So, yeah, I still, when asked, would --

     15    you know, would be happy to help if -- if there's

     16    services needed at Express Scripts.

     17              Q        What's the mission of Express

     18    Scripts?

     19    A         It's to make drugs more affordable for

     20    Americans.

     21              Q        Okay.     How do they do that?

     22    A         So, we primarily do it by several

     23    mechanisms.       So, making sure the patient's

     24    getting the right drug at the right time through

     25    the right channels, at -- in the most affordable
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                                                                          Page 18
      1    way.    We drive better care through adherence.

      2    So, we have clinical programs that help assist

      3    patients in their care.           And so those are the

      4    primarily -- primary ways in which we assist

      5    patients to get to the right drugs at the lowest

      6    costs.

      7              Q        What does ESI do to help drive down

      8    the cost of prescription drugs?

      9    A         So, one of the -- there are -- there's

     10    essentially no other entities in the US

     11    marketplace that work to drive down the costs of

     12    drugs.     Initially, our biggest lever was the

     13    ability to move people from branded drugs to

     14    generic drugs.        And so, that was extremely

     15    valuable, because generic drugs are often much

     16    more inexpensive than the branded product, but

     17    equally efficacious.

     18                       And then, for the times where there

     19    are no generics, if there's competition, there's

     20    brands that compete in a category, we can pit

     21    them against them, and hopefully get to the

     22    lowest price.

     23              Q        What about specialty drugs, what

     24    are specialty drugs?

     25    A         So, specialty drugs is a category of
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                                                                          Page 19
      1    drugs.     Usually, they are very expensive.              They

      2    usually have special handling requirements.                  They

      3    often are more toxic, and so they're not

      4    routinely handled by retail pharmacists.                 And so,

      5    specialty drugs is a class of drugs that

      6    represents 2 to 4 percent of dispenses, but are

      7    now up to almost 50 percent of the cost of

      8    healthcare -- of pharmaceuticals care.

      9              Q        Can I get those statistics again?

     10    2 to 4 percent --

     11    A         So, 2 to 4 percent of the population uses

     12    a specialty medication, depending on the

     13    population you're looking at; and it's currently

     14    about 50 percent of pharmaceutical spend.

     15              Q        That's astounding, isn't it?

     16    A         It's very -- yes.

     17              Q        And that's grown over time since

     18    you started at Express Scripts, right?

     19    A         Correct.

     20              Q        And it's grown as a function of

     21    drugs being called speciality and then moved out

     22    of general wholesale distribution?

     23    A         That's a minor component to it.             It's the

     24    innovation that's occurred in pharmaceuticals, so

     25    the number of new products that come to the
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                                                                          Page 20
      1    marketplace.       If you look at FDA approvals over

      2    the last decade, the FDA approves more specialty

      3    drugs than it does what are called the

      4    traditional oral solid drugs.

      5                       And so, that's where --

      6                       (Reporter clarification.)

      7                       THE DEPONENT:       The traditional oral

      8    solid drugs for, like, diabetes, high blood

      9    pressure, things like that.

     10                       And so, the real innovation in

     11    pharmaceuticals has been -- and their business

     12    model has been focused on creating new specialty

     13    drugs.

     14    BY MR. HAVILAND:

     15              Q        You -- you said that there's a

     16    minor subset of specialty --

     17    A         There are some drugs that have --

     18              Q        Can I just -- sir?

     19    A         Yeah.

     20              Q        I actually had a thought that I

     21    wanted to convey to you.

     22    A         Oh, sorry.      Okay.

     23              Q        It's the first time, and I asked --

     24    I didn't give you this instruction.               If we could

     25    just have good pace, a couple of seconds, I'll
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                                                                          Page 21
      1    finish my question, and that way we won't talk

      2    over each other, and Alexis here has to get us

      3    both down.       So, I appreciate your willingness to

      4    answer.       Let me just reorient the question.

      5                       This category called "specialty,"

      6    that didn't exist when you got out of medical

      7    school, did it?

      8    A         I don't know.

      9              Q        Do you know what makes a drug,

     10    special, who determines that it's a specialty

     11    drug versus a brand or generic?

     12    A         So, the government actually has a

     13    definition for specialty drugs, and so for the

     14    government, it's any drug that is priced at over

     15    $500.

     16              Q        Okay.     It's based upon price?

     17    A         For the government, yeah.

     18              Q        What about the commercial

     19    marketplace, how is specialty determined?

     20    A         So, as we -- as I said previously, we look

     21    at specialty drugs as high-priced drugs that

     22    often require special handling or instructions or

     23    have a big teaching component for the patient or

     24    have more toxicities.

     25              Q        Okay.     You'd agree with me, apart
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                                                                          Page 22
      1    from innovative medications that are launched

      2    once they're discovered and put out in the

      3    marketplace as innovative in terms of healthcare

      4    treatment, there is a -- a grouping of specialty

      5    drugs that are older, some call them orphan

      6    drugs, they treat very limited patient

      7    populations, and they've been around for a while?

      8    A         Yeah, so orphan drugs have a specific

      9    definition also.

     10              Q        Okay.

     11    A         It's drugs that are designed for

     12    populations of less than 200,000 people.

     13              Q        And are the drugs that treat that

     14    limited patient population in those disease

     15    states for which they treat, are they called

     16    orphan drugs?

     17                       MR. FORST:      I'll just object to the

     18              form.

     19    BY MR. HAVILAND:

     20              Q        Yeah, I just want to understand the

     21    definition that you just gave us.               Is it strictly

     22    based upon population -- patient population?

     23    A         Yes, because -- as far as I understand,

     24    because there's actually tax implications for the

     25    developers of those drugs by getting the orphan
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                                                                          Page 23
      1    designation.       So, when you file at the FDA, you

      2    file to be an orphan product.

      3              Q        And that, like some patent

      4    protection, gives the manufacturer of those

      5    orphan drugs some limited period of exclusivity,

      6    right?

      7    A         That's correct.

      8              Q        About seven years?

      9    A         I can't tell you precisely.            I don't know.

     10              Q        Okay.     That's fair.       And, sir, I

     11    only want to know what you know today, okay?                  I

     12    don't want you to speculate, hypothesize.                 If you

     13    have a thought that's based upon your experience,

     14    I -- I welcome it, but I know what you've done,

     15    and I know what you do.           We have a lot of your

     16    writings, including some emails to your wife

     17    while she was teaching, but I hope to just talk

     18    to you today and elicit your testimony and get

     19    you out of here, okay?

     20    A         Great.

     21              Q        So, let's keep delving down in the

     22    area of specialty drugs.

     23                       So, it -- it exists as a class

     24    designation for drugs outside of branded and

     25    generic, right?
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                                                                          Page 24
      1    A         Correct.

      2              Q        And so the jury's watching this,

      3    and -- and I always try to help them understand

      4    what you and I might know better.

      5                       So, a branded drug would be

      6    something like Lipitor that people take, a

      7    statin, right?

      8    A         Um-hmm.

      9              Q        Is that a yes?

     10                       (Reporter clarification.)

     11                       THE DEPONENT:       Yes.

     12    BY MR. HAVILAND:

     13              Q        I should have said that you always

     14    have to answer verbally too.

     15                       So, the jury would know when they

     16    get a prescription for a statin that says

     17    "Lipitor," they go in, and they would see the

     18    manufacturer that make the branded drug, "I'm

     19    getting Lipitor," right?

     20    A         Correct.

     21              Q        There's also generic versions of

     22    some branded drugs, right?

     23    A         Correct.

     24              Q        And as you pointed out, they're

     25    cheaper?
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                                                                          Page 25
      1    A         Correct.

      2              Q        And some payers will prefer and --

      3    and sometimes mandate generic substitution to

      4    save cost, right?

      5    A         Correct.

      6              Q        All right.      We have this group of

      7    specialty drugs, which, as you point out, has

      8    some special handling characteristics and treats

      9    a very small portion of the population, 2 to 4

     10    percent, right?

     11    A         Correct.

     12              Q        And it's also defined by high cost?

     13    A         Correct.

     14              Q        The government says $500, but some

     15    of those costs range into the hundreds of

     16    thousands of dollars for a treatment regimen,

     17    right?

     18    A         Now millions.

     19              Q        Now millions, that's right.

     20                       Spinraza, $750,000, right?

     21    A         Well, there's now a new gene therapy for

     22    $2.8 million.

     23              Q        Yeah.     It's -- it's really getting

     24    out of control, isn't it, Doctor?

     25                       MR. FORST:      Objection to the form.
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                                                                          Page 26
      1                       THE DEPONENT:       It's a challenge for

      2              everyone.

      3    BY MR. HAVILAND:

      4              Q        Yeah.     I mean, could you imagine a

      5    small municipality or health plan having to pay

      6    $2 million for one -- one beneficiary?                It could

      7    bankrupt plans, you'd agree?

      8    A         Correct.

      9              Q        So, one of the things that Express

     10    Scripts tries to do is tamp down on that -- that

     11    cost, right?

     12    A         Correct.

     13              Q        And specifically in the area of

     14    specialty, after you came to Express Scripts,

     15    Express Scripts acquired CuraScript, which had a

     16    specialty distribution arm, right?

     17    A         Correct.

     18              Q        And -- and so the jury understands,

     19    that's a distributor, a -- a warehouse, and then

     20    a distribution function, for specialty drugs,

     21    right?

     22    A         Correct.

     23              Q        May have some cold storage, but may

     24    have just some general storage within a

     25    warehouse, right?
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 27 of 310 PageID #:39275


                                                                          Page 27
      1    A         I've never been to their warehouse.

      2              Q        Nor have I, but that's what I've

      3    heard.

      4                       And then specialty distributors, in

      5    the case of CuraScript, will distribute out to

      6    specialty pharmacies, right?

      7    A         I -- their -- I assume that could be their

      8    customers, but hospitals, doctors' offices,

      9    others could be their customers.

     10              Q        I'll tell you what, I'm going to

     11    show you a document, just so we can kind of

     12    orient ourselves about the product flow, and see

     13    if you recognize the graphic as something that's

     14    familiar to you.

     15                       As I said, I wasn't going to use a

     16    lot of documents, but sometimes I think it'd be

     17    helpful to use one or two, so you can kind of

     18    see -- we've gotten a lot of information in this

     19    lawsuit, so the information is helpful to us and

     20    the jury to understand what we're speaking about.

     21                       So, I'm going to mark as Exhibit 2

     22    to your deposition a document that I'm sure you

     23    haven't seen before.          So, I want you to take a

     24    moment, and I'm going to look at the graphic on

     25    the page 2, and I'll read into the record, once I
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                                                                          Page 28
      1    give your Counsel a copy of it.

      2                       MR. HAVILAND:       I apologize now, I

      3              only have one of some of these things, but

      4              I do have other copies.

      5                       (Exhibit 2 was marked.)

      6    BY MR. HAVILAND:

      7              Q        So, I'm going to call these

      8    exhibits, Dr. Miller, Miller Exhibits [sic] 1, we

      9    just marked.       This is 2.      For the record, Miller

     10    Exhibit 2 is a Mallinckrodt-produced document,

     11    with the Bates number -- and, sir, I'll be

     12    referring to that in the lower corner.                It's

     13    really the best way to understand documents

     14    produced in litigation.           In the lower right, it

     15    says, MNK, showing that it was produced by

     16    Mallinckrodt, 04024815 through 16.

     17                       This document was prepared by

     18    Steve Cartt on -- on or around June 29th, 2007,

     19    and it was sent to senior executives within

     20    Questcor at the time.          You'll see the email says,

     21    Dear Board Members, attached is a diagram

     22    outlining our new Acthar distribution system.

     23                       Do you see that reference?

     24                       Just in the email, I'm just making

     25    sure you're following with me.
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                                                                          Page 29
      1    A         Yes.

      2              Q        All right.      He says, Please use

      3    this as a reference during Monday's update on the

      4    specialty pharmacy transition.             We'll be happy to

      5    go through this and answer any questions the

      6    Board of Directors may have.

      7                       Do you see that?

      8    A         Yes, sir.

      9              Q        On the -- on the following page is

     10    a graphic for this new Acthar distribution

     11    system.       I like this document, because it's

     12    simple.       It -- it shows the product flow of

     13    Acthar after Questcor contracted with CuraScript

     14    to relaunch Acthar back in 2007.

     15                       Are you familiar with that re- --

     16                       MR. FORST:      Objection to the

     17              characterization of the document.              It --

     18                       MR. HAVILAND:       Hold on.      Hold on,

     19              Counsel.     You can't cut off my --

     20                       MR. FORST:      You can't testify.

     21                       MR. HAVILAND:       Well, you can't cut

     22              off my question.

     23                       MR. FORST:      Are you asking what the

     24              document says?

     25                       MR. HAVILAND:       This is not going to
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 30 of 310 PageID #:39278


                                                                          Page 30
      1              go well --

      2                       MR. FORST:      It wasn't a question.

      3                       MR. HAVILAND:       It's not going to go

      4              well if I can't finish my question.

      5                       MR. FORST:      Even if you talk

      6              louder, it's not going to deter me.               I'm

      7              just saying --

      8                       MR. HAVILAND:       Well, I wasn't done.

      9                       MR. FORST:      But you're --

     10                       MR. HAVILAND:       I'm going to ask him

     11              again --

     12                       MR. FORST:      -- you're describing

     13              the document.

     14                       MR. HAVILAND:       Yes, I am.

     15                       MR. FORST:      Are you asking him if

     16              he's seen it, what it shows, or are you

     17              testifying?      I just want to be clear.

     18                       MR. HAVILAND:       This is going to be

     19              very simple.

     20                       MR. FORST:      All right.

     21                       MR. HAVILAND:       I'm going to ask

     22              questions.

     23                       MR. FORST:      Okay.

     24                       MR. HAVILAND:       You can object.        And

     25              if you speak, we're going to go really
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                                                                          Page 31
      1              long, and we're going to come back.

      2                       MR. FORST:      That's fine.       We will

      3              do those things.        I'll defend the

      4              deposition, but I just said let's ask

      5              questions, not give testimony.

      6    BY MR. HAVILAND:

      7              Q        Dr. Miller, again, if you don't

      8    understand my questions, I want you to tell me

      9    so, and answer only the questions you understand,

     10    because I want to know what you know.

     11                       Now, you have had an opportunity,

     12    sir, to review this document; have you not?

     13                       You've had an opportunity to see

     14    the graphic on page 2, right?

     15    A         Correct.

     16              Q        You were at Express Scripts,

     17    overseeing, consulting, working with, folks

     18    within CuraScript, including Rob Osborne, in

     19    2007, right?

     20                       MR. FORST:      Objection to the form.

     21                       THE DEPONENT:       It's a large

     22              company.     I offered to assist these

     23              people, but I would not characterize it as

     24              I was overseeing their function.

     25    BY MR. HAVILAND:
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                                                                          Page 32
      1              Q        Okay.     But if they needed consult

      2    from a gentleman of your experience, they would

      3    seek it, and at times, you would give it, right?

      4                       MR. FORST:      Object -- objection,

      5              calls for speculation, vague, ambiguous.

      6    BY MR. HAVILAND:

      7              Q        All those things, but go ahead.

      8                       MR. FORST:      And more.

      9                       But you can answer.

     10                       THE DEPONENT:       I -- I was available

     11              if they sought me out.

     12    BY MR. HAVILAND:

     13              Q        All right.      You were familiar, sir,

     14    with the fact that CuraScript contracted with

     15    Questcor for the exclusive distribution of

     16    Acthar?

     17    A         I was not.

     18              Q        You were not.

     19                       You were not in 2007?

     20    A         No.

     21              Q        Did you ever become aware of the

     22    fact that CuraScript contracted with Questcor for

     23    the exclusive distribution of Acthar?

     24    A         Later on, I became aware that we were the

     25    exclusive distributor of Acthar.
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                                                                          Page 33
      1              Q        Tell me the context in which you

      2    learned that fact.

      3    A         It was probably later in the middle of --

      4    probably in the mid '20s -- 2010s, when actually

      5    the -- it may have been when either the investor

      6    community or others started questioning us about

      7    it, probably after the litigation was filed.

      8              Q        The Rockford litigation?

      9    A         That's the only litigation I'm familiar

     10    with.     I -- yes.

     11              Q        Well, I'm only asking, because

     12    there's a lot of litigation involving Acthar.

     13    A         Yeah, but --

     14              Q        You're referring to the Rockford

     15    lawsuit in your answer?

     16    A         I believe so.

     17              Q        You're not referring to the Federal

     18    Trade Commission lawsuit against Mallinckrodt

     19    that preceded the Acthar lawsuit -- lawsuit?

     20    A         No.

     21              Q        You're not referring to the DOJ

     22    investigation lawsuit in Philadelphia for

     23    marketing and sales practices?

     24    A         No.

     25              Q        Okay.     So, you learned about the
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                                                                          Page 34
      1    fact that Express Scripts, CuraScript, had an

      2    exclusive distribution arrangement for Acthar

      3    with Questcor that later became Mallinckrodt

      4    after the Rockford lawsuit; is that fair?

      5    A         I believe that's true.

      6              Q        Okay.     And do you recall who told

      7    you that?

      8    A         No.

      9              Q        All right.      Do you recall the

     10    general context in which you learned that fact?

     11    A         At the time, there were lots of articles

     12    in the press and others, and so it was -- so, I

     13    think I came about the information mainly of the

     14    general lay -- like any general lay public would.

     15              Q        And I had the pleasure of

     16    Mr. Henry's company yesterday in Minneapolis, so

     17    we went over a series of media pieces from -- we

     18    only looked at 2014, after the Mallinckrodt

     19    merger with Questcor, but we reviewed those media

     20    pieces.       And I won't do that with you.           I

     21    actually -- I have them in another place.

     22                       But you were familiar with the fact

     23    that Mr. Henry, who was the head of

     24    communications, would push out to leading

     25    executives, including yourself, with FYI,
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                                                                          Page 35
      1    articles that involved Acthar, Mallinckrodt and,

      2    at times, lawsuits?

      3                       MR. FORST:      Objection to the form.

      4                       THE DEPONENT:       So, I was familiar

      5              with the drug.       Familiarity with the drug

      6              precedes actually even coming to Express

      7              Scripts.     Familiar with some of the price

      8              hikes they had taken, but I was not -- was

      9              not aware of their contractual

     10              arrangements with our company.

     11    BY MR. HAVILAND:

     12              Q        Until after the Rockford lawsuit,

     13    when you became familiar, either through some

     14    media pieces or otherwise, right?

     15    A         I believe so.

     16              Q        Well, let's talk about your

     17    familiarity with the drug.

     18                       That was while you were a

     19    practicing physician?

     20    A         It started in medical school.

     21              Q        Okay.     What did you learn in

     22    medical school?

     23    A         So, during pediatric rotation, when we'd

     24    see someone with infantile spasm, it was the drug

     25    of choice for treating infantile spasm.
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                                                                          Page 36
      1              Q        And did you know what the cost was

      2    at that time?

      3    A         No idea.

      4              Q        Okay.     You -- you've come to learn,

      5    have you not, that prior to Questcor acquiring

      6    the product, it cost about $50, right?

      7    A         Correct.

      8              Q        And after Questcor acquired the

      9    product, they raised the price?

     10    A         Correct.

     11              Q        You've also come to learn that, in

     12    2007, when Questcor contracted with CuraScript,

     13    the price was raised even more, right?

     14                       MR. FORST:      Objection, lack of

     15              foundation, calls for speculation.

     16                       THE DEPONENT:       I --

     17    BY MR. HAVILAND:

     18              Q        Go ahead.

     19    A         So, I was -- I was vaguely aware that the

     20    price of -- of this drug was substantially higher

     21    than when it was launched, and obviously found

     22    that problematic for our clients.

     23              Q        Did you ever investigate why the

     24    price was raised?

     25    A         No.
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                                                                          Page 37
      1              Q        Okay.     Did you ever come to learn

      2    that the price was raised in 2007 after

      3    CuraScript entered into a series of contracts for

      4    the exclusive distribution of Acthar with

      5    Questcor?

      6    A         No.

      7                       MR. FORST:      Objection to the form.

      8    BY MR. HAVILAND:

      9              Q        All right.      The exhibit that I put

     10    in front of you, sir, has a -- shows a

     11    distribution model, and if you could turn to that

     12    page, this -- again, this is a Mallinckrodt

     13    document, and on page 3, you see how it has "MD"

     14    at the top?

     15    A         Yes, sir.

     16              Q        It says, Prescription called in.

     17                       Do you see that?

     18    A         Yes, sir.

     19              Q        And you're familiar with that?             You

     20    were a practicing physician for a while.

     21                       When you were prescribing a drug to

     22    a patient, you'd write a prescription, right?

     23    A         Correct.

     24              Q        It's what doctors do every day?

     25    A         Correct.
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                                                                          Page 38
      1              Q        And then a patient will take that

      2    prescription, in the case of a pharmacy pill, to

      3    CVS, Walgreens, and they'd fill that

      4    prescription, right?

      5    A         Correct.

      6              Q        And that applies for brands and

      7    generics, right?

      8    A         Correct.

      9              Q        With specialty, however -- and

     10    you're familiar with this in your old Express

     11    Scripts -- it doesn't work that way, right?

     12                       The specialty pharmacy isn't a

     13    brick-and-mortar place a patient can walk into,

     14    right?

     15    A         It's a brick-and-mortar place, but they

     16    don't --

     17              Q        Fair enough.

     18    A         -- but it's not -- but patients do not

     19    come to the specialty pharmacy.

     20              Q        In the specialty drug arena,

     21    specialty pharmacies actually distribute the drug

     22    sometimes to the patient's home to

     23    self-administer, right?

     24    A         Correct.

     25              Q        In the case of Acthar, it's a
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                                                                          Page 39
      1    self-administered drug?

      2    A         Correct.

      3              Q        So, the graphic here shows that a

      4    physician would call in a script -- I'm going to

      5    skip over the hub for a moment that's depicted

      6    here, but if you could look down to

      7    CuraScript SP, you were familiar, back in 2007,

      8    that Express Scripts had acquired and then owned

      9    a specialty pharmacy by the name of CuraScript

     10    Specialty Pharmacy, right?

     11    A         Correct.

     12                       MR. FORST:      Object -- let me

     13              just -- wait a beat, so I can get some of

     14              these -- I can have a bunch of questions

     15              ruled on.

     16                       MR. HAVILAND:       That's fine.

     17                       THE DEPONENT:       Sorry.

     18                       MR. FORST:      So, objection to the

     19              form.

     20                       But you can answer.

     21    BY MR. HAVILAND:

     22              Q        And that entity was in the business

     23    of fulfilling prescriptions of specialty

     24    medications, right?

     25    A         Correct.
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                                                                          Page 40
      1              Q        Including Acthar?

      2    A         Correct.

      3              Q        All right.      And if you go back to

      4    the graphic, you see from the box that says,

      5    CuraScript SP, there's an arrow down that says,

      6    Patient.

      7                       Do you see that?

      8                       MR. FORST:      Again, objection, lack

      9              of foundation.

     10                       But you can answer.

     11    BY MR. HAVILAND:

     12              Q        I only asked, do you see that?

     13    A         Yes, sir.

     14              Q        And that's familiar to you, sir,

     15    that in the area of specialty drugs, specialty

     16    pharmacies will sometimes send the medication

     17    directly to the patient's home to

     18    self-administer, right?

     19    A         Correct.

     20              Q        There's no middleman; it goes from

     21    the manufacturer to the specialty pharmacy --

     22    we'll get to that in a moment -- and then it's

     23    dispensed directly to the patient, in the case of

     24    Acthar, right?

     25    A         I -- I believe that's how it works, yes.
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                                                                          Page 41
      1              Q        Now, when you were a practicing

      2    physician, you would administer it in the

      3    hospital setting, I assume?

      4    A         My practice was all university-based.

      5              Q        Okay.     And if a -- if a mother

      6    presented in the hospital and had a child that

      7    had infantile spasms, the hospital would

      8    administer Acthar to that child in the hospital

      9    setting, correct?

     10    A         Correct.

     11                       MR. FORST:      Object -- object to the

     12              form.

     13    BY MR. HAVILAND:

     14              Q        And you'll see in the graphic

     15    there's a hospital box there.             It's a circle.

     16    And that's directly beneath, CuraScript Specialty

     17    Distribution.

     18                       Do you see that?

     19    A         Correct.

     20              Q        Okay.     And when you were practicing

     21    in the hospital setting, sir, you didn't have to

     22    go to CuraScript to get the drug; you'd just go

     23    to the hospital dispensary, right?

     24                       MR. FORST:      Objection, vague,

     25              ambiguous, calls for speculation.
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                                                                          Page 42
      1                       THE DEPONENT:       So, I don't know

      2              where the hospital got the medication

      3              from.

      4    BY MR. HAVILAND:

      5              Q        My point was a little different.

      6                       If you had a child with IS, and --

      7    can you describe that disease state for the jury

      8    to understand what that is.

      9    A         So, it's a horrible complication that

     10    children, predominantly under the age of 2, but

     11    it can be up to the age of 5, get, where they

     12    have seizures that, if uncontrolled, lead to

     13    long-term deleterious effects for neurologic

     14    development.

     15              Q        So, it's like an epileptic seizure,

     16    but for an infant, right?

     17    A         Correct.

     18              Q        And it's -- it's -- the infant

     19    doesn't -- is too young to know what's happening,

     20    right?

     21    A         Correct.

     22                       MR. FORST:      Objection to the form.

     23                       THE DEPONENT:       Correct.

     24    BY MR. HAVILAND:

     25              Q        So, the parents are the ones that
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                                                                          Page 43
      1    the physician talks to about using Acthar to

      2    treat that, right?

      3    A         Correct.

      4              Q        And patients -- or the parents are

      5    relying upon the doctor to prescribe the

      6    appropriate therapy, correct?

      7    A         Correct.

      8              Q        And Acthar has treated infantile

      9    spasms for 60 years?          70 years?

     10    A         It's been in the market since the early

     11    '50s.

     12                       (Reporter clarification.)

     13                       THE DEPONENT:       It has been in the

     14              market since the early '50s, I believe.

     15    BY MR. HAVILAND:

     16              Q        And Acthar is ACTH, right?

     17    A         It is an ACTH preparation.

     18              Q        Okay.     And what do you mean by

     19    that?

     20    A         So, Acthar is made from the pituitaries of

     21    pigs, and so through a proprietary process, they

     22    prepare an ACTH-type formula.

     23              Q        So, the ACTH, the active ingredient

     24    in Acthar, comes from a pig's pituitary gland?

     25    A         Correct.
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                                                                          Page 44
      1              Q        So, it's a biologic?

      2    A         Correct.

      3              Q        It's not something that comes out

      4    of a lab, like some other innovative medications?

      5    A         It's --

      6                       MR. FORST:      Objection to the form.

      7                       THE DEPONENT:       They all come out of

      8              labs, so --

      9    BY MR. HAVILAND:

     10              Q        But I'm saying the active

     11    ingredient in the ACTH in Acthar is porcine; it

     12    comes from a pig?

     13    A         It comes from a pig, and it's a protein,

     14    unlike a chemical medication.

     15              Q        Right.     The -- the difference would

     16    be a synthetic ACTH like Synacthen, right?

     17                       MR. FORST:      Objection to the form.

     18                       THE DEPONENT:       They -- in this

     19              country, they're not equivalent.

     20    BY MR. HAVILAND:

     21              Q        Why do you say that?

     22    A         The FDA has never approved a generic to

     23    Acthar.

     24              Q        Well, that's a different question,

     25    sir.
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                                                                          Page 45
      1                       The FDA has never approved a

      2    generic of Acthar, which is the porcine biologic

      3    product that we've been talking about, right?

      4    A         They've never approved an alternative to

      5    Acthar.

      6              Q        Okay.     So, it's in a -- a class of

      7    drugs of the -- by itself?

      8    A         Yes.

      9              Q        All right.      So, you have spoken

     10    about Acthar at times, and sometimes you've been

     11    asked about Acthar.          And there was an occasion,

     12    sir, where you were with Everett Neville, when

     13    the comment was made that, Acthar is not worth

     14    what Express Scripts is charging for it.

     15                       Do you recall that?

     16                       MR. FORST:      Objection to the form,

     17              lack of foundation.

     18                       THE DEPONENT:       So, Acthar, for many

     19              indications, is not worth what they're

     20              charging for it, correct.

     21    BY MR. HAVILAND:

     22              Q        That's not quite what was said

     23    during the Citibank conference, right?

     24                       MR. FORST:      Objection to the form,

     25              foundation.
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                                                                           Page 46
      1                       THE DEPONENT:       I would have to see

      2              the -- I'd have to see what was said to

      3              comment on that.

      4    BY MR. HAVILAND:

      5              Q        Well, do you recall the conference,

      6    the Citibank conference?

      7    A         I recall the Citibank conference, yes.

      8              Q        You were with Everett Neville?

      9    A         Yes.

     10              Q        Anyone else from the company?

     11    A         There were dozens of people there.

     12              Q        Okay.     And during a Q&A,

     13    Mr. Neville said that, I don't think it's worth

     14    it.    I think Dr. Miller would agree.

     15                       Do you recall that?

     16                       MR. FORST:      Objection to the form,

     17              lack of foundation.

     18    BY MR. HAVILAND:

     19              Q        We can go to the transcript.             I

     20    just want to know what you remember, sir, before

     21    I try to --

     22    A         So, I don't remember the --

     23                       MR. FORST:      Okay.     Let me just

     24              object.

     25                       THE DEPONENT:       Yes.     Sorry.
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                                                                          Page 47
      1                       MR. FORST:      Objection to the form,

      2              lack of foundation.

      3                       THE DEPONENT:       So, I don't remember

      4              the specifics of the conversation.

      5    BY MR. HAVILAND:

      6              Q        Okay.     You do recall that comment

      7    being made, though?

      8                       MR. FORST:      Objection to the form,

      9              asked and answered.

     10                       THE DEPONENT:       I recall comments

     11              that were similar to that, but not -- I

     12              don't know the exact comments that were

     13              made.

     14    BY MR. HAVILAND:

     15              Q        Okay.     And what was your takeaway

     16    about those comments?

     17                       Did you agree that Acthar was not

     18    worth what Express Scripts was charging for it?

     19                       MR. FORST:      Objection to the form,

     20              foundation.

     21                       THE DEPONENT:       So, Acthar has

     22              limited utilization.         For most of the

     23              indications that they're listed for, it is

     24              not of much value.         There are better

     25              drugs.     For a couple of indications, it's
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                                                                          Page 48
      1              still the leading product, and -- and

      2              so -- but it's -- you know, it's priced

      3              very aggressively, and so I was very clear

      4              about not appreciating the price.

      5    BY MR. HAVILAND:

      6              Q        And what are the indications

      7    that -- you say it's limited utilization for most

      8    indications.

      9                       What are you referring to?

     10    A         So, they have some 17 or 19 potential

     11    indications.       For almost all of those, it's a

     12    poor choice.       For a couple indications,

     13    especially infantile spasm, it's still one of the

     14    leading drugs for treating infantile spasm, even

     15    in the year 2022.

     16              Q        So, by your answer, are you

     17    suggesting that Acthar is worth what Express

     18    Scripts charges for it for infantile spasms?

     19                       MR. FORST:      Objection to the form

     20              of the question.

     21                       THE DEPONENT:       So, we don't -- we

     22              attempt to evaluate if drugs are, quote,

     23              "worth what they're charged," but

     24              that's -- to be very honest, it's mostly

     25              opinion.     It's not -- there is very --
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                                                                          Page 49
      1              it's very difficult to put a value on

      2              drugs.

      3                       So, there are organizations that

      4              actually attempt to do that, and we work

      5              with those organizations, but the

      6              marketplace determines the value of

      7              products.

      8    BY MR. HAVILAND:

      9              Q        Well, Express Scripts is the

     10    largest pharmacy benefit manager in the

     11    marketplace, right?

     12    A         No.

     13              Q        It's not?

     14    A         CVS is.

     15              Q        Oh, today they are, right.            There

     16    was a time when Express Scripts was the biggest?

     17    A         I believe so, yes.

     18              Q        That's why time matters.           We have

     19    to decide what time we're talking about with all

     20    the mergers and acquisition.

     21                       The role of PBMs, though, as a

     22    middleman, is to try to leverage that buying

     23    power, representing all the payers and health

     24    plans, to try to get lower costs, right?

     25                       MR. FORST:      Objection to the form.
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                                                                          Page 50
      1                       THE DEPONENT:       So, we aggregate

      2              membership with the -- so that we actually

      3              put more leverage and -- upon the

      4              pharmaceutical industry, correct.

      5    BY MR. HAVILAND:

      6              Q        Yesterday, when I asked similar

      7    questions of Mr. Henry about how Express Scripts

      8    tries to drove -- drive lower costs and make

      9    medicines more affordable, he said there were two

     10    principle functions, and I want to see if you

     11    agree.

     12                       The first is through direct

     13    contracting with pharmaceutical companies and

     14    trying to extract lower prices or price

     15    concessions; and the second was utilization

     16    management.

     17                       Do you generally agree with that?

     18                       MR. FORST:      Objection to the form.

     19              Again, lack of foundation.

     20                       THE DEPONENT:       Yes.

     21    BY MR. HAVILAND:

     22              Q        All right.      And I know you've

     23    already given me some information about the

     24    latter, utilization management, in terms of

     25    making sure that drugs are not overly prescribed
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                                                                          Page 51
      1    for uses and -- and areas that they may not be as

      2    efficacious.       I want to focus on the first part

      3    of it and understand what you know about Express

      4    Scripts' role in negotiating with pharma for

      5    lower prices.

      6                       Can you answer that?

      7                       MR. FORST:      Objection to the form.

      8              Was there a question?

      9                       THE DEPONENT:       What's the question?

     10    BY MR. HAVILAND:

     11              Q        So, I -- I thought what Mr. Henry

     12    said yesterday was very helpful in terms of kind

     13    of putting into buckets the ways in which Express

     14    Scripts can try to make drugs more affordable.

     15                       And, obviously, beneath these

     16    buckets, there's a lot to it, but in the first

     17    way, it's through direct pharmaceutical

     18    negotiations and contracting with drug companies,

     19    right?

     20    A         Correct.

     21              Q        The second way is the broad group

     22    of utilization management, and there, you've got

     23    formulary controls, step therapies, prior

     24    authorizations, exclusions, edits, a host of

     25    things that we'll talk about a little later.
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                                                                          Page 52
      1                       But you generally agree there are

      2    those two tools that PBMs have?

      3    A         Those are the major two, yes.             Correct.

      4              Q        Okay.     And I want to know what you

      5    know about the first tool and how Express

      6    Scripts, during the time that you've been with

      7    Express Scripts, now Cigna, has used that tool in

      8    negotiations with pharmaceutical companies to

      9    drive lower costs.

     10    A         Great.

     11              Q        Okay.

     12    A         So, there are -- when a drug comes to the

     13    market, they're placed in one of three buckets.

     14    There are drugs that are called clinical

     15    includes.      These are drugs that you have to have

     16    on a formulary.        There's no alternative to them.

     17    And so in those particular cases -- and that's

     18    about 15 percent of drugs -- we become a price

     19    acceptor, because we have no leverage on those

     20    drugs.

     21                       On the other extreme, there are

     22    what are called clinical excludes.               These are

     23    drugs that are on the marketplace, but have no

     24    role in modern therapy.           So, these are often

     25    older drugs that haven't been withdrawn from the
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                                                                          Page 53
      1    marketplace.       So, I'll give you an example.

      2    Aldomet, it's an old anti-hypertensive drug.                  You

      3    have to take it three times a day, it has lots of

      4    side effects, and so there is no reason for

      5    someone to prescribe Aldomet.             Less than 1

      6    percent of drugs fit into that category.

      7              Q        Okay.

      8    A         85 percent of drugs are what are called

      9    clinically optional, and that is these are drugs

     10    where there is -- there could be a competitor to

     11    those drugs, we can pit them against each other,

     12    and that's where we can get the majority of the

     13    savings for patients and plan sponsors, because

     14    that's where we can get the pharmaceutical

     15    companies to negotiate on price.

     16              Q        Where do you fit Acthar in those

     17    three buckets?

     18    A         So, Acthar, for the majority of its time,

     19    has been in the clinical include.               It was

     20    something you had to have on a formulary.

     21              Q        And you say "majority."           Has that

     22    changed?

     23    A         It was changed in I believe 2017 or 2018.

     24              Q        '17 or '18, you said?

     25    A         Yeah, I'd have to look at the documents.
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                                                                          Page 54
      1              Q        And why was it changed?

      2    A         It was changed initially in our Medicare

      3    formulary, and the reason was, for adults, they

      4    don't -- adults don't have infantile spasm, and

      5    for adults, there were better drugs for all the

      6    indications for adults.

      7              Q        Including multiple sclerosis?

      8    A         Including multiple sclerosis.

      9              Q        Okay.     And what about in the

     10    commercial payer side?

     11    A         So, the commercial payer side, I believe,

     12    lacked -- I don't know what its status is today

     13    in the commercial payer side, because they have

     14    infants, and so I don't know what the current

     15    status is there.         But I know in the Medicare, we

     16    made that change.

     17              Q        And -- and you say "that change."

     18                       Was that a change by the Pharmacy

     19    and Therapeutics Committee of Express Scripts?

     20    A         Correct.

     21              Q        Okay.     And let's -- let's explore

     22    that a little bit.         It's sometimes also known as

     23    a P&T Committee?

     24    A         Correct.

     25              Q        So, if I use "P&T," you'll know
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                                                                          Page 55
      1    that's the Pharmacy and Therapeutics Committee?

      2    A         Yes, sir.

      3              Q        And what's their function?

      4    A         So, in Express Scripts, we have a

      5    completely independent Pharmacy and Therapeutics

      6    Committee.       We're very proud that it's been

      7    recognized as the gold standard by which you

      8    should do this, because it's a -- of its

      9    independence.        We do not even chose the members

     10    of committee.

     11                       So, the committee is made up of

     12    specialists across all -- almost all the areas in

     13    healthcare.       They evaluate drugs totally

     14    financially blind, and their role is to come up

     15    with a formulary of listed drugs that would allow

     16    doctors to treat essentially any condition that

     17    they encounter.

     18              Q        Okay.     There is an interface

     19    between the company and the P&T Committee, and

     20    specifically I'm thinking of Mr. Behm?

     21    A         Correct.     So, Andy oversees OCEP, the

     22    Office --

     23              Q        You're going to have to help us

     24    with that one.

     25    A         The Office of Clinical Evaluation and
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                                                                          Page 56
      1    Policy.       They prepare the information for the

      2    P&T Committee.        So, they gather the FDA filings,

      3    studies, all the information that they can, so

      4    that the P&T Committee can opine on the relevance

      5    of the drug.

      6              Q        Okay.     And is it accurate that the

      7    product of the -- so, OCEP is an Express Scripts

      8    branch, right?

      9    A         It's a -- part of our organization, yes.

     10              Q        Yeah.     The committee -- the

     11    P&T Committee is this independent organization,

     12    right?

     13    A         Correct.

     14              Q        And other than Mr. Behm, does he

     15    have folks within his group that are part of the

     16    interface of OCEP with the -- with the committee?

     17    A         Yeah.    So, they staff the committee.

     18              Q        What do you mean by that?

     19    A         They're the ones providing -- they produce

     20    monographs of the drugs for the committee to have

     21    the information they need to make their

     22    determination.

     23              Q        Okay.     And the determinations of

     24    the P&T Committee, as overseen by OCEP, is that

     25    what determines where drugs fall in these three
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                                                                          Page 57
      1    buckets; clinical includes, clinical optional,

      2    or --

      3    A         Yes, it is the P&T Committee that

      4    determines their designation.

      5              Q        Okay.

      6                       MR. FORST:      Dr. Miller, just wait

      7              for Don to finish his question.

      8                       THE DEPONENT:       Sorry.

      9    BY MR. HAVILAND:

     10              Q        Yeah, I was actually looking for a

     11    third bucket, but thank you.             It's -- it was

     12    includes, excludes, and optional.               Sometimes I

     13    can't read my own left-handed writing here.

     14                       And so, sometime in '17 or '18 --

     15    you're not sure what year -- Acthar was moved

     16    from one bucket to another.

     17                       Can you tell the jury what -- how

     18    that shift happened.

     19    A         So, there are many different formularies.

     20    There are commercial formularies, Medicare

     21    formularies.       And so, on the Medicare formulary,

     22    which is just, you know, for the most part,

     23    adults, seniors, it -- I know it was shifted at

     24    that point in time.

     25              Q        I just want to be clear, too, from
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                                                                          Page 58
      1    an include to exclude or optional?

      2    A         Optional.

      3              Q        It went to optional.          Okay.

      4                       And that was for the government,

      5    Medicare?

      6    A         The government's the payer in Medicare.

      7              Q        Right.

      8                       (Reporter clarification.)

      9                       THE DEPONENT:       The government is

     10              the payer in Medicare.

     11    BY MR. HAVILAND:

     12              Q        And that's largely because Medicare

     13    doesn't have infants?

     14    A         Correct.

     15              Q        Yeah.     And was there a similar

     16    shift, or at least change in policy, in the

     17    commercial payer side with respect to

     18    formularies, given that there was this shift in

     19    Medicare?

     20                       MR. FORST:      Objection, asked and

     21              answered.

     22                       THE DEPONENT:       You -- I do not

     23              know.

     24    BY MR. HAVILAND:

     25              Q        Okay.     Do you know what drove that
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                                                                          Page 59
      1    decision to change?

      2                       Help me with -- when I asked you

      3    about the -- the -- just the market and the -- we

      4    were working through the PBMs, what do you call

      5    these three buckets?

      6                       In terms of the designations, it's

      7    a way to ascribe a drug to a different class;

      8    include, exclude, or optional?

      9                       MR. FORST:      Objection to the form.

     10    BY MR. HAVILAND:

     11              Q        I'm just trying to have a better

     12    term of art to say than the "three buckets."

     13                       These are the designations that are

     14    used by the PBM to sort drugs?

     15    A         They're used by OCEP to sort drugs.

     16              Q        Oh, okay.      That -- now, I get it.

     17    So, this is -- these are OCEP designations for

     18    drugs?

     19    A         Correct.

     20              Q        And do they review the whole

     21    universe of drugs out there in terms of trying to

     22    bucket them?

     23    A         I probably can't give you -- I -- it's

     24    probably a better question for Andy Behm, who

     25    oversees the process.
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                                                                          Page 60
      1              Q        I have him next week -- or the week

      2    after.     That's fair.       And if you don't know, sir,

      3    it's -- it's fine.         I do want to make sure that I

      4    exhaust your -- your knowledge, but there may be

      5    others who know more.

      6                       So, you don't know if, at the time

      7    the change from include -- and I just -- I have

      8    to be clear, because I'm not yet.

      9                       Was the change in designation in

     10    the Medicare formulary to -- from include to

     11    exclude --

     12                       MR. FORST:      Objection.

     13    BY MR. HAVILAND:

     14              Q        -- or optional?

     15    A         It was from include to optional.

     16              Q        Okay.     What does "optional" mean?

     17    A         That means there are competitive products,

     18    and those can be pitted against each other.

     19              Q        Okay.     And optional applies to a

     20    drug regardless of who's paying for it, right?

     21    A         No.

     22              Q        It doesn't?

     23    A         Different formularies for different

     24    payers.

     25              Q        No, I'm -- I'm -- I'm saying, when
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                                                                          Page 61
      1    you say that they're -- it's designated optional,

      2    because there's other competitive agents that are

      3    better, that applies to the drug, not necessarily

      4    who's paying for it?

      5                       MR. FORST:      Objection to the form.

      6                       THE DEPONENT:       It applies to the

      7              drug on that formulary.

      8    BY MR. HAVILAND:

      9              Q        Right.     So Acthar, as optional, the

     10    committee and OCEP recognize that there are

     11    better treatments for certain indications than

     12    Acthar?

     13                       MR. FORST:      Objection,

     14              mischaracterizes testimony.

     15    BY MR. HAVILAND:

     16              Q        You can answer.

     17    A         So, it may be that they're either better,

     18    because they're more cost effective; or better,

     19    because they are more clinically effective.

     20              Q        Well, the P&T Committee doesn't

     21    look at cost, sir, right?

     22    A         So, the OCEP and the P&T Committee develop

     23    a formulary.       It goes to another committee that

     24    applies a price component, called the VAC

     25    committee, the Value Assessment Committee.
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                                                                          Page 62
      1    They're the ones that actually add a financial

      2    lens.     So, the P&T Committee never sees financial

      3    information.       It goes to this separate committee

      4    called the VAC committee.            The VAC --

      5              Q        You're saying V-A-C?

      6    A         VAC, Value Assessment Committee.              They add

      7    a financial lens to it, and then it comes back to

      8    the P&T Committee to be -- get formal approval.

      9              Q        So, what does the P&T Committee see

     10    after the VAC has done its assessment?

     11    A         A list of drugs with the -- essentially

     12    the question of, Can any doctor treat any illness

     13    that they may encounter with this list of drugs?

     14              Q        And they're just listed blind to

     15    cost?

     16    A         Yes, sir.

     17              Q        They're not ranked?

     18    A         Just blind to cost.

     19              Q        Okay.     And then how does the VAC

     20    assessment and the P&T Committee assessment get

     21    put together in terms of Express Scripts

     22    formularies for Medicare or the private

     23    commercial payers?

     24    A         So then the OCEP committee -- or the OCEP

     25    group puts together a formulary document that is
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                                                                          Page 63
      1    syndicated through to the appropriate parts of

      2    the organization.

      3              Q        I see.     And then they're offered to

      4    commercial payers to accept the formulary

      5    recommendation?

      6    A         So, the commercial payers, and there are,

      7    like I said, many different types of formularies.

      8              Q        Sure.     Okay.    The VAC assessment --

      9    the Value Assessment Committee, is there someone

     10    who headed that up?

     11    A         Yes.

     12                       MR. FORST:      Objection, time frame.

     13                       MR. HAVILAND:       Yeah, we're going to

     14              get there.

     15    BY MR. HAVILAND:

     16              Q        So, do you know who it is

     17    presently?

     18    A         I could guess, but I don't know for sure.

     19              Q        What's the first time you remember

     20    someone who headed that group?

     21    A         When I came to the organization in 2005,

     22    there were people who had -- it's always had

     23    someone who's headed the group.

     24              Q        I'm just looking for a name, sir.

     25    A         Oh.
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                                                                            Page 64
      1              Q        I've seen VAC, and you finally put

      2    some teeth to what it is.

      3    A         Yeah, I can't -- I mean --

      4              Q        It's not Andy Behm?

      5    A         No.

      6              Q        Okay.     And it's an actual committee

      7    within what area of Express Scripts?

      8    A         So, OCEP reports to Andy.           Andy reports up

      9    to me.     The VAC committee sits within the supply

     10    chain of the organization.

     11              Q        Procurement?

     12    A         We call it supply chain.

     13              Q        Mr. Neville's group?

     14                       MR. FORST:      Object to the form.

     15                       THE DEPONENT:       It depends on which

     16              time frame.

     17    BY MR. HAVILAND:

     18              Q        Okay.     Was the VAC committee part

     19    of the supply chain group headed by Mr. Neville

     20    back in 2017, 2018?

     21    A         I would have to reference documents.               I

     22    don't know off the top of my head.

     23              Q        Okay.     Well, you -- and I'm only

     24    going to go to the time prior to the end of '21,

     25    when Mr. Wentworth was the CEO.              And really, it's
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                                                                          Page 65
      1    easier even before Cigna, because now you have

      2    Evernorth, and you have some overlays.                It gets a

      3    little complicated.

      4                       So, when -- when the PBM was a

      5    stand-alone business, with Mr. Wentworth as the

      6    CEO, you were a direct report?

      7    A         Yes, sir.

      8              Q        Mr. Neville was?

      9    A         Yes, sir.

     10              Q        Glen Stettin was?

     11    A         Yes.

     12              Q        And others?       There was a leadership

     13    group that all reported up into Mr. Wentworth,

     14    right?

     15    A         Correct.

     16              Q        And supply chain was a function

     17    within Express Scripts that had a lead that

     18    reported up to Mr. Wentworth, right?

     19    A         Correct.

     20              Q        And is it accurate that Mr. Neville

     21    held that position at some point in time?

     22    A         Correct.

     23              Q        Okay.     And I know when you changed,

     24    and then you changed business functions, it gets

     25    complicated?
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 66 of 310 PageID #:39314


                                                                          Page 66
      1    A         Yes.

      2                       MR. HAVILAND:       All right.       Who

      3              knows what time it is?          Because I don't

      4              want to go too long in our first --

      5                       MR. FORST:      It's been about an

      6              hour.

      7                       MR. HAVILAND:       Just let me finish

      8              up with a couple questions, we'll take a

      9              break.     All right?

     10    BY MR. HAVILAND:

     11              Q        Circling back to the -- the two

     12    tools that a PBM like Express Scripts uses to

     13    drive lower costs, what do you know about what

     14    Express Scripts has done to try to drive down the

     15    cost of Acthar either with Questcor or

     16    Mallinckrodt?

     17                       And in answering my question, sir,

     18    I -- I don't want to shade into utilization

     19    management controls, prior authorization, things

     20    like that, because I only want you to focus on

     21    that tool, that tool, and how, if at all, to your

     22    knowledge, has the PBM used its power to directly

     23    negotiate with Mallinckrodt and Questcor to drive

     24    down lower costs of Acthar?

     25                       MR. FORST:      Objection to the form.
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 67 of 310 PageID #:39315


                                                                          Page 67
      1                       Again, you can answer however you

      2              best think it needs to be answered.

      3                       THE DEPONENT:       So when you think

      4              about the lever of competitive drugs,

      5              being able to compete against another

      6              product, because of the designation of

      7              clinical include, there -- it means there

      8              is no competitive product.            We have almost

      9              no -- essentially no capability to compete

     10              the price down lower.

     11                       So, then we can -- and this is --

     12              sort of gets away from your question

     13              slightly in that, so then the best tool we

     14              have for our clients is utilization

     15              management, making sure it's only utilized

     16              in the most appropriate circumstances.

     17                       And then a third thing that we've

     18              done is -- and probably uniquely us, is

     19              that we've tried to use the bully pulpit

     20              to bring this to light and put pressure on

     21              companies.

     22    BY MR. HAVILAND:

     23              Q        By that, you mean media exposure

     24    and commentary?

     25    A         Yep.
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                                                                          Page 68
      1                       MR. HAVILAND:       Okay.     The first

      2              break in the morning is important for

      3              everyone, so why don't we take our first

      4              break, and we'll be back in about 10

      5              minutes or so.

      6                       (Discussion held off the record.)

      7                       THE VIDEOGRAPHER:         We're going off

      8              the record at 10:01 a.m.

      9                       (Break taken.)

     10                       THE VIDEOGRAPHER:         We are back on

     11              the record at 10:14 a.m.

     12    BY MR. HAVILAND:

     13              Q        Dr. Miller, before the break, I had

     14    asked you to tell me what you knew about how, if

     15    at all, Express Scripts used its power as a PBM

     16    to negotiate a lower price for Acthar directly

     17    with Mallinckrodt or Questcor, and you gave me

     18    three responses.         You said, number one, there's

     19    no competitive product like Acthar, and I'll get

     20    to your other two responses, sir.

     21                       And by that answer, do you agree

     22    with me that, at no point in time, to your

     23    knowledge, did anyone from Express Scripts in

     24    negotiations with Questcor or Mallinckrodt seek

     25    to lower the price of Acthar?
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 69 of 310 PageID #:39317


                                                                          Page 69
      1                       MR. FORST:      Objection to the form.

      2                       THE DEPONENT:       I have no idea.

      3    BY MR. HAVILAND:

      4              Q        You have no knowledge of whether

      5    that ever happened?

      6    A         Correct.

      7              Q        Knowing what you know about Acthar

      8    and the number of times it was brought up in the

      9    media in your presence, did you ever ask anyone

     10    at Express Scripts, Have we ever sought to get

     11    Questcor or Mallinckrodt to lower the price?

     12    A         I'm not in the supply chain, so I don't

     13    deal with those negotiations.             I assume they do

     14    their job to the best of their ability.

     15              Q        So, that wasn't my question, sir.

     16    I just wanted to know if, in your role of being

     17    the chief medical officer of the company, and

     18    having interface with multiple functions within

     19    Express Scripts, did you ever ask whomever had

     20    the ability to do something in terms of lowering

     21    the price directly with the manufacturer, did you

     22    ever ask, Have we, Express Scripts, ever gone to

     23    Questcor or Mallinckrodt and sought to lower the

     24    price of Acthar?

     25                       MR. FORST:      Objection, lack of
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 70 of 310 PageID #:39318


                                                                          Page 70
      1              foundation, assumes facts not in evidence,

      2              calls for speculation.

      3                       THE DEPONENT:       So, I can tell you

      4              specifically for me, knowing there was no

      5              competitive products, and that that was

      6              not a viable lever, that's why I was very

      7              vocal in using the bully pulpit to try to

      8              pressure them to lower the price, which

      9              may or may not be effective, but that's,

     10              in my role, the most effective thing I can

     11              do is to make sure, A, we have the

     12              appropriate utilization management, and B,

     13              that we made it publicly clear that the

     14              price was egregious.

     15    BY MR. HAVILAND:

     16              Q        Okay.     And they're the two other

     17    aspects to your answer, when I asked what has

     18    Express Scripts done to use its power to

     19    negotiate a lower price; utilization management

     20    and the bully pulpit in the media.

     21                       But I want to know specifically,

     22    sir, if you ever said to anyone, Mr. Wentworth,

     23    Mr. Neville, Rob Osborne, anyone in the

     24    organization, Have we ever gone to the

     25    manufacturer and asked for a lower price?
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                                                                          Page 71
      1    A         I'm -- I never have asked that about any

      2    drug.

      3              Q        Okay.     Is it because it's just not

      4    what you do, or is it something else?

      5    A         It's because that's what the company does

      6    every day.

      7              Q        But you don't do that?

      8    A         I said that's what the company does every

      9    day --

     10              Q        Right.

     11    A         -- but it's not what I do specifically.

     12              Q        It's not what you do, right.             I'll

     13    get to the bully pulpit in a moment.

     14                       That's just using public exposure

     15    to try to get the manufacturer to do the right

     16    thing, right?

     17                       MR. FORST:      Objection to the form.

     18                       THE DEPONENT:       That'd be the

     19              intent, yes.

     20    BY MR. HAVILAND:

     21              Q        And in your entire time at Express

     22    Scripts, the price of Acthar has never gone down?

     23    A         No.

     24              Q        All right.      So, the bully pulpit

     25    has not worked?
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                                                                          Page 72
      1                       MR. FORST:      Objection.

      2                       THE DEPONENT:       Don't know.       I don't

      3              know what the price would be absent the

      4              bully pulpit.

      5    BY MR. HAVILAND:

      6              Q        Oh, you think it might be even

      7    higher?

      8    A         Potentially.

      9              Q        Okay.     And I asked you what you

     10    knew about how the product is distributed and how

     11    it's priced, and I realize that's not your direct

     12    role, but in your efforts to try to get some

     13    affordable lever for Acthar, did you come to

     14    learn that Express Scripts has exclusive

     15    distribution rights and preferred pharmacy rights

     16    for Acthar?

     17    A         I'm aware of that now, but I was not aware

     18    of that then.

     19              Q        Knowing what you know -- and when

     20    you say "now," it's back when you learned about

     21    in the context of the -- the media that you

     22    described there?         You don't mean now, 2022; you

     23    knew that fact some time ago?

     24    A         Correct.

     25              Q        Right.     Did you learn that
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                                                                          Page 73
      1    CuraScript Specialty Distribution had an

      2    exclusive distribution contract with Questcor and

      3    then Mallinckrodt that gave it the ability to not

      4    approve a price increase in writing?

      5                       MR. FORST:      Objection to the form,

      6              lack of foundation, calls for a legal

      7              conclusion.

      8                       THE DEPONENT:       I have no idea

      9              what's in the contract.

     10    BY MR. HAVILAND:

     11              Q        Okay.     And again, did you ever ask

     12    anyone within Express Scripts, Do we have the

     13    power, through our exclusive distribution

     14    arrangement -- let me just back that up.

     15                       Acthar is not the only product that

     16    CuraScripts has exclusive distribution rights

     17    for, right?

     18                       MR. FORST:      Objection to the form.

     19                       THE DEPONENT:       Correct.

     20    BY MR. HAVILAND:

     21              Q        I've talked to Ms. Johnston,

     22    JPL (phonetic) Johnston, the former president.

     23                       You were familiar with her?

     24    A         Yes.

     25              Q        I've talked to Earl English, her
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                                                                          Page 74
      1    successor.

      2                       You were familiar with him?

      3    A         Yes.

      4              Q        And I've talked to Bill Shirey, the

      5    current president of CuraScript.

      6                       Do you know him?

      7    A         Yes.

      8              Q        All right.      And each of those

      9    executives confirmed that at no time did

     10    CuraScript Specialty Distribution say no to a

     11    price increase by Questcor or Mallinckrodt.

     12                       Does that surprise you?

     13                       MR. FORST:      Objection to the

     14              testimony, lack of foundation, calls for

     15              speculation.

     16                       THE DEPONENT:       I don't -- you know,

     17              I -- it's -- you know, they do their job.

     18              I do my job.       I can't really speculate on

     19              what --

     20    BY MR. HAVILAND:

     21              Q        You're familiar with the fact that

     22    there's more than 30 exclusive specialty drugs in

     23    the portfolio of CuraScript now, right?

     24    A         Yes.    I mean, we're very proud that we

     25    provide a service where people seek us out to
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                                                                          Page 75
      1    distribute their products.

      2              Q        And those exclusive drugs are some

      3    of the most expensive specialty drugs; are they

      4    not?

      5    A         That's correct.

      6              Q        Have you ever inquired as to

      7    whether or not it's a function of the exclusivity

      8    that is keeping the prices high?

      9    A         So, sometimes the FDA requires

     10    exclusivity, because the drug is so -- has

     11    special requirements for -- I'll give you an

     12    example.      Xyrem's a drug for narcolepsy.             There

     13    has to be a registry of every physician that

     14    prescribes it.        So, the FDA has deemed it

     15    appropriate that it's exclusively distributed.

     16                       There are other drugs, because of

     17    handling requirements, training requirements,

     18    registry requirements, other things, and so

     19    there's a variety of reasons by which drugs are

     20    handled or provided exclusively through one

     21    distributor.

     22              Q        Well, in the case of Acthar, sir,

     23    before you came to the company, and even from '05

     24    and '07, you were aware, were you not, that it

     25    was widely distributed?
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                                                                          Page 76
      1    A         I --

      2                       MR. FORST:      Objection to the form.

      3                       THE DEPONENT:       I was not aware.

      4    BY MR. HAVILAND:

      5              Q        Okay.     Did you come to learn that

      6    fact?

      7                       MR. FORST:      Objection to the form.

      8                       THE DEPONENT:       Just now.

      9    BY MR. HAVILAND:

     10              Q        Well, by definition, if CuraScript

     11    got the exclusive rights, which you testified you

     12    learned, there was a time where it didn't have

     13    exclusivity, right?

     14    A         But it -- I do not know if they were in

     15    a -- with an exclusive distributor prior to that

     16    and switched distributors.

     17              Q        Okay.     And you don't know how your

     18    hospital was able to acquire the product when you

     19    were dispensing it to patients?

     20    A         I --

     21                       MR. FORST:      Object -- objection to

     22              the form of the question.

     23                       THE DEPONENT:       I do not.

     24    BY MR. HAVILAND:

     25              Q        Okay.     Did you ever encounter a
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                                                                          Page 77
      1    situation where there was a delay in being able

      2    to administer Acthar to a baby?

      3    A         I've never prescribed Acthar.

      4              Q        Oh, I thought you did.

      5    A         No, I said I was a medical student.               I had

      6    seen babies on Acthar.           I never prescribed

      7    Acthar.

      8              Q        I see.     As a medical student, you

      9    saw infants with infantile spasms that got

     10    Acthar?

     11    A         Correct.

     12              Q        You never, yourself, prescribed it?

     13    A         I'm not a pediatrician, and don't --

     14              Q        Fair enough.       While you were a

     15    student, did you notice that there was any

     16    appreciable delay in being able to get that

     17    medication for the baby?

     18                       MR. FORST:      Objection to the form.

     19                       THE DEPONENT:       As a student, I

     20              would have no clue if there was a delay in

     21              getting a medication to a -- a patient.

     22    BY MR. HAVILAND:

     23              Q        Well, you might know if the mother

     24    was upset after four days, wouldn't you, sir?

     25    A         I didn't -- you know, when you're on a
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                                                                          Page 78
      1    pediatric rotation, you're not doing continuity

      2    of care in an intensive care unit, so I would --

      3    I would have no clue.

      4              Q        So, the situation you described,

      5    where the FDA mandates exclusivity, you agree

      6    with me that doesn't apply to Acthar?

      7    A         I believe not.

      8              Q        Acthar is simply a drug where

      9    there's some special handling requirements?

     10                       MR. FORST:      Objection to the form.

     11                       THE DEPONENT:       I don't even -- I

     12              don't know.      It's not my area of

     13              expertise.

     14    BY MR. HAVILAND:

     15              Q        So, you can't describe what's

     16    special about the distribution of Acthar as

     17    opposed to any other drug; is that fair?

     18    A         Correct.

     19              Q        All right.      I'm going to mark, as

     20    Exhibits 3 and 4 to your deposition, sir, two

     21    media pieces.

     22                       (Exhibits 3 and 4 were marked.)

     23                       MR. FORST:      Which one is which?

     24    BY MR. HAVILAND:

     25              Q        Dr. Miller, the first exhibit, the
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                                                                          Page 79
      1    article with the press release from Questcor, is

      2    Exhibit 3 to your deposition.

      3                       MR. HAVILAND:       For those on the

      4              Zoom, it's Bates-numbered MNK0081796

      5              through 798; and the second is a Business

      6              Wire release that does not have Bates

      7              numbers.     It's a public document.

      8    BY MR. HAVILAND:

      9              Q        Do you recall seeing any press

     10    releases about the relaunch of Acthar by Questcor

     11    in 2007?

     12    A         No.

     13              Q        I'm going to focus on the --

     14    Exhibit 3, which is the Questcor release, only

     15    because it has the Bates number.              I believe that

     16    the Business Wire is identical to what was

     17    released by Questcor.          If you follow with me,

     18    sir, I'm just going to skip through a couple

     19    places.

     20                       You see it was released on

     21    August 27, 2007?

     22    A         Yes, sir.

     23              Q        There's a general description of

     24    Acthar.       If you go down to where it says, Don M.

     25    Bailey.       Let me know when you have that.
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                                                                          Page 80
      1    A         Yes, sir.

      2              Q        "Questcor's interim president" --

      3    let me stop there.

      4                       Did you ever meet Mr. Bailey?

      5    A         Not that I remember.

      6              Q        Okay.     "Don Bailey commented, The

      7    goal of Questcor's new strategy is to make

      8    manufacturing and distribution of Acthar

      9    economically viable on a stand-alone basis, so

     10    that Questcor can continue to ensure the

     11    availability of Acthar for those patients who

     12    need it most and fund projects, which can --

     13    which can contribute to the growth of the

     14    company."

     15                       Did I read that correctly?

     16    A         Yes.

     17              Q        And if you skip down with me, sir,

     18    there's a paragraph that reads, The

     19    implementation.        Let me know when you have that.

     20                       It's about a third of the way.

     21    A         Yes.    Got it.

     22              Q        Okay.     "The implementation of this

     23    new strategy includes a change in the method of

     24    distribution for Acthar and a significant

     25    increase in the treatment costs."
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                                                                          Page 81
      1                       Do you see that?

      2    A         Yes.

      3              Q        You were aware, were you not, of

      4    the significant increase in the treatment cost

      5    for Acthar; were you not?

      6                       MR. FORST:      Objection to the form

      7              of the question.

      8                       THE DEPONENT:       I knew that Acthar

      9              was expensive.       I did not know about

     10              increases in cost at the time.

     11    BY MR. HAVILAND:

     12              Q        And you didn't know that it was a

     13    strategy of Questcor to change the distribution

     14    of Acthar in order to raise the treatment cost to

     15    fund future projects at the company?

     16                       MR. FORST:      Objection,

     17              mischaracterizes the document, but asked

     18              and answered.

     19                       THE DEPONENT:       Nope.

     20    BY MR. HAVILAND:

     21              Q        Okay.     And other than learning

     22    later, while at Express Scripts, is it fair to

     23    say you didn't know in 2007 that CuraScript

     24    played a role in assisting Questcor to change its

     25    distribution of Acthar; is that fair?
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                                                                          Page 82
      1                       MR. FORST:      Objection to the form.

      2                       THE DEPONENT:       Correct.

      3    BY MR. HAVILAND:

      4              Q        All right.      I'm going to show you

      5    another document from that time frame.

      6                       Do you remember Jerry Carino?

      7    A         Yes.

      8              Q        Who was he?       And this is in '07,

      9    sir.

     10    A         You know, I don't know exactly what

     11    Jerry's role was.         I just remember the name from

     12    CuraScript.

     13              Q        Sure.     I'm going to show you what

     14    I've marked as Exhibit 5 to the deposition.

     15    A         Thank you.

     16                       (Exhibit 5 was marked.)

     17                       MR. HAVILAND:       There you are.

     18    BY MR. HAVILAND:

     19              Q        Exhibit 5 is the Bates number

     20    MNK00082108.       It's an email from Steve Cartt to

     21    Jerry Carino of Express Scripts, with a carbon

     22    copy to Rob Osborne and Greg Isaak.               We've talked

     23    about Mr. Osborne.

     24                       Do you know who Greg Isaak was?

     25    A         No.
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                                                                          Page 83
      1              Q        Okay.     I believe, from his email,

      2    he worked with HealthBridge.

      3                       Were you familiar with the hub

      4    operation that Express Scripts owned called

      5    Health- -- Healthbridge?

      6    A         Yes.

      7              Q        All right.      Obviously, Mr. Osborne

      8    was with CuraScript.          In this email -- and this

      9    is a few months after the relaunch that we looked

     10    at as described in the press -- the August 27

     11    press release in Exhibits 3 and 4.

     12                       November 9, 2007, Mr. Cartt says,

     13    Dear Jerry, when we met in person in Braintree --

     14    and that -- that's where Healthbridge was

     15    located, right, sir, in Massachusetts?

     16    A         I believe so, correct.

     17              Q        "When we met in person in Braintree

     18    several weeks back, you had said to let you know

     19    if I needed anything regarding our account at

     20    Healthbridge.        I think we are now at the point

     21    where I need your help.           As Rob or Greg can tell

     22    you, we haven't been satisfied with

     23    Healthbridge's performance overall and seem to

     24    have hit a wall in terms of improving the

     25    processing of referrals for our lead product,
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                                                                          Page 84
      1    Acthar Gel.       By the way, following the price

      2    increase, of -- Acthar is on a 100 million annual

      3    run rate, so this product is becoming far larger

      4    than any of us had originally expected.

      5    Therefore, as I'm sure you would agree, the

      6    demands on all of us are higher to deliver

      7    performance."

      8                       And then briefly, the following

      9    paragraph, he says, We feel the only way to get

     10    the referral turnaround times down to where we

     11    need them, two to three days, instead of the

     12    current four days, may be well to move the hub to

     13    Orlando and made it -- make it part of the SP.

     14                       And I think that refers to

     15    specialty pharmacy.          Seeing this email written by

     16    Questcor's Steve Cartt to some folks at Express

     17    Scripts, were you aware that, after the change in

     18    distribution, there was a change in the

     19    turnaround times for Acthar getting to patients?

     20    A         No.

     21                       MR. FORST:      Objection.

     22    BY MR. HAVILAND:

     23              Q        Okay.     Were you privy to any

     24    discussions about what Express Scripts was doing

     25    to address that within its organization, whether
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                                                                          Page 85
      1    to move the hub from Massachusetts to CuraScript

      2    in Florida or anything else?

      3    A         No.

      4              Q        Okay.     You see that, after the

      5    price increase, which you see took place in

      6    August, Mr. Cartt estimates that Acthar was on a

      7    100 million annual run.

      8                       Do you see that?

      9    A         Yes.

     10              Q        That's a significant amount of

     11    money, is it not, sir?

     12                       MR. FORST:      Objection to the form.

     13                       THE DEPONENT:       Yes.

     14    BY MR. HAVILAND:

     15              Q        I'm going to show you Rob Osborne's

     16    notes after that email.           This is Exhibit 6 to

     17    your deposition, sir.

     18                       (Exhibit 6 was marked.)

     19    BY MR. HAVILAND:

     20              Q        We -- we've spoken to Mr. Osborne a

     21    couple times in this case, and I'll -- I'll

     22    represent, for the record, this comes from his

     23    files.     This is a series of bullet points

     24    prepared by him.

     25                       MR. FORST:      Okay.     But before the
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                                                                          Page 86
      1              question, I'll just object to the

      2              characterization of the timing and what

      3              these reflect, lack of foundation.

      4    BY MR. HAVILAND:

      5              Q        So, Dr. Miller, you'll see at the

      6    top, the first bullet says, Thanks for joining us

      7    a day earlier.        I'll skip through what he says

      8    about the organization.

      9                       Bullet two, We do want to keep the

     10    program and work with you.

     11                       Bullet seven reads, We went into

     12    the negotiation -- let me know when you have

     13    that, sir.

     14    A         Mm-hmm.

     15              Q        "We went into the negotiation of

     16    the specialty distribution fee knowing that a

     17    price increase was probably coming and that it

     18    would be significant towards orphan drug pricing.

     19    I am very familiar with orphan drug pricing, as I

     20    have contract recently with Genzyme, Alexion,

     21    Celgene, and a couple more biotech that are

     22    coming out with orphan drugs.             From past

     23    experience, I figured 6 to 7K per syringe,

     24    4.5 percent on 6K, $270."

     25                       Did I read that correctly?
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                                                                          Page 87
      1    A         Yes.

      2              Q        And then the last I'm going to read

      3    to you is the bullet following, We were

      4    surprised, as was the market, at the price

      5    increase, and as such, the 4.5 percent

      6    distribution fee was more significant.                I guess

      7    we got paid nicely for the five contracts that we

      8    implemented in 2.5 months, and it should be noted

      9    that we worked hard during this time, and it

     10    should be noted that this strategy did let your

     11    revenue go from about 15 million to 100 million.

     12    As you know, this is huge.

     13                       Did I read that correctly?

     14    A         Yes.

     15              Q        Mr. Osborne's view of the situation

     16    was that the revenue of Acthar went from

     17    15 million to 100 million which is reflected in

     18    Mr. Cartt's email; you'd agree?

     19                       MR. FORST:      Objection to the

     20              characterization, lack of foundation.

     21                       THE DEPONENT:       Yeah, I'm not sure

     22              what expertise I'm adding to this, but

     23              you're reading correctly.

     24    BY MR. HAVILAND:

     25              Q        Thank you.      And we can do some
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                                                                          Page 88
      1    math, sir.

      2                       Four and a half percent on

      3    100 million would be about 4.5 million; would it

      4    not?

      5    A         Yes.

      6              Q        So, CuraScript S- -- SD made a

      7    significant amount of money by participating with

      8    Questcor in the rebranding and relaunch of

      9    Acthar; did it not?

     10                       MR. FORST:      Objection to the form

     11              of the question.

     12                       THE DEPONENT:       I don't -- I do not

     13              know.

     14    BY MR. HAVILAND:

     15              Q        Well, when you came to the company

     16    in 2005, sir, did you seek to investigate whether

     17    or not Express Scripts was involved with drug

     18    companies in allowing them to adopt orphan drug

     19    pricing models to raise the price of older

     20    medications for limited patient populations?

     21                       MR. FORST:      Objection to the form.

     22                       THE DEPONENT:       No.

     23    BY MR. HAVILAND:

     24              Q        Genzyme is one such older drug; is

     25    it not?
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                                                                          Page 89
      1    A         Genzyme is a pharmaceutical company, it's

      2    not a drug.

      3              Q        I'm sorry.      You're correct.        He

      4    references contracts with Genzyme, Alexion, and

      5    Celgene, right?

      6    A         Correct.

      7              Q        You were aware, were you not, that

      8    CuraScript ultimately got the rights to

      9    distribute Genzyme drugs, right?

     10                       MR. FORST:      Objection to the form.

     11                       THE DEPONENT:       I do not know

     12              specifics of what contracts they hold.

     13    BY MR. HAVILAND:

     14              Q        So, you don't know if CuraScript

     15    had exclusive distribution contracts with

     16    Genzyme, Alexion, or Celgene, or any other

     17    company?

     18    A         Correct.

     19              Q        Okay.     When you became aware of the

     20    significant increase in the price of Acthar, and

     21    given your role as the chief medical officer,

     22    with the ability to interface with CuraScript,

     23    Accredo, and the CuraScript Specialty Pharmacy,

     24    the PBM, and even the hub -- we didn't talk about

     25    the hub.
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                                                                          Page 90
      1                       Did you interface with the hub?

      2    A         I don't recall ever interfacing with the

      3    hub.

      4              Q        Okay.     It was part of the

      5    organization, though?

      6    A         Correct.

      7              Q        Okay.     Did you ever say, as the

      8    chief medical officer, that, I've seen Acthar

      9    from the time I was a medical student, and what

     10    can we as a company do to try to lower the price

     11    of this drug that appears to keep going up and up

     12    and up?

     13    A         No.

     14              Q        All right.      So, you'd agree with me

     15    that the lever Express Scripts has to sit down

     16    and negotiate, as Mr. Osborne did on behalf of

     17    CuraScript, that lever to try to drive a lower

     18    price was never utilized by Express Scripts,

     19    right?

     20                       MR. FORST:      Objection to the form.

     21                       THE DEPONENT:       I don't know.

     22    BY MR. HAVILAND:

     23              Q        You have no knowledge that it was

     24    ever used as a lever with Questcor and

     25    Mallinckrodt, correct?
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                                                                           Page 91
      1    A         I do not know.

      2              Q        Right.     All right.      Now, let's

      3    change gears a little bit.            Express Scripts has

      4    sought to go after drug companies that take older

      5    medications, limit distribution, and then reprice

      6    them?

      7    A         Yes.

      8                       MR. FORST:      Just wait for a

      9              question.      I don't think that was a

     10              question.

     11    BY MR. HAVILAND:

     12              Q        That was a good pause, though.

     13    A         I'm sorry.

     14              Q        I appreciate the pace.

     15                       Specifically, sir, you got a lot of

     16    credit for what happened with Daraprim, you're

     17    familiar?

     18    A         I don't know if I got any credit.              I got a

     19    lot -- there was a lot of comment.

     20              Q        We won't talk about Mr. Shkreli's

     21    comment to you, but you were in -- in the

     22    audience with Mr. Henry when you asked the

     23    question of Mr. Shkreli; did you not?

     24    A         So, I was at the Forbes conference.               I

     25    gave a presentation at the Forbes conference, and
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                                                                          Page 92
      1    so did Mr. Shkreli, and I asked a question of

      2    Mr. Shkreli.

      3              Q        What specifically was your question

      4    to Mr. Shkreli?

      5    A         I don't remember the exact question.

      6              Q        It had to do with his pricing for

      7    Daraprim; did it not?

      8    A         Yeah, I know it had to do with the

      9    pricing, but I don't know the specific of the

     10    question.

     11              Q        Well, I think Mr. Henry's take on

     12    it was you asked about why he raised the price so

     13    much for Daraprim?

     14    A         I find -- I question -- as you know, as

     15    you've -- I'm sure you've done your homework --

     16    I've questioned the price of a lot of drugs over

     17    time.

     18              Q        And there, you went after

     19    Mr. Shkreli who was -- at the time, was the CEO

     20    of Turing, right?

     21    A         Correct.

     22              Q        And then, he said back to you -- I

     23    won't paraphrase how he said it, but he said to

     24    you, Your company has been begging for my

     25    business, or words to that effect, right?
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                                                                          Page 93
      1    A         Um-hmm.

      2                       (Reporter clarification.)

      3                       THE DEPONENT:       Yes.

      4    BY MR. HAVILAND:

      5              Q        And after that, a reporter asked

      6    you to fact-check his statement that Express

      7    Scripts was begging for business, and

      8    specifically whether or not there was email

      9    exchanges about that.

     10                       Do you recall that?

     11    A         So, I was -- I was unaware of our

     12    contracting attempts with Turing, so I was -- I

     13    would have had to have sought out help.

     14              Q        You came to learn that there were

     15    attempts by Express Scripts to contract with

     16    Turing for the exclusive rights to Daraprim,

     17    right?

     18    A         Correct.

     19              Q        And you became aware that

     20    Mr. Osborne, the individual who negotiated the

     21    exclusive rights to Acthar with Questcor, was

     22    also negotiating with Mr. Shkreli and Turing to

     23    get the exclusive rights to Daraprim, right?

     24    A         I became aware that, yeah, Mr. Osborne

     25    was -- was the one who was negotiating with
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                                                                          Page 94
      1    Turing, correct.

      2              Q        At the time you asked that question

      3    of Mr. Shkreli, you didn't know that fact,

      4    though?

      5    A         Correct.

      6              Q        All right.      And did you in fact go

      7    back and try to fact-check whether Shkreli was

      8    right that -- whether or not "begging" is the

      9    right word -- Express Scripts was attempting to

     10    get the business of Turing for Daraprim?

     11    A         I went back to find out what our

     12    relationship was with Turing, correct.

     13              Q        What did you learn?

     14    A         I learned that we were trying to negotiate

     15    to -- at some point in time, we had been

     16    negotiating to try to be the distributor for

     17    Turing.

     18              Q        And did that surprise you, sir?

     19    A         No.

     20              Q        Okay.     Did you come to learn what

     21    prices were being discussed with Turing by

     22    Mr. Osborne and Express Scripts?

     23    A         No.

     24              Q        Would it surprise you to learn that

     25    the prices being discussed were higher than
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 95 of 310 PageID #:39343


                                                                          Page 95
      1    Shkreli and Turing actually raised the price to,

      2    750?

      3                       MR. FORST:      Objection to the form,

      4              foundation.

      5                       THE DEPONENT:       Like I said, I was

      6              unaware of the -- those -- the

      7              discussions.       I tend -- I do not know

      8              the -- I don't participate in the

      9              discussions of the contracts for the --

     10              for the access side of the business.               It's

     11              not -- it's not my --

     12    BY MR. HAVILAND:

     13              Q        I get that, sir.

     14    A         -- area.

     15                       MR. FORST:      Don, let -- let -- let

     16              him finish.

     17                       MR. HAVILAND:       I didn't know I was

     18              cutting him, sir.        It's fine.       I didn't

     19              know I was cutting him off.            I looked

     20              down.

     21                       MR. FORST:      Okay.

     22    BY MR. HAVILAND:

     23              Q        I apologize, Dr. Miller.           You can

     24    finish.

     25    A         It's just not my area.          So, I have a --
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                                                                          Page 96
      1    had a big responsibility, and I worked very hard

      2    on my area of the company, and as a senior member

      3    of the company, would see rollups of the results

      4    from other parts of the company, but the

      5    specifics of their operations were left to the

      6    operators of those areas.

      7                       (Discussion held off the record.)

      8    BY MR. HAVILAND:

      9              Q        Dr. Miller, I'm going to show you

     10    what I'm marking as Exhibit 7 to your deposition.

     11    It was marked yesterday, at the deposition of

     12    Brian Henry, as Exhibit 11.

     13                       (Exhibit 7 was marked.)

     14    BY MR. HAVILAND:

     15              Q        And you'll see it's an email sent

     16    by Mr. Henry to you and others.

     17    A         Thank you.

     18              Q        So it's Exhibit 7 to this

     19    deposition, Exhibit 11 to the Henry deposition.

     20    Take a moment to review it, sir.              You'll see, in

     21    the Monday, November 30, email thread to the

     22    executive group -- I think Mr. Henry called it

     23    the leadership group, he says, FYI, tonight at

     24    11:01 p.m. CT, we will issue the release below

     25    announcing our partnership with Imprimis
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                                                                          Page 97
      1    Pharmaceuticals to broaden access to a less

      2    expensive alternative to Daraprim.               We plan to do

      3    embargo interviews today with Dr. Miller so that

      4    media outlets can have the story out at our

      5    embargo time.

      6                       Did I read that correctly?

      7    A         Yes.

      8              Q        And you're familiar with the press

      9    release that follows, right?

     10    A         Yes.

     11              Q        And it announced that, in fact,

     12    Express Scripts, the PBM, went out into the

     13    market face [sic] -- place and found a partner at

     14    Imprimis to produce a lower-cost equivalent to

     15    Daraprim, right?

     16    A         No.

     17              Q        Well, that's what it says, sir.

     18    A         Well, yeah --

     19              Q        Let me just -- let me read it

     20    first.

     21    A         Well, let me just --

     22              Q        Well, let me just read it first,

     23    and then you can comment.

     24                       MR. FORST:      Don, you asked a

     25              question --
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                                                                          Page 98
      1                       MR. HAVILAND:       Let me just read it

      2              first.

      3                       MR. FORST:      No, no, you asked a

      4              question.      He was answering it.

      5                       MR. HAVILAND:       It's withdrawn.

      6              It's withdrawn.

      7                       MR. FORST:      Okay.     So you're going

      8              to ask another question?

      9                       MR. HAVILAND:       I am.

     10                       MR. FORST:      Okay.     Then withdraw

     11              it.    Don't get mad.       There was a question

     12              pending.     He was trying to answer it.            I

     13              don't know why you're frustrated.

     14                       MR. HAVILAND:       I'm not.

     15                       MR. FORST:      Okay.

     16                       MR. HAVILAND:       It's withdrawn,

     17              Counsel.

     18                       MR. FORST:      Okay.

     19                       MR. HAVILAND:       Thank you.

     20                       MR. FORST:      Good.

     21    BY MR. HAVILAND:

     22              Q        Dr. Miller, Express Scripts

     23    announced to the world, on November 30, 2015,

     24    that, Express Script today announced it will

     25    partner with Imprimis Pharmaceuticals to drive
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                                                                          Page 99
      1    access to a low-cost equivalent to Daraprim, a

      2    drug for the treatment of toxoplasmosis that has

      3    recently -- been recently priced out of reach for

      4    people with HIV, pregnant women, and others with

      5    weakened immune systems.

      6                       Did I read that correctly?

      7    A         Yes.    Yes.

      8              Q        Then the next page, in a press

      9    release announced to the world, Imprimis is

     10    offering a compound oral formulation of

     11    pyrimethamine -- did I say that correctly?

     12    A         Pyrimethamine.

     13              Q        Pyrimethamine -- and leucovorin, a

     14    form of folic acid, for as low as $1 per capsule

     15    for people whose pharmacy benefit is managed by

     16    Express Scripts.         While the 62-year-old Daraprim

     17    was priced $13.50 per pill earlier this year, its

     18    owner, Turing Pharmaceuticals, made the decision

     19    in September to increase the price to $750 per

     20    pill.

     21                       Do you see that?

     22    A         Yes.

     23              Q        And then you're quoted, sir, in the

     24    article several times, right?

     25    A         Yes.
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                                                                         Page 100
       1             Q         And I assume that corporate

       2    communications ran those quotes by you before

       3    they used them in their press release, right?

       4    A        Yes.

       5             Q         And so they're accurate?

       6    A        Yes.

       7             Q         All right.      And after this

       8    announcement happened, you went on interviews --

       9    they were described as embargo interviews -- on

     10     behalf of the company, right?

     11     A        Yes.

     12              Q         So you became the focus of the

     13     media's attention on this issue; is that fair?

     14     A        Correct.

     15              Q         And you were prepared for those

     16     interviews in terms of what the company's

     17     position was; were you not?

     18     A        Yes.

     19              Q         And walk me from this release back

     20     in time to when Express Scripts decided to go out

     21     into the marketplace and develop with Imprimis a

     22     lower-cost alternative to Daraprim?

     23                        MR. FORST:      Objection, assumes

     24              facts not in evidence.

     25                        THE DEPONENT:       So, actually, we did
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                                                                         Page 101
       1             not go into the marketplace.             Imprimis

       2             actually came to us with this idea.               So,

       3             we evaluated the idea, and because of the

       4             nature of Daraprim, we thought that this

       5             actually could be viable.            So, we both

       6             vetted this clinically, legally, and --

       7             and were able to figure out how to do

       8             this.

       9    BY MR. HAVILAND:

     10              Q         And it was viable clinically, and

     11     it was cheaper, right?

     12     A        Well, it was viably -- viable clinically

     13     and by the FDA, and it was less expensive,

     14     correct.

     15              Q         And Express Scripts then made the

     16     drug available to its contracted plans through

     17     their compound aspect of their formularies,

     18     correct?

     19     A        Not exactly.

     20              Q         All right.      How was it done?

     21     A        Express Scripts had -- allowed Imprimis to

     22     be the provider within our network for this

     23     product.

     24              Q         Okay.    So existing contracted

     25     health plans would immediately have the ability
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                                                                         Page 102
       1    to cover and pay for this alternative to

       2    Daraprim?

       3    A        Correct.

       4             Q         And Express Scripts, in fact, went

       5    out into the marketplace and promoted the

       6    alternative to the physician community, correct?

       7    A        Correct.

       8             Q         And it did that to counteract

       9    Shkreli's price increase; did it not?

     10     A        Correct.

     11              Q         And I'm going to show you an email

     12     from one plan.       It happens to be a client of my

     13     law firm.      It happens to be a plaintiff in a

     14     lawsuit against Express Scripts.              This is

     15     Exhibit 8 to your deposition, sir.

     16                        MR. HAVILAND:       For those on the

     17     record, it's ExpressScripts5478859 through 860.

     18                        (Exhibit 8 was marked.)

     19     BY MR. HAVILAND:

     20              Q         If you go to the first page, sir --

     21     it's always best to read emails from the bottom

     22     up -- I'll represent to you John Heenan is the

     23     plan administrator of International Union of

     24     Operating Engineers, Local 542.             As I

     25     represented, they have instituted a lawsuit
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                                                                         Page 103
       1    against Express Scripts in suburban Philadelphia

       2    for Acthar.      In October of 2015, Mr. Heenan

       3    writes to Michael Aschi.

       4                       Do you know who that was?

       5    A        No.

       6             Q         Okay.    He's in the sales

       7    organization.       He was the account rep for fund at

       8    the time.      "How do we block Turing's drug and

       9    promote Imprimis to our member?"

     10                        Do you see that?

     11     A        Yes.

     12              Q         And then above that, do you know

     13     who Hiten Patadia is?

     14     A        I do not.

     15              Q         I'm sorry?

     16     A        I do not.

     17              Q         I'm sorry, I just didn't hear you.

     18                        She writes back to Mr. Heenan, Hi,

     19     John, I remember this question from a few months

     20     ago, and I'm sure you've seen some headlines

     21     in -- in the recent news.           ESI has established

     22     access for the compound made by Imprimis.

     23                        So, as of December 3rd and the

     24     press release, everything was in place for plans

     25     like Local 542 to get Acthar -- or to get
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                                                                         Page 104
       1    Daraprim for its members, this alternative, and

       2    cover it, right?

       3    A        Correct.

       4                       MR. FORST:      Objection to the form.

       5    BY MR. HAVILAND:

       6             Q         And that was done in the span of a

       7    couple of months, right?

       8    A        Yes.

       9             Q         Imprimis had the agent available,

     10     right?

     11     A        Yes.

     12              Q         The folks in procurement and

     13     contracting did what they needed to do to get

     14     Express Scripts access to the medication so it

     15     could be fulfilled to members that are contracted

     16     through health plans, right?

     17     A        Yes.

     18              Q         And then it was ultimately covered

     19     and pushed out into the marketplace by Express

     20     Scripts to the physician community, right?

     21     A        Yes.

     22              Q         And this -- Patadia says, I would

     23     just like to let you know that there is no

     24     special enrollment that the fund has to complete.

     25     Your members will have access to the cheaper
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                                                                         Page 105
       1    alternative.       Physicians that have prescribed

       2    Daraprim over the last 12 months will be sent a

       3    proactive fact form informing them about our

       4    decision.

       5                       So, in fact, Express Scripts went

       6    back and looked at utilization and targeted those

       7    physicians that had already prescribed Daraprim

       8    to let them know there was a cheaper alternative,

       9    right?

     10     A        Correct.

     11              Q         And why'd they do that?

     12     A        Because the -- they were going to be using

     13     an alternative form, and it's appropriate for the

     14     physicians to know that.

     15              Q         And it's an appropriate thing, if

     16     you're looking to get -- drive lower costs, to go

     17     to those physicians that are already prescribing

     18     the medication to let them know there's an

     19     alternative, right?

     20     A        Yes.

     21              Q         And then there's an announcement,

     22     if you go to the first page -- well, before that,

     23     Mr. Heenan says, Why can't it work like mandatory

     24     generic?     They can get the drug, but have to pay

     25     the difference?        Or add it to the step therapy
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                                                                         Page 106
       1    list?

       2                       Do you see that?

       3    A        Yes.

       4             Q         Ms. Patadia says, Great question,

       5    John.    Express Scripts is not blocking the brand

       6    or -- and/or advising the physician to utilize

       7    the compound.       And then -- then she, I think,

       8    puts this piece of the press release out there.

       9                       Do you see that?

     10     A        Yes.

     11              Q         So, in fact, there was no edits,

     12     prior authorization, or -- or UM -- utilization

     13     management restriction put on Daraprim, right?

     14     A        I can't -- I don't know what the --

     15              Q         Okay.    That's fair.       But

     16     alternatively, with this new compound agent, it

     17     was promoted out, and Express Scripts made --

     18     took the steps necessary as a PBM so the

     19     contracted plans could get access to it and pay

     20     for it at the cheaper level, right?

     21     A        That's correct.

     22              Q         Now, that was Daraprim, sir.

     23                        And did you come to learn that

     24     Imprimis had also -- came to Express Scripts and

     25     said that they could do the same thing with
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                                                                         Page 107
       1    Acthar?

       2    A        Yes.

       3             Q         What do you recall about that?

       4    A        It's not viable.

       5             Q         Well, that's -- that's your

       6    opinion.

       7                       What do you recall about what they

       8    said?

       9    A        So, Mark Baum, the CEO of Imprimis,

     10     suggested that and some other drugs that he

     11     had -- he believed he could make suitable

     12     alternatives.

     13              Q         You didn't believe him?

     14     A        As the chief medical officer, there's a

     15     huge difference between Daraprim and Acthar that

     16     makes it non-viable for Acthar.

     17              Q         Why is it not viable?

     18     A        Well, as we've already talked about,

     19     Daraprim is a simple chemical, and so taking that

     20     simple chemical and compounding it for

     21     availability for patients is relatively easy.

     22                        Number two is, because we added the

     23     leucovorin to it, it was within FDA guidelines

     24     for us to use.       Without the leucovorin, we could

     25     not have used the -- even a Daraprim compound,
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                                                                         Page 108
       1    because the requirements of the FDA is that you

       2    cannot use a compound with a --

       3    commercially-available products available.

       4                       Number three is, the number of

       5    patients that were on Daraprim, exceedingly

       6    small, and so you can do individual compounds for

       7    individual patients, and so it's not

       8    manufacturing, again, meeting the good graces of

       9    the FDA.

     10              Q         And why is that not viable in

     11     Acthar?

     12     A        Number one is, Acthar is a protein, and so

     13     protein is a really complex structure.                Remember,

     14     it's not just the amino acid sequence.                It's even

     15     the folding of the protein.            And so, you cannot

     16     be assured that what -- taking ACTH and putting

     17     it in a compound would have the same

     18     bioavailability and the same actions as the

     19     manufactured product.

     20                        Second is, because he -- because

     21     the manufactured product is on the marketplace,

     22     the FDA would take a dim view of this.

     23                        And third, because of the volumes,

     24     they would probably be making it in batches,

     25     which means they're manufacturing, and you're not
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                                                                         Page 109
       1    allowed to manufacture in the compounding

       2    business.

       3             Q         Well, let's break that down.

       4                       Acthar is approved for infantile

       5    spasms by the FDA, correct?

       6    A        Acthar is, yes.

       7             Q         Yes.    It has a limited approval for

       8    acute exacerbations of multiple sclerosis?

       9    A        And infantile spasms, correct.

     10              Q         Right.     Infantile spasms, and it

     11     has a secondary approval for acute exacerbations

     12     of MS?

     13     A        Correct.

     14              Q         A flare?

     15     A        Correct.

     16              Q         Just an incident; it's not a

     17     disease-modifying therapy; it only helps to abate

     18     the symptoms of the flare, right?

     19     A        Correct.

     20              Q         You would expect a very limited

     21     prescription, one-and-done to abate the symptoms,

     22     right?

     23     A        Correct.

     24              Q         So, it's a -- it's a very narrow

     25     indication for multiple sclerosis, right?
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                                                                         Page 110
       1    A        Yes.

       2             Q         And as you testified previously,

       3    there are 17 or 18 other indications in the

       4    label, but they are not FDA-approved, right?

       5    A        Correct.

       6             Q         They are simply acknowledged as

       7    indicated for potential use by the physician

       8    community, right?

       9    A        That's correct.

     10              Q         And that's an important

     11     distinction, right?         There's FDA-approved, as

     12     you're pointing out with this situation with

     13     Imprimis, and you have FDA approval for Acthar

     14     for IS and acute exacerbations of MS, right?

     15     A        Correct.

     16              Q         All the other indications are only

     17     indicated for use, right?

     18     A        And that's why we have utilization

     19     management for those.

     20              Q         Okay.    And that's why, you'd agree

     21     with me, the FDA wouldn't take a position in

     22     terms of use of a drug outside of its FDA

     23     approval?

     24     A        I'm not --

     25              Q         Well, for a physician that wants to
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 111 of 310 PageID #:39359


                                                                         Page 111
       1    write a script of Acthar for rheumatoid

       2    arthritis, right, physicians can do off-label

       3    prescriptions all the time, right?

       4    A        That's correct.

       5             Q         In fact, for the better part of its

       6    history, Acthar was an off-label medication for

       7    infantile spasms; was it not?

       8    A        I don't know.

       9             Q         Well, it wasn't approved until

     10     2010, right?

     11                        MR. FORST:      Objection to the form.

     12                        THE DEPONENT:       I don't know the --

     13              I don't know the history of the approval.

     14     BY MR. HAVILAND:

     15              Q         You know it was approved at one

     16     point in time --

     17     A        So, the FDA initially reviewed it in 1952,

     18     but I don't know what the FDA actions subsequent

     19     to that are.

     20              Q         Okay.    Did you come to learn that

     21     it was approved by the FDA at some subsequent

     22     time?

     23     A        So, I know that the label, which I don't

     24     know when it was generated, has it approved for

     25     infantile spasm and for flare -- you know, for
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 112 of 310 PageID #:39360


                                                                         Page 112
       1    episodes of -- exacerbations of MS.

       2             Q         And the label then just deals with

       3    indications and uses for other diseases, right?

       4    A        Correct, which is quirky, because we don't

       5    see that with many labels.

       6             Q         Right.     And it's a -- it's a

       7    quirkiness of the fact that this is such an old

       8    medication, right?

       9    A        It was before effectiveness was a

     10     requirement of the FDA.

     11              Q         Right.     The FDA never determined

     12     effectiveness of Acthar for any use outside of IS

     13     and acute exacerbations of MS?

     14     A        That's correct.

     15              Q         In fact, the original label had

     16     treatment for migraine headaches; did you know

     17     that?

     18     A        No.

     19              Q         It had treatment for delirium

     20     tremens by alcoholics; did you know that?

     21     A        No.

     22              Q         But you are aware the FDA never

     23     studied effectiveness of Acthar for any of those

     24     other indicated potential uses?

     25     A        Until 1962, the FDA didn't look at
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                                                                         Page 113
       1    effectiveness.

       2             Q         Right.     And there's a class of

       3    medications that preceded the FDA; Acthar's one

       4    of them?

       5    A        Correct.

       6             Q         Daraprim is one of them; it was

       7    around before the FDA, right?

       8                       MR. FORST:      Objection to the form,

       9             calls for speculation.

     10     BY MR. HAVILAND:

     11              Q         I'm -- do you know?

     12     A        I don't know.

     13              Q         Okay.    Did Express Scripts ever

     14     take any sample quantities of the Imprimis

     15     product that it was developing as an alternative

     16     to Acthar and test it?

     17                        MR. FORST:      Objection, assumes

     18              facts not in evidence.

     19                        THE DEPONENT:       So, I can tell you

     20              that there is -- we have no capacity to

     21              test it.      It's irrelevant what the testing

     22              is, because until the FDA would have

     23              approved the protein product, it wouldn't

     24              be suitable for us to use on our patients.

     25     BY MR. HAVILAND:
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                                                                         Page 114
       1             Q         Are you saying that -- did Imprimis

       2    ever go to the FDA and get approval for Acthar?

       3    A        I know that the -- Imprimis talked with

       4    the FDA.     To this date, there is no Imprimis

       5    FDA-approved product for use in substitute to

       6    Acthar.

       7             Q         Do you recall Mr. Baum asking

       8    Express Scripts specifically to support it in its

       9    effort to get FDA approval?

     10     A        I do not recall specifically Mark asking

     11     us to support his effort.

     12              Q         You don't?      You don't recall him

     13     asking for financial support to help bring the

     14     product to market and get FDA approval?

     15     A        I know that there were communications with

     16     our company about them when they wanted to spin

     17     out the product.        Those were in later years, but

     18     as you know, that's not what we do.               We do not

     19     create our own products.

     20              Q         Well, you went out and contracted

     21     with Imprimis to bring their product to market

     22     with Daraprim, right?

     23     A        Because it was a simple product that was

     24     safe to -- for them to create and did not run

     25     afoul of the FDA.
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                                                                         Page 115
       1             Q         You agree that the patient

       2    population for the approved uses of Acthar is

       3    narrower than the indicated uses that it's

       4    marketed for?

       5    A        That is correct.

       6             Q         You never explored with Imprimis

       7    developing an alternative to Acthar strictly to

       8    treat IS and acute exacerbations of MS; is that

       9    fair?

     10     A        That would require a clinical trial of

     11     their product, and that was not -- we -- we did

     12     not deem that feasible.

     13              Q         I'm going to show you what I'm

     14     marking as Exhibit 9 to your deposition.

     15                        (Exhibit 9 was marked.)

     16     BY MR. HAVILAND:

     17              Q         Before I get to that exhibit,

     18     you're -- you're familiar with Mark Baum, the CEO

     19     of Imprimis, right?

     20     A        Yes.

     21              Q         You had interactions with him?

     22     A        Yes.

     23              Q         I noticed you're not on all the

     24     emails exchanges; you're on some.

     25                        You've had email exchanges where
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                                                                         Page 116
       1    you were copied with Mr. Baum at Imprimis?

       2    A        I -- I -- I know I had emails with -- that

       3    I was on with Mark, correct.

       4             Q         All right.      Well, here's one such

       5    email where you're in the thread.              So, let me

       6    show you Exhibit 9.

       7    A        Great.

       8             Q         For the record, Exhibit 9 to the

       9    Miller deposition is ExpressScripts0837581

     10     through 7583.       As with all emails, sir, it's

     11     easier to go from the back to front, Mr. Baum's

     12     email to you and Wendy Barnes of

     13     June 5, 2017.

     14                        Do you see that?

     15     A        Yes, sir.

     16              Q         And who's Wendy Barnes?

     17     A        So Wendy was in our network contracting

     18     group.

     19              Q         So, she would be someone who would

     20     be able to speak to the issue of whether or not a

     21     drug could be put out in a network?

     22                        MR. FORST:      Objection to the form.

     23     BY MR. HAVILAND:

     24              Q         Help me with network contracting.

     25     I'm not clear on what that --
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                                                                         Page 117
       1    A        So, she contracts with pharmaceutical

       2    companies and pharmacies for products.

       3             Q         I see.     Okay.    So, she -- she has a

       4    hybrid role between pharma contracting and

       5    pharmacy contracting?

       6    A        I don't know specifically what her

       7    bailiwick is --

       8             Q         That's fair.

       9    A        -- but she's in the supply chain group.

     10              Q         Do you remember this email, sir?

     11     A        I -- seeing the email, yes, I remember it.

     12              Q         All right.      Well, let's take a

     13     moment and review it.          It's written directly to

     14     you --

     15     A        Yep.

     16              Q         -- because Mr. Baum says, Steve.

     17                        That's you, right?

     18     A        Yes.

     19              Q         "I hope all is well with -- I hope

     20     all is well for you and ESI.            We are working with

     21     your colleagues at Accredo on a small project."

     22                        Let me stop there.         I have the

     23     documents, but you're familiar with the fact

     24     that, in addition to Daraprim, Express Scripts

     25     contracted with Imprimis to bring an alternative
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                                                                         Page 118
       1    leuprolide product, the brand agent is Lupron,

       2    that treats prostate cancer, right?

       3    A        I'm -- I'm familiar with the contract.                I

       4    did not know that.

       5             Q         You're familiar with the contract.

       6                       You didn't know what?

       7    A        I didn't -- I'm not familiar with the

       8    leuprolide discussions.

       9             Q         You are or are not?

     10     A        I'm not familiar with --

     11              Q         Oh, I'm sorry.       I didn't know that

     12     you were or were not?

     13     A        I am not.

     14              Q         Okay.    We'll get to that.

     15     A        Okay.

     16              Q         Well, let me do that first, because

     17     he's keying off of that.

     18     A        Yep.

     19              Q         And I want to show you that first.

     20     I'm going to show you what I've marked as

     21     Exhibit 10 to your deposition.

     22                        (Exhibit 10 was marked.)

     23     BY MR. HAVILAND:

     24              Q         It's hard getting around that.

     25     There (handing).        Exhibit 10 to the Miller
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                                                                         Page 119
       1    deposition is ExpressScripts4932466 through 2490.

       2    As I said, sir, you're not copied on all the

       3    exchanges, and this is one of them.               This

       4    precedes the email that we're looking at, though,

       5    by a few months.

       6                       So, you see in the email thread

       7    from Bill Martin -- who was the head of Accredo

       8    at the time, May of 2017?

       9                       MR. FORST:      You're free to

     10              familiarize yourself.

     11     BY MR. HAVILAND:

     12              Q         Yeah, absolutely.        I just want to

     13     know you're familiar with Mr. Martin, who was the

     14     president of Accredo -- vice president, right?

     15     A        Vice president, correct.

     16              Q         Okay.    I'm not going to ask you

     17     about the contract.         I'm going to ask you about

     18     the email threads, just to orient you about this

     19     subject matter.        The email goes on for quite a

     20     number of pages, so if you can go to the Bates

     21     number that ends 2470.          Let me know when you have

     22     that.

     23     A        Got it.

     24              Q         Yep.    And you can read as much as

     25     you need coming up.         As I said, I don't believe
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                                                                           Page 120
       1    you're copied on this thread.             The first email

       2    from Ben Slen.

       3                       Who's he?

       4    A        Ben is a -- one of our employees in

       5    Accredo Health.

       6             Q         Okay.    He's writing back to

       7    Mark Baum -- we've talked about -- and a

       8    Gary Seelhorst at Imprimis.

       9                       Do you know who he was?

     10     A        No.

     11              Q         Okay.    And they say -- Mr. Slen

     12     says, We have a pressing need for a compound

     13     leuprolide for our Freedom Fertility Pharmacy.

     14                        Do you see that?

     15     A        Yes.

     16              Q         And then coming forward, there's

     17     some discussions about talking back and forth.

     18     On 469, the facing page, Mr. Baum writes back,

     19     Ben, we appreciate the opportunity to work with

     20     you on this solution and hopefully others.                 I

     21     have asked our team to make this a priority, and

     22     I think you will be pleased not only with our

     23     quality products and pricing, but, more

     24     importantly, our ability to provide outstanding

     25     service.     Have a great weekend.
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                                                                         Page 121
       1                       Do you see that?

       2    A        Yes.

       3             Q         And then coming forward, there's

       4    a -- a lengthier email at 468, and now we're into

       5    April of 2017, from Mr. Baum.

       6                       Do you see that "strictly

       7    confidential"?

       8    A        Yes.

       9             Q         "I trust we are moving forward on

     10     the leuprolide."

     11                        Do you see that?

     12     A        Yes.

     13              Q         And on the facing page, it makes

     14     reference to the attachment of the contract -- a

     15     redlined contract, and as I said, I'm not going

     16     to go over that, but if you go to page 241,

     17     you'll see there's a Pharmacy Transfer Agreement

     18     created for Freedom Fertility Pharmacy and

     19     Imprimis.

     20                        Do you see that?

     21     A        Yes.

     22              Q         As I said, I'm not concerned about

     23     the contract history.          This email from April 6,

     24     2017 -- and I'm back on page 2468, sir -- it keys

     25     off this discussion about the leuprolide
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                                                                         Page 122
       1    alternative, and in the second paragraph, it

       2    says, I spoke to our team today.

       3                       Do you see that?

       4    A        Yes.

       5             Q         "I spoke to our team today, and it

       6    crossed my mind that our corticotropin

       7    formulation alternative to HP Acthar Gel may

       8    be -- might be much more valuable to you than

       9    leuprolide.      Previously, we decided to not make

     10     our corticotropin available to any of our PBM

     11     relationships and to instead develop it as an

     12     FDA-approved product.          That said, if you had an

     13     interest and would get behind it, we would

     14     consider making it initially available to

     15     Accredo.

     16                        Do you see that?

     17     A        Yes.

     18              Q         So at this point in time, Mr. Baum

     19     is suggesting to Express Scripts that they have a

     20     product they're looking to advance for FDA

     21     approval, but they, in fact, have a product?

     22                        MR. FORST:      Objection to the form.

     23                        THE DEPONENT:       He believes he has a

     24              product.

     25     BY MR. HAVILAND:
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                                                                         Page 123
       1             Q         Okay.    Well, he says to the folks

       2    in this email "our product," and he talks about

       3    developing it as an FDA-approved product.

       4                       Then there's a lengthy discussion

       5    here, and I want to go to the part where it says,

       6    Imprimis ACTH product description.

       7                       Are you there?

       8    A        Yes.

       9             Q         He goes on to talk about, The

     10     porcine product, which is HP Acthar Gel.                He

     11     describes it's amino chain 39.

     12     A        Um-hmm.

     13              Q         And then he says, Imprimis has

     14     developed a stable 39 chain amino acid peptide

     15     that is chemically synthesized rather than from

     16     porcine pig source, but identical in biological

     17     activity.

     18                        Do you see that?

     19     A        I see that.

     20              Q         So, he's suggesting that they're

     21     not trying to replicate the pig product; they're

     22     looking to do a chemically-synthesized product

     23     that would be similar, right?

     24     A        Correct, which would require FDA approval.

     25              Q         Okay.    But he is suggesting that
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                                                                         Page 124
       1    that's what they're doing, right, sir?

       2    A        Um-hmm.

       3                       (Reporter clarification.)

       4                       THE DEPONENT:       Yes.

       5    BY MR. HAVILAND:

       6             Q         And did you know in this time

       7    frame, in 2017, that they had such a product and

       8    they were developing it for FDA approval?

       9                       MR. FORST:      Objection to the form.

     10                        THE DEPONENT:       I knew that they had

     11              a product, and we had told them it has to

     12              be FDA-approved.

     13     BY MR. HAVILAND:

     14              Q         And that was it?

     15     A        Mark, you know, was very excited about his

     16     product.     We had tremendous interest in it, if

     17     they could get it FDA-approved.

     18              Q         Okay.    Express Scripts was not

     19     interested in an alternative to Acthar with

     20     Imprimis if it was not FDA-approved; is that

     21     fair?

     22     A        We -- because of the complexity of the

     23     products, this is different than a chemical.

     24     This is a protein, and proteins are not just

     25     amino acids, but there's protein folding.                 And so
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                                                                         Page 125
       1    knowing the biologic activity of a protein, it is

       2    really crucial to making sure that we're giving

       3    bioequivalent products to our patients.                So we

       4    were interested, but cautious.

       5             Q         Sir, you said, We are giving

       6    bioequivalent products to our patients.

       7                       Express Scripts doesn't administer

       8    products to patients?

       9    A        We help facilitate products getting to

     10     patients.

     11              Q         Physicians administer products to

     12     patients?

     13     A        That's correct.

     14              Q         Express Scripts is a PBM?

     15     A        Correct.

     16              Q         It manages relationships, and it

     17     manages utilization, but it doesn't administer

     18     products to patients, right?

     19     A        That's incorrect.         We have -- through our

     20     subsidiaries, we have nursing staff that goes out

     21     to homes that administers products.

     22              Q         Not Acthar, sir?

     23     A        I don't know about Acthar.

     24              Q         Is it possible that Express Scripts

     25     has a branch that's administering Acthar to
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                                                                         Page 126
       1    patients?

       2    A        I would have to -- we do home

       3    administration of medications, and under certain

       4    circumstances, patients aren't able to even give

       5    themselves self-injectables, and so we assist

       6    that.

       7             Q         Let me show you what I've marked as

       8    Exhibit 11 to your deposition, and then I want to

       9    come back to 9, okay?

     10     A        Yeah.

     11              Q         Exhibit 11 is further in the email

     12     thread than what we just looked at as Exhibit 10.

     13                        (Exhibit 11 was marked.)

     14     BY MR. HAVILAND:

     15              Q         And you'll see it's a different

     16     series of emails.        As I said, these discussions

     17     tend to go around different facets of the

     18     company.     If you go the email from Ben Slen,

     19     April 28, 2017, on page 828.

     20                        Do you have that, sir?

     21     A        Yes, sir.

     22              Q         Mr. Slen writes to Mark Baum and

     23     team, and there's a number of Imprimis people,

     24     Looking forward to meeting you all in person in

     25     San Diego next week.
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                                                                         Page 127
       1                       Did you attend that meeting?

       2    A        No.

       3             Q         All right.      "In terms of agenda,"

       4    he says, "I was hoping we could spend some time

       5    on, one, the leuprolide contract and next steps;

       6    two, CuraScript Specialty Distribution supply

       7    agreement/Avastin; three, additional

       8    opportunities; and, four, facility tour."

       9                       Do you see that?

     10     A        Yes.

     11              Q         Did Express Scripts contract for a

     12     supply of Avastin through Imprimis?

     13     A        I have no --

     14                        MR. FORST:      Objection to the form.

     15                        THE DEPONENT:       I have no idea.

     16     BY MR. HAVILAND:

     17              Q         All right.      The leuprolide contract

     18     and distribution through Freedom Fertility, do

     19     you know if that leuprolide alternative was

     20     FDA-approved?

     21     A        I have -- I'm totally unaware of all

     22     those.

     23              Q         Well, Lupron's FDA-approved; is it

     24     not?

     25     A        Lupron's FDA-approved.
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                                                                         Page 128
       1             Q         So, wouldn't the same concerns

       2    apply in terms of Express Scripts wanting to have

       3    an FDA-approved product as an alternative to an

       4    FDA-approved product?

       5    A        I can't --

       6                       MR. FORST:      Let me just object,

       7             calls for speculation, vague and

       8             ambiguous.

       9                       THE DEPONENT:       Yeah, I can't

     10              comment.      I know nothing about this, so --

     11     BY MR. HAVILAND:

     12              Q         Well, you do know that Lupron

     13     treats prostate cancer, right?

     14     A        Um-hmm.

     15              Q         Yes?

     16     A        Yes.

     17              Q         It's a brand, right?

     18     A        Yes.

     19              Q         It's covered by Express Scripts as

     20     a specialty, right?

     21     A        Yes.

     22              Q         It's high-priced?

     23     A        Yes.

     24              Q         Imprimis, from these documents,

     25     spoke directly with Express Scripts folks about
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                                                                         Page 129
       1    doing a -- a leuprolide alternative, right?

       2                       MR. FORST:      Objection to the form.

       3                       THE DEPONENT:       It appears so.

       4    BY MR. HAVILAND:

       5             Q         And you don't know whether or not

       6    that leuprolide alternative was, in fact,

       7    FDA-approved, right?

       8    A        This never --

       9                       MR. FORST:      Objection, asked and

     10              answered.

     11                        THE DEPONENT:       This has never come

     12              before me.      I do not know anything about

     13              this.

     14     BY MR. HAVILAND:

     15              Q         Okay.    But the concern you raised

     16     about FDA-approved medications being sponsored,

     17     covered, or otherwise addressed by Express

     18     Scripts with Imprimis would apply equally to

     19     Lupron as it does to Acthar; does it not?

     20     A        And we should --

     21                        MR. FORST:      Objection to the form.

     22                        THE DEPONENT:       We have an

     23              obligation to make sure our patients get

     24              high-quality products, and -- and so, when

     25              I'm aware of these things, the -- the --
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                                                                         Page 130
       1             especially protein products that are

       2             complicated, we need to be, you know,

       3             assured that they are the quality that we

       4             can stand behind, and most of -- you know,

       5             that would usually require FDA approval.

       6    BY MR. HAVILAND:

       7             Q         So, let's go back to Exhibit 11,

       8    and then I want to go to Exhibit 9.

       9                       After the discussion about that

     10     meeting, Mr. Baum writes back on the face page,

     11     which is 11827.

     12     A        Which -- are we still with 11?

     13              Q         Yeah.    Exhibit 11, Mark Baum's

     14     email to Ben Slen and others --

     15     A        Got it.

     16              Q         -- on May 3rd.

     17     A        Got it.

     18              Q         Got that?

     19     A        Yes.

     20              Q         "Ben, just a note to thank you and

     21     your team for making the trip to San Diego."                  So

     22     apparently the meeting happened.              "We felt it was

     23     a very productive meeting, and we will be working

     24     on the agreement modifications, as well as the

     25     action items we discussed to move forward with
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                                                                         Page 131
       1    the leuprolide acetate business.              In thinking

       2    about our approach with a product like

       3    corticotropin" -- that's Acthar, right?

       4    A        Yes.

       5             Q         -- "it occurred that if there is an

       6    interest on your side, it might be best to

       7    consider a program in terms of focusing on 100

       8    percent access for your patients where the

       9    branded alternative is not covered."

     10                        Do you see that?

     11     A        Yes.

     12              Q         "Rather than moving market share

     13     from a reference drug to the compound

     14     alternative, perhaps a supplementary co-pay waive

     15     program to promote access to these single-source

     16     branded products where insurance carriers would

     17     otherwise deny coverage, or, when appropriate,

     18     the physicians decides to write the alternative."

     19                        Do you see that?

     20     A        Yes.

     21              Q         So, he has suggested that instead

     22     of having this alternative to Acthar compete with

     23     or try to take away prescriptions for IS and MS,

     24     you focus on the other areas where Acthar is

     25     being prescribed at a high price, right?
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                                                                         Page 132
       1    A        That appears to be what he's implying,

       2    correct.

       3             Q         And Mr. Slen writes back that,

       4    Stephanie and I had a good discussion with

       5    Mark Baum.

       6                       Do you know who Stephanie was?

       7    A        Yes.

       8             Q         Who's that?

       9    A        Stephanie Uder is one of our employees.                I

     10     don't know which department she was working in at

     11     the time.

     12              Q         Okay.    And then Mr. Slen writes

     13     that, The meeting took place yesterday.                We

     14     continue to move forward on the leuprolide

     15     arrangement.       They are reworking a contract for

     16     us.    And that's leuprolide.

     17                        Skipping down, Mr. Slen writes, We

     18     also discussed several other potential

     19     opportunities -- I'm not going to get these names

     20     right -- Xiaflex, Thiola, Avastin, Makena, and

     21     Acthar.

     22                        Do you see those?

     23     A        Yes.

     24              Q         Thiola is a Shkreli drug, right?

     25     A        I don't know.        I don't know who makes
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                                                                         Page 133
       1    Thiola.

       2             Q         Okay.    Do you know the company

       3    Retrophin?

       4    A        Yes.

       5             Q         Do you recall that they --

       6    there was a time when Mr. Shkreli was the CEO of

       7    Retrophin; do you recall that?

       8    A        Oh, yeah.

       9             Q         All right.      In fact, Mr. Shkreli's

     10     company sued over the Synacthen acquisition.

     11                        Were you aware of that?

     12     A        I'm unfamiliar with all that.

     13              Q         Did Express Scripts ever explore a

     14     low-cost alternative to Thiola with Imprimis?

     15     A        I do not know.

     16              Q         Okay.    This email by Mr. Slen --

     17     I'm just going to skip down.            You can read the

     18     whole thing, sir, the one -- I want to read where

     19     he says, The one that is the biggest opportunity,

     20     but also has the most potential issues, is their

     21     corticotropin product to compete with Acthar.

     22     The opportunity that seems like it could be

     23     easiest after leuprolide is Thiola.

     24                        Do you see that?

     25     A        Yes.
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                                                                         Page 134
       1             Q         And you don't know, as you sit

       2    here, whether or not Express Scripts pursued an

       3    alternative product to Thiola to compete with

       4    that high-priced product?

       5    A        I do not.

       6             Q         All right.      Let's go back.       So, now

       7    we have context that was outside of your

       8    discussions.       I want to go back to Exhibit 9 --

       9    A        Sure.

     10              Q         -- which follows these April and

     11     May emails.

     12                        You're in the thread that is

     13     June 26; do you see that?

     14     A        Yep.

     15              Q         So, let's go back to where I was

     16     reading.

     17     A        June 26th.

     18              Q         Yeah, you're on the June 5 email,

     19     and that's where I was reading.             Thank you.      So

     20     it's Exhibit 9, ExpressScripts Bates ending in

     21     7582.

     22     A        Yes.

     23              Q         Mr. Baum's email; do you have that?

     24     A        Yes, sir.

     25              Q         Okay.    And I had veered away when I
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                                                                         Page 135
       1    read the part where Mr. Baum says, We are working

       2    with you colleagues at Accredo on a small

       3    project.

       4                       Now you have a sense of what the

       5    project was, right?

       6                       MR. FORST:      Objection to the form

       7             and characterization, lack of foundation.

       8                       MR. HAVILAND:       He calls it a

       9             project.

     10                        THE DEPONENT:       Okay.

     11     BY MR. HAVILAND:

     12              Q         "But I wanted to reach out on a

     13     different subject.         We are spinning out a company

     14     called Eton Pharmaceuticals.            Eton will develop

     15     and commercialize, among other drug assets, a

     16     viable competitor to Acthar.            Here are a few

     17     points of information."

     18                        Do you see that?

     19     A        Yes, sir.

     20              Q         And then he describes their

     21     formulation.

     22                        Do you see that?

     23     A        Yes.

     24              Q         He says, We have completed a

     25     six-month stability study for based on -- study
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                                                                         Page 136
       1    for based on the USP monograph.

       2                       And such a study is necessary to

       3    begin the process of FDA approval; is it not?

       4    A        Correct.

       5             Q         He then says, In addition to the

       6    technical achievement -- that he describes

       7    above -- he says, of stabilizing a potent

       8    non-gelatin preservative-free synthetic 39 chain

       9    corticotropin formulation -- that's a

     10     tongue-twister -- we have engaged a former deputy

     11     director at the FDA's Office of Generic Drugs to

     12     help design a clinical development program, which

     13     should allow us to get to market fairly soon.

     14                        Do you see that?

     15     A        Yes.

     16              Q         Then he goes on to say that, We

     17     believe our formulation will compete with Acthar

     18     and offer competition in a market in need of

     19     competition, right?

     20     A        Yes.

     21              Q         Now, is it your testimony that,

     22     after getting this email, you did not pursue

     23     further opportunities with Imprimis to bring a

     24     lower-cost alternative to market, because you

     25     were awaiting FDA approval?
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                                                                         Page 137
       1                       MR. FORST:      Objection to the form.

       2                       THE DEPONENT:       We, you know, found

       3             this interesting, but Mark understood our

       4             need for FDA approval, and our belief is

       5             this is going to require a clinical trial,

       6             and that is not going to be quickly done.

       7    BY MR. HAVILAND:

       8             Q         So, in answer to my question, there

       9    was no effort to further pursue a lower-cost

     10     Acthar alternative through Imprimis, because

     11     Express Scripts was requiring an FDA-approved

     12     product?

     13     A        We don't require -- we -- we are

     14     interested in products that can be competitors,

     15     and in this particular case, it was my belief

     16     that we were going to need to have an

     17     FDA-approved product.

     18              Q         And do you have that same belief as

     19     to other high-priced specialty drugs in terms of

     20     their alternative medications to treat diseases?

     21                        MR. FORST:      Objection to the form.

     22                        THE DEPONENT:       Yeah.    So, you know,

     23              it's a case-by-case basis.            It's what --

     24              you know, it's the areas that I get

     25              involved with, and -- well, you know,
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                                                                         Page 138
       1             almost -- so, we actually, as the FDA, are

       2             very cautious when it comes to

       3             compounding.       The compounding industry

       4             has, as you know, had its own problems,

       5             but we actually have parts of our business

       6             where compounding's important, like

       7             infertility.

       8                       And so -- but, you know, patients'

       9             safety is really important.            There's a lot

     10              of high-priced drugs.          There's a lot of

     11              drugs I wish there were alternatives to,

     12              but we also have to make sure they're safe

     13              products.

     14     BY MR. HAVILAND:

     15              Q         Is there no alternative to Acthar

     16     today?

     17     A        For infantile spasm?          Not that I'm aware

     18     of in the United States.

     19              Q         How about for acute exacerbations

     20     of MS?

     21     A        There are drugs that work I believe better

     22     than Acthar.

     23              Q         And what has Express Scripts done

     24     to utilize that fact, that there are cheaper

     25     better alternatives to acute exacerbations, to
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                                                                         Page 139
       1    drive a lower cost of Acthar for MS?

       2    A        So, we put utilization management in front

       3    of those requests, but that's -- you know, but we

       4    do not have the leverage of a competitive

       5    product.

       6             Q         You have the leverage of

       7    competitive alternative agents to treat the

       8    disease --

       9    A        For MS, correct.

     10              Q         Yes.    And, sir, you've been a -- a

     11     big advocate of indication-specific pricing; have

     12     you not?

     13     A        I would love to make indication-based

     14     pricing work, yes.

     15              Q         And did you ever talk to

     16     Mallinckrodt about that?

     17     A        So, what we've done for indication-based

     18     pricing is I've explored it with some of the

     19     leading, sort of, healthcare economists.                We've

     20     never been able to actually make it work.                 We've

     21     talked to pharmaceutical companies about it.

     22     They're not interested.           So, the best example I

     23     can give you is, in cancer, we -- we've

     24     explored -- there's a --

     25              Q         Oops.
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                                                                          Page 140
       1    A        So, in cancer, we've taken drugs where

       2    they've tried it in different cancers.                We've

       3    seen the difference in survival.              So, there's one

       4    drug used for pancreatic cancer.              It extends your

       5    survival by 12 days.          So, they have an FDA label

       6    for pancreatic cancer.

       7                       That same drug, used in lung

       8    cancer, extends your life by five months.                 So,

       9    we've tried to say, Can we pay differentially

     10     based on the survivals?           The pharmaceutical

     11     companies are not interested in pursuing that.

     12              Q         Because they like the one high

     13     price?

     14     A        Because it will hurt their Medicaid best

     15     price.

     16              Q         That's one factor, but they don't

     17     want to lower the price across the disease

     18     states?

     19     A        Well, the pharmaceutical companies never

     20     want to lower their prices, so they don't

     21     voluntarily lower prices.

     22              Q         So, this idea that you came up with

     23     was to look at drugs, especially high-priced

     24     drugs, and look at the value proposition -- my

     25     words -- across the spectrum of indications for
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                                                                         Page 141
       1    which it can be used, right?

       2    A        Yes.

       3             Q         And realizing that there are some

       4    uses that are higher value than others, have what

       5    you said was differential pricing?

       6    A        Correct.

       7             Q         And differential pricing is a

       8    competitive force in the marketplace that will

       9    drive down --

     10     A        Could be.

     11              Q         -- prices?

     12                        Could be.      But you've never

     13     succeeded?

     14     A        No.

     15              Q         The pharmaceutical industry's not

     16     interested?

     17     A        Correct.

     18                        MR. HAVILAND:       Let's take a break.

     19                        THE VIDEOGRAPHER:        Okay.     Going --

     20              we're going off the record at 11:26 a.m.

     21                        (Break taken.)

     22                        THE VIDEOGRAPHER:        We are back on

     23              the record at 11:49 a.m.

     24     BY MR. HAVILAND:

     25              Q         Dr. Miller, are you familiar with
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                                                                         Page 142
       1    the Drug Trend Report that's put out by

       2    Express Scripts annually?

       3    A        Yes.

       4             Q         And -- and tell the jury what --

       5    what that is.

       6    A        So we, on an annual basis, put out a

       7    report that characterizes how drugs are being

       8    used in the United States and what the trend is

       9    for all the different classes.

     10              Q         And it's -- it's a high-level look

     11     at drugs that are covered on Express Scripts

     12     formularies; is that fair?

     13     A        It actually includes even things not

     14     covered on our formulary, but it's a high-level

     15     look at the -- how drugs are being utilized in

     16     the United States.

     17              Q         And it also tracks cost trends?

     18     A        Yes.

     19              Q         Okay.    And so you're -- you're

     20     able, through that, to look at trends in costs of

     21     specialty medications, among others, right?

     22     A        Correct.

     23              Q         All right.      Do you have any role in

     24     the drug report -- did you, in the past?

     25     A        Yeah.     In given years, I have been one of
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                                                                         Page 143
       1    the reviewers for the Drug Trend Report.

       2             Q         Okay.    Did there ever come a time

       3    that -- that Express Scripts focused upon what

       4    I'll call really high-cost drugs in terms of ones

       5    that were multiple percentages higher, like

       6    hundreds of percents higher year over year?

       7    A        So, I forgot what they -- so we've --

       8    we've focused on, you know, high-cost drugs and

       9    also high-spending patients, so called super

     10     spenders.

     11                        (Reporter clarification.)

     12     BY MR. HAVILAND:

     13              Q         And is that element in the Drug

     14     Trend Report, to -- to your knowledge?

     15     A        It has been included in -- it's not a

     16     feature that's included year over year, but it's

     17     been included in some, yes.

     18              Q         So, we looked at a document

     19     yesterday with Mr. Henry.           You're not copied on

     20     it, but I want to show it to you.              It's -- it's

     21     in that period of time when you were looking at

     22     Daraprim and the alternative in -- in the fall of

     23     2015.    I'm going to show it to your counsel.

     24                        Unfortunately, I only have one

     25     copy.    I should have got a copy of it from there.
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                                                                         Page 144
       1    I've got a copy for your counsel of -- of the

       2    other stuff I want to use, but this is really

       3    just to ask you a follow-up to the question I

       4    just did.

       5                       MR. HAVILAND:       It is marked as

       6             Henry Exhibit 12, ExpressScripts5769673 to

       7             9674.     There's an email from an analyst

       8             that I'm just going to generally orient

       9             the witness to, but I'm really concerned

     10              with Glen Stettin's approach as a member

     11              of the leadership, if you want to take a

     12              look at that.

     13                        Oh, I'm sorry, I did get a copy of

     14              it.    I thought that was one, but there was

     15              another copy of it.          My apologies.       Oh,

     16              they didn't do the two sides.

     17                        MR. FORST:      Wait a second -- yeah.

     18     BY MR. HAVILAND:

     19              Q         Well, let me just read it.           I'm not

     20     concerned -- apparently, some lower-level analyst

     21     within the company had written to some folks in

     22     his organization.        I think the highest was

     23     Mr. Stettin.       And the -- the Re line is, The old

     24     drug Daraprim cost increase of 5,500.

     25                        You can read it yourself, sir, but
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                                                                         Page 145
       1    the email says -- his name is Jason Glanville.

       2    Just for those who don't have a copy, it says,

       3    Some of you may know me.           Some of you may not.         I

       4    am part of the pharmacy system BAT -- and I think

       5    that's just a -- a data group within the company,

       6    according to Mr. Henry -- and I have dearly --

       7    dearly-held belief in holistic affordable

       8    healthcare.      Over the weekend, a dismal industry

       9    event occurred, where the cost of a 62-year-old

     10     medication called Daraprim increased 5,500

     11     percent, from 13.50 to 750 per pill.

     12                        And he says what it's used for.

     13     And then he says, What makes me absolutely

     14     disgusted is that Daraprim is a legacy medication

     15     that has already increased over 1,300 percent

     16     from $1 to $13 in the last decade.

     17                        Then he asks, Is there an

     18     opportunity to leverage our Sovaldi approach with

     19     pricing and formulary to negotiate a cheaper

     20     Daraprim source or alternative for our patients?

     21                        That then goes up to Mr. Stettin --

     22                        MR. HAVILAND:       And this is the

     23              part, Counsel, you have.

     24     BY MR. HAVILAND:

     25              Q         Mr. Stettin says, Daraprim is just
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                                                                          Page 146
       1    one of several older medications for which a

       2    manufacturer has cornered the market and raised

       3    the price to seemingly egregious levels.                Are

       4    each of you satisfied we are doing what we need

       5    to do to protect our clients and patients from

       6    gouging while capturing value for Express

       7    Scripts?     Is it worth pulling together the list

       8    of worst offenders?

       9                       And then that goes up to

     10     Mr. Kautzner, who talks about various things, and

     11     then finally, Mr. Stettin writes to Mr. Kautzner,

     12     and he ccs Mr. Henry, which is how he came in,

     13     Can I trouble you for a list of top offenders?

     14                        And when I was asking about the

     15     Drug Trend Report, do you recall that the

     16     company, in relation to the Daraprim situation --

     17     Shkreli raising the price and coming up with a

     18     cheaper alternative -- put together a list of top

     19     offenders, here described as folks who cornered

     20     the market and raised the prices of drugs to

     21     seemingly egregious levels?

     22     A        I -- I --

     23                        MR. FORST:      Just objection to the

     24              form.

     25                        THE DEPONENT:       I don't remember.
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                                                                         Page 147
       1    BY MR. HAVILAND:

       2             Q         Okay.    Express Scripts has had the

       3    capability to do such an analysis with the data

       4    that it has; you'd agree?

       5                       MR. FORST:      Objection to the form.

       6                       THE DEPONENT:       Most likely, yes.

       7    BY MR. HAVILAND:

       8             Q         It tracks drug trends and prices?

       9    A        Yeah.

     10              Q         And if it wanted to look at, you

     11     know, drugs with a certain level of price

     12     increase over time, it could do that?

     13     A        Yes.

     14              Q         Do you recall in any of the

     15     discussions you had with the folks who were

     16     dealing with the Daraprim solution -- and,

     17     obviously, it went up to Mr. Wentworth.                He gave

     18     some commentary.        You did a lot of talks about

     19     it.

     20                        Do you recall anyone saying, We

     21     should use this opportunity to look at not just

     22     what happened Shkreli's Daraprim, but other drugs

     23     like it in terms of its older profile, but now

     24     being, they say, cornered the market and the

     25     price increased?
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                                                                         Page 148
       1    A        Yeah, we're constantly looking for

       2    opportunities to knock down the prices of drugs,

       3    and so -- and as you've pointed out, we've tried

       4    to be very innovative in those approaches.                 So,

       5    this is what we do.         We try to -- we're always

       6    looking for opportunities.

       7             Q         Well, I get that, sir.          I -- what

       8    I'm concerned and asking about is, it seems like

       9    Mr. Stettin -- and why don't you tell the jury

     10     what his role was as a direct report to

     11     Mr. Wentworth.

     12     A        So, he's over innovation.

     13              Q         Okay.

     14     A        In our innovation laboratory.

     15              Q         So, he would have the visuals of

     16     what's --

     17     A        His --

     18              Q         -- in the portfolio of drugs and

     19     then what's potentially out there?

     20     A        His group creates the Drug Trend Report.

     21              Q         Oh, so he does have the data?

     22     A        Um-hmm.

     23              Q         Yeah.    And if you wanted to do

     24     this -- what he calls the list of top offenders,

     25     it could be done, right?
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                                                                          Page 149
       1    A        Correct.

       2             Q         And with the -- with the thing that

       3    happened with Shkreli's drug going up 5,500

       4    percent, do you recall that that was a -- a

       5    wake-up call for -- for the PBM to be more

       6    proactive about going after these older

       7    medications for which manufacturers are raising

       8    the prices?

       9    A        You know, I think that it was just yet

     10     another egregious episode.            Egregious episodes in

     11     the pharmaceutical industry occur all the time,

     12     and so, obviously, from -- you know, from this

     13     memo, it looks like they're reexamining those

     14     things, correct.

     15              Q         All right.      You don't recall a

     16     particular hit list of top offenders being

     17     circulated; is that fair?

     18     A        You know, it could have been done.               I

     19     could have even seen it.           I just don't recall it.

     20              Q         All right.      I'm going to show you

     21     what was previously marked as Exhibit --

     22                        MR. HAVILAND:       Did I mark that one?

     23     I don't know that I did?

     24                        MR. FORST:      No, you didn't.

     25                        MR. HAVILAND:       So, it was marked as
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 150 of 310 PageID #:39398


                                                                         Page 150
       1    Henry -- thank you -- Henry Exhibit 12.                It just

       2    so happens to be Exhibit 12 to your deposition.

       3                       (Exhibit 12 was marked.)

       4                       (Discussion held off the record.)

       5                       MR. HAMANN:      Don, I think it's

       6             Exhibit 13.

       7                       (Discussion held off the record.)

       8                       MR. HAVILAND:       No, it was Henry 12,

       9             and now it's Miller 12, just so we have a

     10              clear record.        So just put it in the pile

     11              there.

     12     BY MR. HAVILAND:

     13              Q         Well, we're at that point where

     14     we're going in two different directions now.                  So,

     15     I'm going to show you, sir, what I've marked as

     16     Henry Exhibit 5.        That will be Exhibit 13 to your

     17     deposition.

     18                        (Exhibit 13 was marked.)

     19                        (Discussion held off the record.)

     20                        MR. HAVILAND:       Here's your copy

     21              actually.      I'm only going to ask about the

     22              facing emails.        For the record, folks,

     23              Henry Exhibit 5 is now Miller Exhibit 13,

     24              ExpressScripts5566025 through 6033.

     25     BY MR. HAVILAND:
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                                                                         Page 151
       1             Q         It's a series of emails.           There's a

       2    lot of heavy redaction here, with some in-house

       3    counsel commentary.         It's an article in the

       4    thread for Lynnette Lopez, Business Insider, and

       5    then I'm most concerned about the exchange with

       6    Brian Henry.

       7                       And, sir, if you have that exhibit

       8    in front of you, I want to orient you to where

       9    you come in on this.          The date is April 12, 2018.

     10     Mr. Henry says, I'll forward it to Steve.

     11                        Do you see that at the very top?

     12     A        Which -- the first page?

     13              Q         It's the thick --

     14     A        Oh, yeah, right.

     15              Q         The very -- thread email at the top

     16     from Brian Henry to Jen Luddy says, I'll forward

     17     it to Steve.

     18                        Do you see that?

     19     A        Yes.

     20              Q         Mr. Henry said yesterday that he

     21     intended to forward this to you,

     22     Dr. Steve Miller, okay?

     23                        And -- and the thread -- I'm not,

     24     as I said, concerned about the articles that

     25     much.    There -- we spent some time yesterday
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                                                                         Page 152
       1    going over with Mr. Henry articles in the press

       2    about Acthar, and there -- there was a number.

       3                       Here, in the middle of the thread,

       4    Jen Luddy writes on April 12 to Brian Henry and

       5    others, do you see, Updated story?

       6    A        Um-hmm.

       7                       (Reporter clarification.)

       8                       THE DEPONENT:       Yes.

       9    BY MR. HAVILAND:

     10              Q         I'll read for the record, Also, I

     11     talked with Clark Bitney.           He's all good.        Just

     12     needs talking-points, which I will send.                He said

     13     at one point there was talk about us doing to

     14     Acthar what we did to Daraprim.             All caps, How

     15     awesome would it be if we made that happen?                 It

     16     would so put Lynette in her place.              I think

     17     they're referring to the reporter from Business

     18     Insider.

     19                        And then Mr. Henry writes back,

     20     Tell him they need to make that happen, whatever

     21     it takes.

     22                        Do you see that?

     23     A        Yes.

     24              Q         Then Jen Luddy says, He -- I think

     25     they're referring to Mr. Bitney.
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 153 of 310 PageID #:39401


                                                                         Page 153
       1                       Do you know who Bitney is,

       2    Mr. Bitney?

       3    A        No.

       4             Q         All right, He said he heard a

       5    rumor.     I think it's a conversation with Steve to

       6    see if that is possible.

       7                       And then Mr. Henry says, I'll

       8    forward it to Steve.          Why not ask?

       9                       Do you see that?

     10     A        Yes.

     11              Q         So, this is after the emails we

     12     looked at from 2015, where the issue of the

     13     Daraprim solution, and then into 2017.                Here we

     14     are in 2018, the issues come up again in the

     15     context of some media coverage.

     16                        And do you recall the

     17     communications folks coming to you and asking

     18     specifically, Is it possible to do a

     19     Daraprim-like solution, and would the company do

     20     whatever it takes to make it happen?

     21     A        Don't remember.

     22              Q         You don't remember?

     23                        Did the company do whatever it

     24     takes to bring -- bring about a Daraprim-like

     25     solution for Acthar?
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                                                                         Page 154
       1                       MR. FORST:      Objection to the form

       2             of the question.

       3                       THE DEPONENT:       I believe we

       4             evaluated it and did not find a viable

       5             alternative.

       6    BY MR. HAVILAND:

       7             Q         In your mind, you -- the company

       8    did whatever it takes?

       9    A        Correct.

     10              Q         All right.      Shortly after this

     11     email thread, do you recall that 60 Minutes did a

     12     piece involving Mallinckrodt, Express Scripts,

     13     and Acthar?

     14     A        Yes.

     15              Q         There was a series of transmittals

     16     from Mr. Henry that I won't ask you about, but

     17     you were carbon-copied as part of the leadership

     18     on those, and I want to talk to you about what

     19     happened after.

     20                        So I'm going to mark as

     21     Exhibit 14 to your deposition this email from

     22     Brian Henry.

     23                        (Exhibit 14 was marked.)

     24                        MR. HAVILAND:       For the record,

     25              Exhibit 14 to the Miller deposition is
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                                                                         Page 155
       1             ExpressScripts4990395 through 0398.

       2    BY MR. HAVILAND:

       3             Q         If you follow the thread, sir,

       4    you'll see there's a -- embedded in the email is

       5    a part of the CBS News release on the Rockford

       6    story that they did, Why Does Your Prescription

       7    Cost So Much?       There are some significant

       8    redactions here, but Mr. Henry forwarded on May

       9    the 4th, which was before the program aired, an

     10     email to you and others about this -- the piece.

     11                        Do you recall receiving notice that

     12     60 Minutes was going to do a piece?

     13     A        Yes.

     14              Q         Did you sit in any meetings with

     15     executives prior to the piece happening?

     16     A        Not that I recall.

     17              Q         Okay.    Did you watch the program?

     18     A        I watched it afterwards.           So, they sent a

     19     link out, and I watched it on the link.

     20              Q         So, it was after the Sunday night

     21     airing of it?

     22     A        Correct.

     23              Q         Okay.    And where did you watch it?

     24     A        I can't recall.        I don't know.

     25              Q         Were you alone?        Were you with
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                                                                         Page 156
       1    others?

       2    A        I suspect I was in my office, but I don't

       3    know.

       4             Q         And what was your reaction to it?

       5    A        You know, like -- you know, Mallinckrodt's

       6    behavior was egregious, it's horrible, and, you

       7    know, I believe that we were mischaracterized in

       8    the story.

       9             Q         Okay.    What happened after that?

     10     Did you raise your concerns about the story with

     11     anyone at Express Scripts?

     12     A        Obviously, there was a lot of concern

     13     going around the entire executive team, and, you

     14     know, we had discussions about the -- you know,

     15     about the story.

     16              Q         Tell me about those that you were

     17     privy to.

     18     A        You know, I think most of them were how do

     19     we -- how do we get our side of the story out

     20     there to demonstrate that we've done what we were

     21     supposed to do to control the price of the drug,

     22     and to make clear to the marketplace that

     23     pharmaceutical companies are responsible for the

     24     price of their drugs.          They set the price,

     25     and -- and so making sure that the facts of the
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                                                                         Page 157
       1    case are actually known.

       2             Q         Were you aware that the producer

       3    had reached out previously and asked

       4    Express Scripts to do an on-air interview?

       5    A        I was not.

       6             Q         Did anyone ever say to you that

       7    there was an opportunity to do an on-air

       8    interview?

       9    A        I don't recall.

     10              Q         Would you have been willing to do

     11     one?

     12     A        If my company advised -- you know, if

     13     they -- if comms and the rest -- and legal and

     14     everyone who we usually have, you know, opine on

     15     these things thought it was appropriate, I'd be

     16     happy to represent the company.

     17              Q         Nobody ever came to you and said

     18     that they wanted you to do that, though?

     19     A        Not that I recall.

     20              Q         Okay.    After the story aired, there

     21     were some further email threads about some of the

     22     issues that were raised, and in this particular

     23     thread, it's actually keying off a comment that

     24     Jennifer Luddy equated to Mr. Wentworth, where he

     25     asked, is it possible to do a Daraprim-like
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                                                                         Page 158
       1    solution.

       2                       You're familiar with that request?

       3    A        Yes.

       4             Q         Okay.    And then that got pushed out

       5    to you.      I -- I think this version is just

       6    redacted.      Counsel, actually then produced some

       7    of the underlying emails, so we saw that request

       8    by Mr. Wentworth, and this may be where it came

       9    to your attention.

     10                        But you'll see, Mr. Wentworth, in

     11     this thread, the night of May 6th, says to

     12     Mr. Henry, "The one thing in the story that I

     13     wonder if we can't hit more directly is that they

     14     give us credit for the generic alternative to

     15     Martin Shkreli's drug --

     16                        And it misspells his name, and

     17     that's not surprising.          It's one of those names

     18     you can't quite -- quite grab.             He says

     19     "Sktellis."      I think it's "Shkreli."

     20                        -- "and say we could have done the

     21     same thing given that there is a generic

     22     available in Canada.          I don't believe that's so,

     23     and if there's a simple and clear why of saying

     24     why we and the FDA have not allowed that to

     25     happen, that could be good."
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                                                                         Page 159
       1                       Do you know what he's referring to

       2    with the "generic available in Canada"?

       3    A        I believe it's --

       4             Q         Synacthen?

       5    A        -- Synacthen that's available in Canada.

       6             Q         We'll come back to that.           I really

       7    want to just focus on the part about the

       8    alternative to Shkreli's drug.             As I said,

       9    there's another email, and I can show it to you.

     10     Why don't I do that now, just so you can see it.

     11     I don't have to remark it, but -- like I said, it

     12     gets difficult to track these emails that run

     13     different in directions within the company.

     14                        (Discussion held off the record.)

     15     BY MR. HAVILAND:

     16              Q         You're not on the email, which is

     17     one of the reasons I didn't have it in your

     18     packet, but you were then looped in by

     19     Brian Henry, so I'll show you this email.

     20                        It's the unredacted thread from

     21     Brian Henry, and feel free to look at as much as

     22     you like.      What I'm getting to is the --

     23     Jennifer Luddy's report at -- it says 1:00 a.m.

     24     Mr. Henry said, with all the time differences,

     25     it's probably not 1:00 a.m., but she wrote to
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                                                                         Page 160
       1    Adam Kautzner, Andy Behm, Clark Bitney, and

       2    Brian Henry.

       3                       I'll read it into the record, and

       4    then I'll show it to you, Hi, if you haven't

       5    heard, the 60 Minutes piece ran this evening.

       6    Synopsis below, and our updated response is

       7    attached.      Thanks again for your help with the

       8    initial draft a few months ago.             The lawyer for

       9    Rockford, Illinois suggested in the piece that we

     10     could have/should have found a way to do $1

     11     alternative to Acthar, similar to what we did

     12     with Daraprim.       Tim is asking us if that is

     13     possible.      Clark, I recall you saying we explored

     14     this, but is it possible?           Tim, also is wondering

     15     if we are able to get Synacthen?              The story says

     16     Mallinckrodt owns it in the US, but that it's

     17     available in Canada for $33.            Appreciate the

     18     guidance here.

     19                        If you could just take a moment to

     20     review that.       I don't believe you ever got that

     21     email, sir.      Do you recall if you did?

     22     A        Don't recall.

     23              Q         Okay.    You did get the thread from

     24     Brian Henry forwarding what Mr. Wentworth said?

     25     A        Right.
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                                                                         Page 161
       1             Q         And you understood that

       2    Mr. Wentworth was asking two questions; one, was

       3    there something Express Scripts could do to try

       4    to get Synacthen, right?

       5    A        Um-hmm.

       6                       (Reporter clarification.)

       7                       THE DEPONENT:       Yes.

       8    BY MR. HAVILAND:

       9             Q         Secondly, is there something it

     10     can -- the company can do to create a

     11     Daraprim-like solution, right?

     12     A        Correct.

     13              Q         All right.      Let's focus on that

     14     latter question.        Exhibit 14, which is in front

     15     of you, is an email to you.            Take a look at that

     16     one.

     17     A        Okay.

     18              Q         After what I read from

     19     Mr. Wentworth, Mr. Henry writes, I think that

     20     it's complicated, but I do wonder if we can do

     21     something akin to Daraprim here.

     22                        Do you see that?

     23     A        Yes.

     24              Q         And then I have your response --

     25     and I'm doing this only because the response
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                                                                         Page 162
       1    doesn't have that thread in it for some reason.

       2    I'm marking as Exhibit 15 to your deposition,

       3    sir, what I believe is your email response.

       4                       (Exhibit 15 was marked.)

       5                       MR. HAVILAND:       I actually have a

       6             lot of copies of this.           I do not know why,

       7             but here you are (handing).

       8    BY MR. HAVILAND:

       9             Q         Exhibit 15, Dr. Miller, is

     10     ExpressScripts0834559.          You were using

     11     BlackBerry.      I'm -- I'm proud of you.           I still

     12     do.

     13     A        Actually not.        It's the -- they have the

     14     operating system, but it's not a BlackBerry.

     15              Q         Is that right?

     16     A        Correct.

     17              Q         I still have mine.

     18     A        Apparently, BlackBerry is very secure.

     19              Q         Well, I still have mine.

     20                        But I -- I believe this is the

     21     response.      Sometimes when emails get produced, it

     22     just gets cut off.         But do you recognize this as

     23     the email you sent back to Mr. Henry?

     24     A        I believe so.

     25              Q         Okay.    And why don't you read for
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 163 of 310 PageID #:39411


                                                                         Page 163
       1    the record what you wrote.

       2    A        "We worked with a compounder to develop a

       3    drug with the active ingredient for Daraprim plus

       4    leucovorin.      It was different than Daraprim, so

       5    we did not violate FDA regulations.               I don't

       6    believe we have the same opportunity with

       7    Acthar."

       8             Q         Okay.    And that was your response

       9    to Mr. Henry.       Did you ever give that response or

     10     something like that to Mr. Wentworth?

     11     A        Yeah, Tim and I discussed this, and, you

     12     know, me, him -- this was just a shorthand way of

     13     saying we couldn't do it, but I had a longer

     14     discussion with Tim about the variety of reasons

     15     why we did not think it was safe to do for

     16     Acthar.

     17              Q         So walk me through that.           I assume

     18     it took place after this email thread on

     19     the morning of the 27th.

     20     A        I -- I believe so.

     21              Q         Well, there were a lot of people up

     22     late, it seems.        It happened that week?

     23     A        I believe it was -- yeah, I mean, there

     24     was a lot of discussions amongst senior

     25     executives in response to the -- the 60 Minutes
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                                                                         Page 164
       1    piece, and we, like any prudent company,

       2    re-reviewed all of our opportunities to make a

       3    difference here, and also our response, and the

       4    alternative to Acthar is still not available in

       5    the marketplace today, even all these years

       6    later, and it was not -- not available then.

       7             Q         Let me show you that same thread

       8    with Andy Behm's -- Behm -- it's Behm, right?

       9    A        Behm.

     10              Q         His input.      I only have my pink

     11     highlight.      I don't think we had enough copies

     12     yesterday, so let me show it to your Counsel.                  So

     13     again, it's the same series of emails.

     14                        "I think it's complicated,"

     15     Mr. Henry says; your response; and this is

     16     Mr. Behm's response.          It might have been

     17     3:30 a.m.      We're getting pretty late in the --

     18     early or late in the morning.             It depends on your

     19     perspective, "We never discussed a lower-cost

     20     version of Acthar Gel with Imprimis," and then he

     21     goes on to talk about some searches.

     22                        I'll actually put a sticker on that

     23     for Exhibit 16, thank you, so we can keep a clean

     24     record here.

     25                        (Exhibit 16 was marked.)
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                                                                         Page 165
       1    BY MR. HAVILAND:

       2             Q         Miller Exhibit 16 is Express

       3    Scripts Bates number 4856396 through 6400.

       4                       Do you see Andy Behm's response

       5    there --

       6    A        Yes.

       7             Q         -- Dr. Miller?

       8    A        Yes.

       9             Q         Now, he says, We never discussed a

     10     lower-cost version of Acthar Gel with Imprimis.

     11                        You, in fact, did?

     12     A        I don't know who he's referring to as

     13     "we."

     14              Q         Okay.

     15     A        I don't know if this is just him and his

     16     group --

     17              Q         Sure.

     18     A        -- or -- and so -- but as you can see from

     19     other emails, we were having discussions with

     20     Imprimis about Acthar Gel.

     21              Q         Well, he then goes on to say he did

     22     some Internet searches, and he found an article

     23     from Mr. Baum saying that they were working on a

     24     synthetically-produced product alternative.

     25                        Do you see that?
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                                                                         Page 166
       1    A        Correct.

       2             Q         And then he talks about some June

       3    2017 press releases, including the spinoff of

       4    Eton that we saw in the earlier email, right?

       5    A        Correct.

       6             Q         Did you talk to Mr. Behm about what

       7    you knew about that spinoff in the email that you

       8    had in June of 2017?

       9    A        I don't remember any conversation like

     10     that.

     11              Q         Okay.    He doesn't seem to have

     12     familiarity with the discussions that you were

     13     having with Mr. Baum?

     14     A        Yeah, which doesn't surprise me.

     15              Q         Because he's in the P&T group?

     16     A        He's in the OCEP group, and this is a

     17     network pharmacy product issue, so it's with the

     18     supply chain.

     19              Q         Well, he would have optics into

     20     whether or not OCEP would consider an

     21     alternative, and then would that ultimately go to

     22     a P&T Committee for review?

     23                        MR. FORST:      Objection to the form.

     24                        THE DEPONENT:       This is -- you know,

     25              so what happens in the trade group is much
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                                                                         Page 167
       1             different than what he does, and so --

       2                       (Reporter clarification.)

       3                       THE DEPONENT:       -- in the trade

       4             group is much different than what he does,

       5             and so, I'm not sure if anyone included

       6             him in the conversations.

       7    BY MR. HAVILAND:

       8             Q         Well, he was looped into this

       9    thread, and my question is more focused on what

     10     input he was providing.

     11                        Would any alternative product that

     12     Express Scripts would sponsor to its contracted

     13     health plans, would that have to go though OCEP

     14     for review?

     15                        MR. FORST:      Objection to the form,

     16              assumes facts not in evidence.

     17                        THE DEPONENT:       Yeah, I mean, if

     18              a -- if any product is going to get on our

     19              formulary, it has to go through OCEP.

     20     BY MR. HAVILAND:

     21              Q         I think you said "yeah" real quick,

     22     so the answer is --

     23     A        Yes, if any product is going to get on our

     24     formulary, it has to go through OCEP.

     25              Q         Okay.    So, if there is this
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                                                                         Page 168
       1    consideration of whether or not an alternative

       2    product's going to be considered, and you had

       3    reported previously you worked with the

       4    compounder, Mr. Behm would have input in terms of

       5    whether or not -- whether and to what extent OCEP

       6    and a P&T Committee would have to look at that,

       7    fair?

       8                       MR. FORST:      Objection,

       9             mischaracterizes the document and prior

     10              testimony, calls for speculation.

     11     BY MR. HAVILAND:

     12              Q         You can answer.

     13     A        There -- you know, Andy is involved in a

     14     narrow area of the company, and he gets pulled in

     15     when appropriate, and so, you know, I don't

     16     believe he was pulled in, because it wasn't

     17     appropriate.

     18              Q         Well, after this email, you had an

     19     email with Mr. Behm on the 8th.             Let me show you

     20     that.

     21     A        Okay.

     22                        (Exhibit 17 was marked.)

     23     BY MR. HAVILAND:

     24              Q         Exhibit 17 to your deposition, sir,

     25     is ExpressScripts Bates number 0982536 to 537.
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                                                                         Page 169
       1    Let's work from the bottom up.             Starting at the

       2    bottom of the page, Mark Baum of Imprimis wrote

       3    on Monday, May 7, after 60 Minutes, to

       4    Wendy Barnes and cc'd two of his folks, I assume;

       5    do you see that?

       6                       And you described Wendy Barnes

       7    previously, right?

       8    A        Um-hmm.

       9             Q         Yes?

     10     A        Yes.

     11              Q         "Wendy, I hope this email finds you

     12     well.    We are still growing nicely.             We just

     13     completed our fourth full year of operations.

     14     Not bad for an all-cash business.              I write this

     15     morning we received -- I write because this

     16     morning we received a couple of inquiries from

     17     clinical consultants at ESI for our corticotropin

     18     injection alternative to Acthar Gel."

     19                        Do you know what that's referring

     20     to in terms of who the clinical consultants were?

     21     A        No idea.

     22              Q         Would they be -- they'd be under

     23     your group, though?

     24     A        No.

     25              Q         Where would they be?
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                                                                         Page 170
       1    A        Sales and account management have lots of

       2    pharmacists that work for them as clinical

       3    consultants to clients.

       4             Q         Okay.

       5    A        They don't report up to me.

       6             Q         So you don't know who within ESI

       7    reached out to Imprimis?

       8    A        Correct.

       9             Q         Okay.    He says that he got

     10     inquiries about the, Possibility of once again

     11     collaborating with you to bring down ever-rising

     12     drug costs.      This is the same formulation we had

     13     discussed a couple of years ago and that we

     14     mentioned again last year as an investment

     15     opportunity in what has now become Eton

     16     Pharmaceuticals.

     17                        And I didn't ask you about that.

     18     Previously I -- I said, were you aware that

     19     Imprimis was looking for a -- an investment,

     20     looking for money from Express Scripts to help

     21     bring about this spinoff company and -- and what

     22     it was about, Eton Pharmaceuticals.

     23                        Do you recall that?

     24     A        Yes.

     25              Q         And -- and Express Scripts never
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                                                                         Page 171
       1    agreed to that investment, right?

       2    A        It was not interested in investing.

       3             Q         Okay.    He then says, While we've

       4    been working with your team on several

       5    offerings -- and we've seen that, obviously

       6    Daraprim, we saw leuprolide -- to date, adoption

       7    has been insignificant.           We created these

       8    formulations with the best of intentions, to

       9    ensure patient access to important and sometimes

     10     life-saving therapies.          Our objective in this

     11     regard has been perfectly aligned with that of

     12     ESI.    While we've remained -- while we have been

     13     and remain committed to caring for our patient

     14     population, it has been a challenge for us to

     15     gain broader acceptance without support from

     16     PBMs.    If there is an interest to leverage the

     17     work we have done together to date on the

     18     corticotropin formulation and others, we would

     19     appreciate some level of commitment to drive the

     20     adoption of our portfolio, all the while

     21     realizing huge savings to you and the clients you

     22     serve.

     23                        And then he goes on to talk about

     24     the Acthar Gel alternative that we spoke about,

     25     and then some others.
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                                                                         Page 172
       1                       Do you see that?

       2    A        Yes.

       3             Q         He says, This product alone would

       4    save tens of millions of dollars.

       5                       Do you see that?

       6    A        Yes.

       7             Q         That was sent to Wendy, and then

       8    Wendy sends it to -- she sends a response back,

       9    and then ultimately it gets to you, I believe,

     10     from Andy Behm; do you agree?

     11     A        Yes.

     12              Q         And this is Tuesday, May 8th, at

     13     about 7:00 at night, right?

     14     A        Yes.

     15              Q         Andy Behm says -- do you need to

     16     take that?

     17     A        I'd love to, if possible.

     18                        (Discussion held off the record.)

     19                        THE VIDEOGRAPHER:        We are going off

     20              the record at 12:21 p.m.

     21                        (Break taken.)

     22                        THE VIDEOGRAPHER:        We are back on

     23              the record at 12:23 p.m.

     24     BY MR. HAVILAND:

     25              Q         All right.      Dr. Miller, we were
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                                                                         Page 173
       1    looking at the email thread after 60 Minutes that

       2    began with Mr. Baum reading -- reaching out to

       3    Wendy Barnes at Express Scripts.              It went up

       4    through Wendy to Andy Behm and others.                She

       5    wrote -- cc'ing -- or writing back to Mr. Baum,

       6    but cc'ing Mr. Behm, Mark, great to hear from

       7    you.    I've added Adam Kautzner and Andy Behm to

       8    my response, so they can address a joint

       9    opportunity.

     10                        I asked you why Mr. Behm would be

     11     involved, because it seemed to be Wendy [sic]

     12     thought that their input would be important?

     13     A        Yep, she thought so.

     14              Q         Okay.    And then she's transitioned

     15     over to ValoremRx.

     16                        Mr. Behm then says, Steve, Need

     17     your help and guidance on this.             See below.      It

     18     looks like Mark Behm is interested in talking

     19     again, though I get the sense he is looking for a

     20     financial.      Right?

     21     A        Correct.

     22              Q         When you sat with Mr. Wentworth,

     23     okay, and you talked about his two questions, and

     24     the one that asked about doing a Daraprim-like

     25     solution, did you raise with him that Imprimis
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 174 of 310 PageID #:39422


                                                                         Page 174
       1    was looking for some sort of financial support to

       2    help develop an alternative product to Acthar?

       3                       MR. FORST:      Objection to the form.

       4                       THE DEPONENT:       Yeah, I don't

       5             remember specifically talking about the

       6             financials.       I know that, you know, just

       7             as Mark identified in his email, no PBM

       8             had adopted their product, because their

       9             product's not viable, and so we continue

     10              to not believe they have a viable product.

     11     BY MR. HAVILAND:

     12              Q         Well, and we've talked about that,

     13     and I understand your position and Express

     14     Scripts' --

     15     A        It's just not mine.          It's everyone's

     16     who's -- Mark has reached out to probably lots of

     17     people at this point in time, because that's what

     18     he does, and no one's adopting his solution, that

     19     I'm aware of.

     20              Q         Because it had not been

     21     FDA-approved at that point, right?

     22     A        I can't tell you why others have not

     23     adopted it.

     24              Q         Right.

     25     A        I can just say that he, you know -- and
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 175 of 310 PageID #:39423


                                                                         Page 175
       1    you'd have to obviously talk to Mark about it if

       2    he's had any success in the marketplace, but I'm

       3    unaware of any major payer adopting their

       4    product.

       5             Q         Well, how could a payer contracting

       6    with Express Scripts adopt a product if they

       7    don't know about it from Express Scripts?

       8    A        Because Mark probably went to United, CVS,

       9    Aetna --

     10              Q         Do you know that, sir?          I don't

     11     want you speculate.

     12                        MR. FORST:      Can you let him finish?

     13              Just --

     14                        MR. HAVILAND:       No, he said

     15              "probably."

     16                        MR. FORST:      It doesn't -- it

     17              doesn't matter --

     18                        MR. HAVILAND:       It does matter.

     19                        MR. FORST:      -- if he's speculating.

     20              He can finish the thing --

     21     BY MR. HAVILAND:

     22              Q         Go ahead.

     23                        MR. FORST:      -- and then you can

     24              follow up.

     25     BY MR. HAVILAND:
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                                                                         Page 176
       1             Q         You can speculate.

       2                       MR. FORST:      All right.

       3                       THE DEPONENT:       But we are unaware

       4             of any payer that is using an alternative

       5             to Acthar, and there are a lot of

       6             alternative payers in the country that

       7             don't use Express Scripts.

       8    BY MR. HAVILAND:

       9             Q         You don't have any personal

     10     knowledge of whether or not Imprimis reached out

     11     to CVS Caremark?

     12     A        I have no personal knowledge.

     13              Q         You have no personal knowledge of

     14     whether Imprimis reached out to OptumRx?

     15     A        Correct.

     16              Q         You have no personal knowledge

     17     whether Imprimis reached out to any other PBM?

     18     A        That's correct.

     19              Q         Express Scripts' position was it

     20     wasn't going to adopt an alternative to Acthar

     21     from Imprimis or Eton because it was not

     22     FDA-approved?

     23                        MR. FORST:      Objection to the form.

     24                        THE DEPONENT:       We -- we were not

     25              adopting the alternative that they've come
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 177 of 310 PageID #:39425


                                                                         Page 177
       1             forward with to us.

       2    BY MR. HAVILAND:

       3             Q         Because it was not FDA-approved?

       4    A        Because we did not believe it's of the

       5    clinical quality that's required for our patients

       6    to get it.

       7             Q         But you never tested it?

       8    A        We don't test drugs.

       9             Q         You never asked any independent

     10     entity that tests drugs to test it?

     11     A        That is correct.

     12              Q         Okay.    And so you don't know

     13     whether it was viable or not?

     14                        MR. FORST:      Objection to the form.

     15                        THE DEPONENT:       The -- if you

     16              understand how drugs are brought to

     17              market, you would know that a clinical

     18              trial would be required for this, and

     19              there was no clinical trial data ever

     20              presented to us.

     21     BY MR. HAVILAND:

     22              Q         What clinical trial was done for

     23     the alternative to Daraprim?

     24     A        So Daraprim, the -- the drug, because it's

     25     a chemical product, it's identical to what was in
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                                                                         Page 178
       1    the marketplace, plus the leucovorin.

       2             Q         That wasn't my question, sir.            Let

       3    me ask it again.

       4                       What clinical trial was done for

       5    the alternative to Daraprim that Express Scripts

       6    partnered with Imprimis to bring to market?

       7    A        Because of the nature of the product,

       8    there -- it did not require a clinical trial, but

       9    I am unaware of any clinical trial.

     10              Q         So, there was no clinical trial for

     11     the Daraprim alternative that Express Scripts

     12     brought to market with Imprimis, correct?

     13     A        Correct.

     14              Q         All right.      And it's your opinion

     15     that there would need to be a clinical trial

     16     before any alternative to Acthar could be brought

     17     to market --

     18     A        Correct, because --

     19              Q         -- with Imprimis?

     20     A        -- that's a biologic.

     21              Q         Okay.    Because it's a biologic,

     22     right?

     23     A        Correct.

     24              Q         But Mr. Baum has said theirs --

     25     theirs is a Synacthen product, sir, right?
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 179 of 310 PageID #:39427


                                                                         Page 179
       1    A        So, it's a -- it's still 39 amino acids.

       2    So, a biologic is not just because a biologic is

       3    obtained from living cells.            A biologic is a

       4    protein product.        And so he has a protein drug.

       5    Protein drugs are susceptible to not just their

       6    chain integrity, but their folding and other

       7    properties, and so this has been part of the

       8    difficulty.

       9                       We would love for there to be an

     10     alternative to Acthar on the marketplace.                 We've

     11     been innovative in many other drugs on trying to

     12     lower price.       And so, I would be thrilled to have

     13     a lower-price alternative to Acthar.               It doesn't

     14     exist at this point in time, and it didn't exist

     15     then.

     16              Q         Well, it exists in the world; does

     17     it not, sir?

     18     A        I don't know that.

     19              Q         Synacthen?

     20     A        I don't know how the FDA views Synacthen

     21     in comparison to Acthar Gel.

     22              Q         You just brought it back to the

     23     United States, sir.         I said it exists in the

     24     world.

     25                        You know that Synacthen is approved
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                                                                         Page 180
       1    in Europe and Canada for the treatment of

       2    diseases for which Acthar treats, correct?

       3    A        That is correct.

       4             Q         It was also $33 in Canada?

       5    A        That is correct.

       6             Q         And you knew that the owner of

       7    Synacthen was the same company that owned Acthar?

       8    A        I've been made aware of it through this

       9    case.

     10              Q         When did Express Scripts ever sit

     11     down and leverage the fact that that product was

     12     available in Canada through the same manufacturer

     13     to try to get Mallinckrodt to do the right thing

     14     to lower the price of Acthar?

     15     A        So, I am unaware of any discussions about

     16     Synacthen and its impact on the price of Acthar.

     17              Q         But you agree with me that that is

     18     an ability of the Express Scripts PBM to say to

     19     the manufacturer, You have a competitive agent in

     20     your portfolio, and we, the PBM, can use that

     21     fact as leverage to try to get you to do the

     22     right thing --

     23     A        That's not --

     24                        MR. FORST:      Just let him finish.

     25              Let him finish.
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                                                                         Page 181
       1    BY MR. HAVILAND:

       2             Q         -- but your testimony, sir, is that

       3    it never happened, right?

       4                       MR. FORST:      Objection to the form.

       5                       THE DEPONENT:       It's not a relevant

       6             fact, because it's not available in the

       7             United States.

       8    BY MR. HAVILAND:

       9             Q         You're not aware that pharmacies

     10     have brought Synacthen to the United States for

     11     treatment of patients?

     12     A        So, individuals can go to Canada to get

     13     drugs, they can re-import, but I'm unaware that

     14     pharmacies can re-import from Canada.

     15              Q         You're not aware that a -- a

     16     pharmacy named Caligor was bringing Synacthen

     17     into the United States?

     18     A        I'm not aware of that.

     19              Q         Never heard of that?

     20     A        Never heard of that.

     21              Q         Okay.    And you're suggesting that

     22     the largest PBM at the time, Express Scripts,

     23     would have no way of being able to bring a

     24     Canadian-approved product to treat patients in

     25     the United States?
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                                                                         Page 182
       1    A        So, there's laws that govern the

       2    importation by both individuals and by

       3    pharmacies.      The laws I'm aware of, it would not

       4    be legal for us to bring the product into the

       5    marketplace.

       6             Q         What did Express Scripts do at any

       7    time with Mallinckrodt to inspire it to try to

       8    bring Synacthen to market in the United States?

       9                       MR. FORST:      Objection, calls for

     10              speculation, vague and ambiguous --

     11                        THE DEPONENT:       As you know, I --

     12                        MR. FORST:      Let me just get out --

     13              our the host of objections that are

     14              warranted.

     15                        Vague and ambiguous, "inspire,"

     16              calls for speculation, asked and answered.

     17                        You can go ahead.

     18                        THE DEPONENT:       So, I'm not involved

     19              in negotiations with Mallinckrodt.               I'm

     20              unaware of what they did.

     21     BY MR. HAVILAND:

     22              Q         Well, sir, the CEO asked a pointed

     23     question of the leadership, including yourself,

     24     after 60 Minutes about Synacthen.

     25                        Did you respond to him?
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                                                                         Page 183
       1    A        As you can see from my responses, they are

       2    mostly around the Acthar alternative.

       3             Q         Well, that was the Daraprim

       4    solution with Imprimis.

       5                       Did you answer the CEO's question

       6    about if anything would be done with Synacthen?

       7    A        I did not.

       8             Q         Do you know if anybody did?

       9    A        I do not know.

     10                        MR. HAVILAND:       Okay.    Why don't we

     11              take a lunch break.

     12                        (Discussion held off the record.)

     13                        THE VIDEOGRAPHER:        We are going off

     14              the record at 12:33 p.m.

     15                        (Break taken.)

     16                        THE VIDEOGRAPHER:        We are back on

     17              the record at 1:22 p.m.

     18     BY MR. HAVILAND:

     19              Q         Dr. Miller, is there available

     20     today a competitive drug or agent that can treat

     21     disease states that Acthar currently treats?

     22                        MR. FORST:      Objection to the form.

     23                        THE DEPONENT:       So, there's no

     24              direct competitor that I know of for

     25              infantile spasms.         There's better drugs
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                                                                         Page 184
       1             for many of the other indications, and I

       2             believe even better drugs than for

       3             exacerbations of MS.

       4    BY MR. HAVILAND:

       5             Q         So, let's talk about Sabril,

       6    vigabatrin.

       7    A        Unfamiliar with it.

       8             Q         You don't know what that is?

       9    A        No.

     10              Q         You don't know what it treats?

     11     A        No, sir.

     12              Q         Were you aware that CuraScript has

     13     the exclusive distribution arrangement for

     14     Sabril?

     15     A        Don't know what it is; haven't heard of

     16     it.

     17              Q         Okay.    Are you aware that a company

     18     called Assertio is developing a treatment for

     19     infantile spasms?

     20     A        Nope.

     21              Q         That was never brought to your

     22     attention?

     23     A        I'm unaware of it.

     24              Q         So, I'm seeing Andy Behm on a lot

     25     of these emails, and what I'm trying to
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 185 of 310 PageID #:39433


                                                                         Page 185
       1    understand, sir, is just within the organization,

       2    he plainly had a broader role than just the OCEP

       3    group, because he's looped in on discussions

       4    about competitive agents in the marketplace.

       5    A        No, the --

       6             Q         I want to -- I just -- I want to

       7    understand what you understand his role to be in

       8    relation to yours because I may just ask him the

       9    questions on what he's copied, but you're the

     10     medical director, and I want to know your

     11     interface with him.

     12     A        Yeah, so --

     13                        MR. FORST:      Again, I don't think

     14              the -- there's a question.

     15     BY MR. HAVILAND:

     16              Q         Yeah, it was.       I want to know your

     17     interface with Mr. Behm.

     18                        MR. FORST:      That's kind of a

     19              statement, "I want to know."             Are you

     20              asking him what his interface is --

     21                        MR. HAVILAND:       I'll ask it the way

     22              you like it, Counsel.

     23                        MR. FORST:      Okay.    Okay.

     24     BY MR. HAVILAND:

     25              Q         Dr. Miller, can you please tell me
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 186 of 310 PageID #:39434


                                                                          Page 186
       1    your interface with Mr. Behm.

       2    A        Yeah.     So, Andy's a direct report of mine.

       3    He is over OCEP.        OCEP actually has a function

       4    where they file the pipeline and patent.                So,

       5    they actually meet with pharmaceutical companies

       6    when products are in development to hear about

       7    what's in their pipeline.

       8             Q         Perfect.     So, he reports to you,

       9    and you reported to Mr. Wentworth when he was the

     10     CEO, correct?

     11     A        Correct.

     12              Q         Alrighty.      And in that direct

     13     report function, you never came to learn that

     14     Mr. Behm was evaluating a competitive agent to

     15     Acthar being developed by Assertio, Cosyntropin?

     16     A        I think to say he was evaluating it is

     17     probably a mischaracterization.             He is learning

     18     about the product from the pharmaceutical

     19     manufacturer.

     20              Q         Well, he's talking about price, so

     21     let's take a look at Exhibit 18, which is

     22     ExpressScripts0992149 through 2152.

     23                        (Exhibit 18 was marked.)

     24     BY MR. HAVILAND:

     25              Q         I'll give you that copy first, sir.
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                                                                         Page 187
       1    I don't believe you're copied on it, but --

       2                       MR. HAVILAND:       And, Counsel, the

       3    copy I'm going to give you has a friendly

       4    highlight.      I don't know what the highlight is,

       5    but that's yours.

       6                       MR. FORST:      This is 18?

       7                       MR. HAVILAND:       18.

       8    BY MR. HAVILAND:

       9             Q         So, if you can go to the beginning,

     10     sir, you'll see it begins with an email from a

     11     Lance Helsel at Accredo to Mary Dorholt?

     12     A        Um-hmm.

     13              Q         Either of those folks in your

     14     practice group?

     15     A        I do not believe so.

     16              Q         Okay.    Ms. Dorholt was a PharmD in

     17     the clinical practice group; do you see that?

     18     A        Yes.

     19              Q         That's in Accredo?

     20     A        I believe so.

     21              Q         All right.      And the -- the Re line

     22     is, Assertio Cosyntropin depot.

     23                        Do you see that?

     24     A        Yes.

     25              Q         And TRC, they're the resource
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 188 of 310 PageID #:39436


                                                                         Page 188
       1    centers within Accredo?

       2    A        The therapeutic resource centers within

       3    Accredo.

       4             Q         And there's one for specialty,

       5    where Acthar is, right -- I'm sorry, there's one

       6    for rare disease, which is where Acthar is

       7    treated?

       8    A        I believe that's true.

       9             Q         So, if you come forward in the

     10     thread, at the bottom of page 151,

     11     Aimee Tharaldson says, We are tracking this.

     12                        Do you see that?        I'm on the bottom

     13     of page 151.

     14     A        151.    Yep.

     15              Q         And she's talking about, Not

     16     previously on the report, I will add it to the

     17     supplement list.

     18                        Do you see that?

     19     A        Yes.

     20              Q         Are you aware of any branch of

     21     Express Scripts tracking products in development

     22     that compete with approved products in any way?

     23                        MR. FORST:      Objection to the form.

     24                        THE DEPONENT:       So, the pipeline

     25              patent group tracks lots of products, both
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                                                                         Page 189
       1             specialty and non-specialty, puts out a

       2             report.     I'm even copied on the report,

       3             but I usually don't even read the report.

       4    BY MR. HAVILAND:

       5             Q         So, Mary Dorholt, after that -- and

       6    we're in February 2019, just a couple of years

       7    ago -- I'm still on page 151 -- she writes back,

       8    Need your read on TRC assignment.              Is this truly

       9    rare or endocrine?         Will it be parallel to

     10     Acthar?

     11                        Do you see that?

     12     A        Yes.

     13              Q         So, it looks like this product in

     14     development has gotten to the point where Accredo

     15     is looking to assign it to a particular TRC,

     16     right?

     17                        MR. FORST:      Objection to the form,

     18              lack of foundation, calls for speculation,

     19              mischaracterizes the document.

     20                        THE DEPONENT:       The -- it looks like

     21              someone at the TRCs is asking that

     22              question, yes.

     23     BY MR. HAVILAND:

     24              Q         And -- and looking at this email so

     25     far, it's not refreshing your recollection that
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                                                                         Page 190
       1    anyone came to you, the chief medical officer,

       2    and asked your view about Assertio's product; is

       3    that fair?

       4    A        I've never seen these and -- and never

       5    heard about the product.

       6             Q         Well, if you go to page 150, which

       7    is the facing page, to where we are, at the

       8    bottom, it says, Stefanie and Tim, from

       9    Aimee Tharaldson, Do you have any cost estimates

     10     for Cosyntropin Depot?          We're bringing this drug

     11     to a specialty advisory board in a couple of

     12     weeks.

     13                        Do you know what that's referring

     14     to?

     15     A        Yes, we have a -- as it describes, we have

     16     a specialty advisory board that looks at products

     17     in the pipeline.

     18              Q         Okay.    And -- and is that in your

     19     group?

     20     A        No.

     21              Q         Where does that sit?

     22     A        I believe it's within Accredo.

     23              Q         All right.      "I'm hesitant to

     24     estimate that it will be similar to Acthar," and

     25     she gives an estimate of 580,000 per year.                 Then
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                                                                         Page 191
       1    there's a screenshot from an investor

       2    presentation, 2018.

       3                       Do you see that?

       4    A        Yes.

       5             Q         And then the screenshot says,

       6    Corcitropin Synthetic ACTH Depot, a Real

       7    Alternative to Acthar Gel.

       8                       Do you see that?

       9    A        Yes.

     10              Q         And then coming forward, there's a

     11     press release, September 4, 2019, announcing

     12     submission; do you see that?            I'm at the bottom

     13     of page 149.

     14     A        It says, Press release announcement, yes.

     15              Q         Yep.    And then above that, somebody

     16     named Craig Reno is providing some cost

     17     information, $127.90 per .25 milligram dose.

     18                        Do you see that?

     19     A        Um-hmm.

     20                        (Reporter clarification.)

     21                        THE DEPONENT:       Yes.

     22     BY MR. HAVILAND:

     23              Q         And he's also done some math here

     24     that there were a total of 176 claims.

     25                        You'd agree that the product would
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                                                                         Page 192
       1    have to be on the market and being covered by

       2    Express Scripts and paid for by plans for Express

       3    Scripts to have claim data, right?

       4                       MR. FORST:      Objection to the form

       5             of the question.

       6                       THE DEPONENT:       I don't know what

       7             he -- what the -- what -- the study he was

       8             running.

       9    BY MR. HAVILAND:

     10              Q         Well, just as a general matter, a

     11     PBM would not have claims data if it wasn't an

     12     approved product being dispensed and paid for,

     13     right?

     14                        MR. FORST:      Objection to the form.

     15                        THE DEPONENT:       It looks like some

     16              product was evaluated and had claims,

     17              correct.

     18     BY MR. HAVILAND:

     19              Q         Okay.    He says 176 claims totaling

     20     $23,900 in AWP; do you see that?

     21     A        Yes.

     22              Q         AWP is the average wholesale

     23     price --

     24     A        Correct.

     25              Q         -- for the drug?
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                                                                         Page 193
       1    A        Correct.

       2             Q         And that's the price that payers

       3    pay, right?

       4    A        Generally.

       5             Q         Well, wholesalers, pharmacies, pay

       6    the WAC price, right?

       7    A        The -- the average wholesale price is --

       8    it's a bit more complicated than that, but yes.

       9             Q         I asked about the AWP.

     10                        My second question was, you're

     11     aware that wholesalers and pharmacies pay a

     12     WAC-based price?

     13     A        Right.

     14              Q         Do you know the relationship

     15     between the AWP and the WAC?

     16     A        I am -- it's not my baliwick.             I can't

     17     tell you the exact --

     18              Q         You don't get into that level of

     19     detail of pharmaceutical pricing?

     20     A        No.

     21              Q         All right.      And then the final of

     22     the thread is asking whether the manufacturer's

     23     studying for infantile spasms, and

     24     Aimee Tharaldson says, It's in development.                 The

     25     trial is expected in 2021.
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 194 of 310 PageID #:39442


                                                                         Page 194
       1                       Do you see that?        Top of the email.

       2    A        "It's also in development," yes.              Yes, I

       3    see that.

       4             Q         And so, reviewing this email from

       5    the Accredo folks, it doesn't -- nothing strikes

       6    as familiar to you in terms of anyone bringing

       7    the issue of Cosyntropin Depot's availability to

       8    your desk; is that fair?

       9    A        Correct.

     10                        MR. FORST:      Objection,

     11              mischaracterizes the document.

     12     BY MR. HAVILAND:

     13              Q         All right.      Are you aware there's a

     14     product called Cortrophin Gel currently in the

     15     marketplace?

     16     A        Again, unaware.

     17              Q         You're not aware?

     18     A        Correct.

     19              Q         It's after the lunch break.            I want

     20     to make sure I keep my voice up and yours.

     21                        Well, Mr. Osborne announced in

     22     2021 -- and I reviewed with Mr. Martin and

     23     Mr. Shirey -- that Express Scripts had won the

     24     exclusive, he says, gig for corticotropin gel

     25     produced by ANI Pharmaceuticals.
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                                                                         Page 195
       1                       You were unaware of that?

       2    A        I'm unaware of that.

       3             Q         Are you aware that CuraScript

       4    Specialty Distribution currently has a contract

       5    with ANI Pharmaceuticals for the exclusive

       6    distribution of corticotropin gel?

       7    A        Unaware of it.

       8                       MR. FORST:      Objection, assumes

       9             facts not in evidence.

     10                        MR. HAVILAND:       Well, we'll see

     11              about that.

     12     BY MR. HAVILAND:

     13              Q         Let's mark Exhibit 19.

     14                        (Exhibit 19 was marked.)

     15                        MR. FORST:      We will.

     16                        MR. HAVILAND:       We will.     We have a

     17              contract.

     18                        MR. FORST:      You know, that's part

     19              of, you know, laying the foundation before

     20              you ask the question.

     21                        MR. HAVILAND:       Well, you ask first,

     22              and then you lay the foundation.              This is

     23              Exhibit 19.

     24                        MR. FORST:      Well, I don't know.

     25                        MR. HAVILAND:       You do it your way,
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                                                                         Page 196
       1             and I do it mine.

       2                       MR. FORST:      Yeah, well, there's a

       3             right way.

       4                       MR. HAVILAND:       Well, you can go

       5             teach law school.

       6                       MR. FORST:      I do.

       7                       MR. HAVILAND:       Good.    Wonderful.

       8             I'm sure the Virginians love it.

       9    BY MR. HAVILAND:

     10              Q         Exhibit 19, sir, I don't think

     11     you're copied on it, but let me take a moment to

     12     see if you are.

     13                        Do you know who Steve Brown is?

     14     A        No.

     15              Q         Okay.    Do you recognize the people

     16     on the email thread?

     17     A        Some of them.

     18              Q         Who do you recognize?

     19     A        Let's see, Bill Martin --

     20                        (Reporter clarification.)

     21                        THE DEPONENT:       Rob Osborne,

     22     Emily Vonder Haar.

     23                        (Discussion held off the record.)

     24     BY MR. HAVILAND:

     25              Q         Sorry, Doctor.       So, my question was
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                                                                         Page 197
       1    more focused on -- obviously, you know

       2    Mr. Osborne.

       3                       Anyone in your group at the time in

       4    2021 -- I know you transitioned over to Cigna,

       5    and are currently a consultant.             This is the end

       6    of your tenure as an employee of Cigna, right?

       7    A        That's correct.

       8             Q         All right.

       9    A        This is nine days before I finished.

     10              Q         Okay.    Anyone you recognize that

     11     was in your practice group that got this email?

     12     A        No.

     13              Q         Steve Brown, his title on the back

     14     page says he's the director of pharma

     15     contracting; do you see that?

     16     A        Yes.

     17              Q         And that's the group that actually

     18     contracts with pharmaceutical companies, right?

     19     A        Yes.

     20              Q         And there is an actual agreement

     21     that I utilized with Mr. Shirey at his

     22     deposition, but you'll see the PDF attachment

     23     says, 2021 Pharmacy Product Purchase and Services

     24     Agreement.

     25                        Do you see that?
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                                                                         Page 198
       1    A        Yes.

       2             Q         And there's some highlights given

       3    by Mr. Brown.       The client was ANI

       4    Pharmaceuticals; do you see that?

       5    A        Yes.

       6             Q         The brand/generic name of the

       7    product was Corticotropin [sic] Gel, repository

       8    corticotropin injection, right?

       9    A        Correct.

     10              Q         And that's similar to Acthar,

     11     correct?

     12                        MR. FORST:      Objection to the form.

     13                        THE DEPONENT:       I don't know.

     14     BY MR. HAVILAND:

     15              Q         Well, you know that Acthar's an

     16     ACTH?

     17     A        Yes.

     18              Q         You know it's corticotropin?

     19     A        Yes.

     20              Q         And you know it's injected?

     21     A        Yes.

     22              Q         So it's similar to Acthar?

     23     A        I -- I don't know -- I have no data about

     24     if it's compared directly to Acthar or not.

     25              Q         Okay.    The summary says, A new
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                                                                         Page 199
       1    agreement that provides access to this recently

       2    FDA-approved product.

       3                       You have no reason to dispute that

       4    the FDA did not approve ANI's corticotropin gel,

       5    right?

       6                       MR. FORST:      Objection to the form.

       7                       THE DEPONENT:       Yes, according to

       8             this.

       9    BY MR. HAVILAND:

     10              Q         Okay.    Well, accepting the Express

     11     Scripts document as true, the pharma contracting,

     12     what do you know of the PBM did to go back to

     13     Mallinckrodt, who holds Acthar, to extract the

     14     lower price for Acthar now that there was a

     15     competitive agent in the marketplace approved by

     16     the FDA?

     17                        MR. FORST:      Objection, assumes

     18              facts not in evidence, lack of foundation,

     19              calls for speculation.

     20     BY MR. HAVILAND:

     21              Q         What do you know, sir?

     22     A        Nothing.

     23              Q         Nothing?     I'm sorry?

     24     A        Nothing.

     25              Q         Did you know that your company was
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                                                                         Page 200
       1    negotiating a contract for a competitive agent to

       2    Acthar before you left?

       3                       MR. FORST:      Objection, assumes

       4             facts not in evidence, lack of foundation,

       5             asked and answered.

       6                       THE DEPONENT:       I know nothing about

       7             this.

       8    BY MR. HAVILAND:

       9             Q         Okay.    And no one came to you, in

     10     your capacity as the senior vice president in

     11     clinical, to ask your opinion about this product

     12     or what the company could do to try to lower --

     13                        MR. FORST:      Don, he said at this

     14              point in time he knows nothing about this

     15              five times.

     16                        MR. HAVILAND:       Excuse me, I haven't

     17              finished.

     18                        MR. FORST:      Asked and answered.

     19                        MR. HAVILAND:       Well, you can say

     20              that when I'm done, Counsel.

     21                        MR. FORST:      I'm just saying, this

     22              is a waste --

     23                        MR. HAVILAND:       You're cutting me

     24              off, and you're being rude and impolite.

     25                        MR. FORST:      No, I'm not.
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                                                                         Page 201
       1                       MR. HAVILAND:       Yeah, you are.

       2                       MR. FORST:      How many times do you

       3             want to ask the same question?

       4                       MR. HAVILAND:       So, do you want to

       5             teach your students that?            I'm going to

       6             ask the question.         You can object, but

       7             we're going to do it the right way.

       8                       MR. FORST:      All right.      But we need

       9             to move along.

     10                        MR. HAVILAND:       Let's do it the

     11              right way.

     12                        MR. FORST:      He says, I know

     13              nothing --

     14                        MR. HAVILAND:       Let's do it the

     15              right way.

     16                        MR. FORST:      -- I know nothing about

     17              this, and we're going to ask five more

     18              questions.

     19                        MR. HAVILAND:       Let's keep going,

     20              because we'll keep going here, sir.

     21                        MR. FORST:      Okay.

     22                        MR. HAVILAND:       All the time that he

     23              takes does not --

     24                        MR. FORST:      It's not going to --

     25                        MR. HAVILAND:       -- come off my time,
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                                                                         Page 202
       1             okay?

       2                       MR. FORST:      -- deter me.       It's not

       3             going to deter us.

       4                       MR. HAVILAND:       You can do whatever

       5             you want.

       6                       MR. FORST:      You're wasting time by

       7             asking questions --

       8                       MR. HAVILAND:       No, I'm not.

       9                       MR. FORST:      -- that have been

     10              answered.

     11                        MR. HAVILAND:       I know you don't

     12              like it, but I'm going to ask them.

     13                        MR. FORST:      No, I don't mind it.

     14              You're wasting your own time.             I'm saying

     15              let's get to things where he has knowledge

     16              of.    This is yet another document he's not

     17              on.    It's probably 15 of today.

     18                        MR. HAVILAND:       Are you done?       You

     19              want to keep going?          You want to put him

     20              on a meter?

     21                        MR. FORST:      I don't know what that

     22              means.

     23                        MR. HAVILAND:       Are you done?

     24                        MR. FORST:      I mean, ask the

     25              question; you'll get the same answer.
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                                                                         Page 203
       1                       MR. HAVILAND:       Are you done?

       2                       MR. FORST:      I'm waiting for the

       3             question.

       4                       MR. HAVILAND:       Are you finished?

       5                       MR. FORST:      I'm done until the

       6             question.

       7                       MR. HAVILAND:       I want to make sure

       8             you have your opportunity to object your

       9             speaking objection.

     10                        MR. FORST:      Okay.    I'm objecting,

     11              asked and answered.

     12                        MR. HAVILAND:       Perfect.

     13     BY MR. FORST:

     14              Q         Dr. Miller, a very simple question

     15     for you.

     16                        This is before you left the

     17     company, right?        December 21, 2021, right?

     18     A        I'm -- at this point in time, I changed --

     19     I'm with Cigna, in my responsibility to Cigna.

     20              Q         But Express Scripts is still a

     21     subsidiary PBM within Cigna for which you had

     22     some involvement throughout your tenure at

     23     Express Scripts, correct?

     24     A        Correct.      Correct.

     25              Q         Okay.    And you said you are unaware
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                                                                         Page 204
       1    that Express Scripts was in active negotiations

       2    to contract for a competitive agent to Acthar,

       3    correct?

       4                       MR. FORST:      Objection, assumes

       5             facts not in evidence, lack of foundation,

       6             asked and answered.

       7                       THE DEPONENT:       Correct.

       8    BY MR. HAVILAND:

       9             Q         Okay.    And my question to you, sir,

     10     is, you have no knowledge, right, from the time

     11     that you were an active employee -- and I'm only

     12     going to go up to the end of 2021 at this point,

     13     right -- of any effort by Express Scripts or

     14     Cigna to go back to Mallinckrodt, the

     15     manufacturer of Acthar, to negotiate a lower

     16     price for Acthar, using the tool that we talked

     17     about this morning, having in the marketplace a

     18     competitive agent to Acthar, FDA-approved, you

     19     have no knowledge that that was ever done, right?

     20     A        I have --

     21                        MR. FORST:      Objection -- objection,

     22              vague and ambiguous, asked and answered,

     23              lack of foundation.

     24     BY MR. HAVILAND:

     25              Q         Go ahead.
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                                                                         Page 205
       1    A        I -- I don't know what anyone has done

       2    with this information.

       3             Q         You have no knowledge of efforts to

       4    reach out to Mallinckrodt, correct?

       5    A        I don't know if they have or have not,

       6    correct.

       7             Q         All right.      After you transitioned

       8    to your role as a consultant in 2022, have you

       9    obtained knowledge that Express Scripts or Cigna

     10     have gone back to Mallinckrodt, using the fact

     11     that it now has a contract to distribute ANI

     12     Pharmaceutical's product, to lower the price of

     13     Acthar?

     14                        MR. FORST:      Objection, assumes

     15              facts not in evidence, lack of foundation,

     16              and asked and answered multiple times.

     17     BY MR. HAVILAND:

     18              Q         You can answer.

     19     A        All right.      So, I -- as a consultant to

     20     the company, I would have -- this is not under my

     21     purview.     I have no knowledge.

     22              Q         Okay.    What is your current

     23     purview, sir?

     24     A        I do special projects with the company.

     25              Q         For instance?
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                                                                         Page 206
       1    A        We have a project called The Future of

       2    Healthcare.

       3             Q         Okay.    No special project where

       4    you're looking at high-cost specialty medications

       5    and ways to bring down the costs, right?

       6    A        No.

       7             Q         All right.      After 60 Minutes took

       8    place, do you recall the company changing the

       9    prior authorization for Acthar?

     10     A        I think we discussed this previously.                I

     11     think they -- they review their criteria on an

     12     annual basis, and I think our Medicare criteria

     13     changed.

     14              Q         Well, I don't think I mentioned

     15     prior authorization, sir.           I think this is the

     16     first time.

     17                        You said earlier in response to my

     18     question that the coverage criteria was reviewed,

     19     and the coverage criteria was changed for

     20     Medicare, right?

     21     A        The -- where the drug was placed in

     22     formulary changed from include -- for Medicare

     23     formulary changed from include to optional.

     24              Q         All right.      That's a coverage

     25     issue, where it's placed in terms of the
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                                                                         Page 207
       1    formulary position?

       2    A        Correct.      It -- often, with coverage

       3    changes, become changes in utilization

       4    management.

       5             Q         That's a separate issue, though,

       6    you'd agree?

       7    A        Correct.

       8             Q         And are you aware that there was a

       9    change in the prior authorization policy at

     10     Express Scripts after 60 Minutes with respect to

     11     Acthar?

     12     A        No.

     13              Q         All right.      Let's go back to a

     14     subject from this morning.            You had wanted to

     15     see, I think, the transcript and the comments,

     16     and I want to go back to the Citibank situation

     17     and make sure I have a clear record on that in

     18     terms of what you said, what your position was at

     19     the time and after.

     20                        I'm going to go ahead and mark this

     21     into the record as Exhibit 20.             It was previously

     22     marked as Henry Exhibit 32.            I'm just going to

     23     write Miller 20.

     24                        (Exhibit 20 was marked.)

     25     BY MR. HAVILAND:
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                                                                         Page 208
       1             Q         There's the exhibit, sir.

       2    A        Thanks.

       3                       MR. FORST:      Thank you.

       4                       MR. HAVILAND:       Yep.    If you don't

       5             mind my little note about Citibank, you

       6             can have that one (handing).

       7    BY MR. HAVILAND:

       8             Q         Dr. Miller, do you see Exhibit 32

       9    [sic]?     For the record, it's

     10     ExpressScripts0834225 through 4227.               It's an

     11     email from --

     12     A        I don't see --

     13              Q         Sorry?     Yeah, it's -- the thread

     14     starts with Brian Henry.           I'm not clear who he

     15     sent it to.      Well, let's -- let's start at the

     16     beginning.      It's actually begun with a piece by

     17     Lynnette Lopez at Business Insider.

     18                        Do you see that on page 2?

     19     A        Yes.    Yep.

     20              Q         June 5th.      And the reporter writes,

     21     We are working to publish a story on comments

     22     Everett Neville, ESRX Senior Vice President,

     23     Supply Chain and Specialty, and Dr. Steve Miller,

     24     ESRX Chief Medical Officer, made Re the company's

     25     relationships with Acthar.            I've pasted the
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                                                                         Page 209
       1    comments we're highlighting below.              They're very

       2    critical of Acthar and its efficacy.               A few

       3    questions.

       4                       I'll skip those for the moment.

       5    You see down the -- the bottom, it says, and

       6    she's attempting to quote, Everett Neville,

       7    senior vice president of supply chain and

       8    specialty, and she repeats, Everett Neville is

       9    responsible for all aspects of supply chain and

     10     specialty business, and then has quotes that

     11     she's ascribing to you.

     12                        Do you see that?

     13     A        The ones at the very bottom?

     14              Q         Yeah.    So let's just go through

     15     them --

     16     A        Yes.

     17              Q         -- because I think Mr. Neville had

     18     comments, and you had comments.

     19                        Is it accurate Mr. Neville said ---

     20     and -- and what Mr. Henry did, he sent the

     21     transcript, but it's a little -- little difficult

     22     to read.

     23                        Mr. Neville said, I don't think

     24     it's a very great -- it's a petty poor drug with

     25     a very limited need, and certainly Steve could
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                                                                         Page 210
       1    comment -- that's you, Dr. Miller?

       2    A        Yes.

       3             Q         -- completely, you know, and,

       4    Steve, you could chime in here too, but I think

       5    Steve and I would both agree, and I think

       6    everybody in our company would agree, that the

       7    product is vastly overpriced for the value.

       8                       Did I read that correctly?

       9    A        Yes.

     10              Q         He then finally says, I personally

     11     told their management team that the drug was

     12     hugely overpriced.         I know Steve has as well.

     13                        Do you see that?

     14     A        Yes.

     15              Q         Now, they were comments made by

     16     Mr. Neville at the conference, right?

     17     A        Yes.

     18              Q         Now, let's just unpack that before

     19     you -- before we go to your comments.

     20                        Did you agree, when Mr. Neville

     21     said you would likely agree, that it's a pretty

     22     poor drug with very limited need?

     23     A        That's correct.

     24              Q         Okay.    You also agreed with his

     25     statement that it's hugely overpriced?
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                                                                         Page 211
       1    A        That is correct.

       2             Q         Now, did you, in fact, as he says

       3    you might have, personally tell Mallinckrodt's

       4    management team that their drug is hugely

       5    overpriced?

       6    A        Their management team has heard directly

       7    from me, and I believe it was at one of our

       8    conferences, because they were also a client of

       9    ours, that their drug was -- that -- I use this

     10     as an example of an overpriced drug.

     11              Q         So, you met with Mallinckrodt

     12     management directly and told them that Acthar is

     13     overpriced?

     14     A        No, I presented at our Outcomes

     15     Conference, of which they were in attendance --

     16     representatives of Mallinckrodt were in

     17     attendance, and told them that it was overpriced.

     18              Q         This is the annual conference that

     19     Express Scripts puts on for its clients?

     20     A        Correct.

     21              Q         You presented Colo outbreak

     22     sessions at those -- at that conference?

     23     A        I presented at both the main part of the

     24     conference and in the Colos.

     25              Q         And in what year was this where you
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                                                                         Page 212
       1    made the comments with Mallinckrodt in the

       2    audience?

       3    A        I don't -- I can't tell you which year it

       4    was.

       5             Q         Well, this email's from June 5,

       6    2017.    It's a couple months after the Rockford

       7    lawsuit was filed.

       8                       So was it before that, was it in

       9    the spring meeting?

     10     A        It could have been years before.

     11              Q         Do you have prepared comments?

     12     A        I never have prepared comments.

     13              Q         Okay.    Is there a transcript of

     14     your comments from those conferences?

     15     A        Not that I'm aware of.

     16              Q         Okay.    So it's a live setting, you

     17     don't have notes.        You just presented, and you

     18     said, Acthar is hugely overpriced?

     19     A        I -- not -- I don't know if I used those

     20     words.

     21              Q         Okay.

     22     A        I used -- used Acthar and other drugs as

     23     examples of pharmaceutical egregious pricing.

     24              Q         Okay.    And you know that

     25     Mallinckrodt executives were in the audience?
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                                                                         Page 213
       1    A        Yes.

       2             Q         Who?

       3    A        I don't know -- I shouldn't say

       4    "executives."       I know Mallinckrodt

       5    representatives come to those conferences.

       6             Q         I want to know if you know if

       7    Mallinckrodt executives were in the audience when

       8    you made those comments.

       9    A        I don't know.        I doubt it, because we

     10     don't get executives to those conferences.

     11              Q         Who comes to the conferences?

     12     A        It's usually the people that manage --

     13     it's HR people from those companies and sometimes

     14     the account managers.

     15              Q         And are they management teams?

     16     A        I don't -- I don't know their status

     17     within the company.

     18              Q         Well, Mr. Neville says, I

     19     personally told their management team.                I know

     20     Steve has as well.

     21                        When did that happen?

     22     A        I believe that their management team has

     23     probably heard it indirectly through these

     24     people, but I have not specifically talked to

     25     their management.
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                                                                         Page 214
       1             Q         Okay.    So, Mr. --

       2    A        I -- I did have a meeting at some point in

       3    time with their chief medical officer.

       4             Q         Mr. Romano?

       5    A        Mr. Romano.

       6             Q         Dr. Romano?

       7    A        Dr. Romano.

       8             Q         When did that happen?

       9    A        Again, I can't tell -- I don't know the

     10     specific date.

     11              Q         It would be helpful, sir, just to

     12     orient it around some timeline.

     13     A        I -- I would love to give you a more

     14     specific -- I just -- these are -- I work on lots

     15     of drugs with lots of companies.              I speak to lots

     16     of chief medical officers and other, you know,

     17     management.      I just can't help you with the

     18     specifics on the time.

     19              Q         You do -- all right.         Whatever the

     20     date was, you met with Dr. Romano?

     21     A        I have met with Dr. Romano.

     22              Q         More than once?

     23     A        Only once.

     24              Q         And do you remember the context?

     25     A        I believe they were coming to our site for
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                                                                         Page 215
       1    a tour of our innovation lab.

       2             Q         Okay.    And that's the lab Mr. Henry

       3    said is a -- it's actually not a lab that

       4    develops like with beakers.            It's an innovation

       5    lab to think about issues?

       6    A        It's about data science.

       7             Q         The data center is also there?

       8    A        How would you -- it's not quite a data

       9    center.      It's -- what we do is it's a way to

     10     visualize data.        The data exists elsewhere.           It's

     11     to be able to put data up in a visual way for

     12     clients and others to better understand what's

     13     happening in drug prices, what's happening to

     14     disease in the community, you know, how our

     15     services can assist them.

     16              Q         And why was Mallinckrodt invited on

     17     this particular day?

     18     A        Because Mallinckrodt also was a client of

     19     Express Scripts.

     20              Q         So pharma companies come to the

     21     innovation lab?

     22     A        All the time.

     23              Q         Okay.    I didn't understand that

     24     when I asked Mr. Henry.           He said it was more

     25     health plan-focused in terms of the payers --
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                                                                         Page 216
       1    A        Well, there --

       2                       MR. FORST:      Let him finish the

       3             question, Dr. Miller.

       4    BY MR. HAVILAND:

       5             Q         -- but other companies come as

       6    well?

       7    A        So, we have lots of pharma company

       8    clients, and many of them send the HR department

       9    side of their companies to our innovation lab.

     10              Q         What do you recall about this

     11     meeting with the Mallinckrodt folks?

     12     A        I know they came.         I know that -- I

     13     remember that they were unhappy with the -- that

     14     I had been vocally critical of their product,

     15     and -- and that's the main thing I remember from

     16     the meeting.

     17              Q         Well, other than the -- this oral

     18     report you gave at one of these Express Scripts

     19     meetings, the first time I see you in the record

     20     publicly speaking about Acthar and its price is

     21     this Citibank conference.

     22                        Did you speak publicly, and it was

     23     reflected in print prior to that?

     24     A        Not that's reflected in print that I know

     25     of, but I have -- I give dozens of talks each
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                                                                         Page 217
       1    year, and I frequently talk about egregious

       2    pricing.     That's what I do, and -- and Acthar was

       3    one of the examples I would frequently used.

       4             Q         And you don't ever take notes, and

       5    you don't ever -- well, you do do PowerPoints.                  I

       6    have PowerPoints.

       7    A        I do PowerPoints, but I speak

       8    extemporaneously for a reason.             So, I never use

       9    notes, because the presentations come off better

     10     when you are extemporaneous, at least I belive

     11     so, and so there is no notes I use.

     12              Q         So, you're saying you've been a

     13     vocal critic of Acthar --

     14     A        I've been a vocal critic -- I'm sorry.

     15              Q         Yeah, I just want to orient the

     16     question to a time.

     17                        That you were a vocal critic of

     18     Acthar's pricing prior to June 2017 after the

     19     Rockford lawsuit?

     20     A        Yes.

     21              Q         Okay.    And do you know how far back

     22     in time you were a vocal critic?

     23     A        You know, I -- again, I've been a vocal

     24     critic of pharmaceutical companies from almost

     25     day one of my coming to the company and have
Case: 3:17-cv-50107 Document #: 853-1 Filed: 07/19/23 Page 218 of 310 PageID #:39466


                                                                         Page 218
       1    criticized many, many different drugs, including

       2    Acthar, but I can't give you a precise time of

       3    when I started --

       4             Q         Well, this particular --

       5    A        -- when I talked about them.

       6             Q         Sorry.     This particular criticism

       7    got the ire of management at Mallinckrodt; you're

       8    aware of that?

       9    A        Yes.

     10              Q         Okay.    Did you speak with

     11     Dr. Romano?

     12     A        I don't remember the date of when I spoke

     13     to Dr. Romano, because the only time I spoke to

     14     him was in the -- when they came to the

     15     innovation lab.

     16              Q         I'm going to show you a document

     17     that was produced by Mallinckrodt in this case

     18     for some reason.        It's -- it's an odd printout.

     19     It didn't print the Bates number.              Let me see if

     20     I have that.       I don't think I have that from

     21     Henry's.     Let me show it to your counsel first.

     22                        It's an email thread involving

     23     Brian Henry that then goes out to Everett Neville

     24     and you and Tim Wentworth, and it concludes with

     25     an email from Everett Neville to Brian Henry.
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                                                                         Page 219
       1    I'm going to show it to your counsel before I

       2    show it to you, and I'm going to read for the

       3    record.

       4                       This is Exhibit 20?

       5                       (Discussion held off the record.)

       6                       MR. HAVILAND:       Oh, I had marked it.

       7             My apologies.        It was marked as

       8             Exhibit 33, and now it's 21.             There we go.

       9             Oh, this is the Henry exhibit.             It was

     10              marked as Henry Exhibit 33.            It's now

     11              Miller Exhibit 21.

     12                        (Exhibit 21 was marked.)

     13     BY MR. HAVILAND:

     14              Q         Let me read for the record.            This

     15     is June 5, sir, the same time as the email thread

     16     that we're looking at.          The conference was the

     17     day before, I presume.          Ms. Lopez's email is at

     18     7:30 a.m.      Well, it was obviously before, because

     19     she knew what you said.

     20     A        Okay.

     21              Q         This is the same day as that email

     22     we looked at with the transcript.              Mr. Henry

     23     says, FYI, I spoke to my counterpart at

     24     Mallinckrodt just now.          As you might guess, they

     25     were surprised by the comments in the Citi
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                                                                         Page 220
       1    report.      They also mentioned that Everett and

       2    Steve's counterparts might be reaching out to

       3    them either today or tomorrow.

       4                       And it's your testimony that didn't

       5    happen?

       6    A        I don't remember that happening.

       7             Q         Okay.    Well, you do remember the

       8    innovation lab --

       9    A        I just --

     10              Q         -- and it wasn't --

     11     A        I remember -- yeah, the one encounter at

     12     the innovation lab.

     13              Q         Yeah, but that wasn't in relation

     14     to the Citibank commentary.

     15     A        I don't know its relationship to the

     16     Citibank commentary.

     17              Q         Well, do you recall at the

     18     innovation lab meeting, Dr. Romano raised your

     19     comments with you?

     20     A        I -- at the innovation lab meeting, I know

     21     Dr. Romano made it clear that he not -- they

     22     were -- Mallinckrodt was not pleased with our

     23     criticizing the price.

     24              Q         Okay.    And you don't know if that

     25     was directly relating to this Citibank
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                                                                         Page 221
       1    conference, right?

       2    A        I -- I cannot tell you if it's from other

       3    comments I've made in other settings or from the

       4    Citibank.

       5             Q         Okay.    Reading further Mr. Henry's

       6    email, They were concerned that there was a

       7    difference of opinion between what we have been

       8    talking about and what was said at Citi.

       9                       Do you see that?

     10     A        I don't see that.

     11              Q         I'm in the fifth line down.            It was

     12     the end of the sentence I started to read.

     13     They -- Mallinckrodt -- also mentioned that

     14     Everett and Steve's counterparts might be

     15     reaching out to them today or tomorrow, as they

     16     were concerned that there was a difference of

     17     opinion between what we have been talking about

     18     and what was said at Citi.

     19                        Do you see that?

     20     A        Yes.

     21              Q         So Mr. Henry, speaking to his

     22     counterpart at Mallinckrodt, was reporting to

     23     you, Mr. Neville, and the CEO that their view was

     24     your comments were inconsistent with what you had

     25     been talking about previously?
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                                                                          Page 222
       1    A        I don't know who "we" is.

       2             Q         Okay.    It goes on further,

       3    Primarily they say their investors are concerned

       4    that we may be moving away from them or not

       5    providing access to the drug in the future.                   She

       6    also indicated that Mark Trudeau may reach out to

       7    Tim at some point.         I don't know if that will

       8    happen, but it may.

       9                       Do you know if that happened?

     10     A        I do not know.

     11              Q         Do you know if Mr. Neville's

     12     counterpart reached out to him?

     13     A        I do not know.

     14              Q         He then says further, She asked

     15     that in the future, if we are asked about Acthar

     16     Gel, we refrain from commenting about it.                 I

     17     explained that we would prefer not to talk about

     18     it, however, we do get asked about it at investor

     19     conferences and elsewhere.            We would much prefer

     20     to talk about our core growth strategy and how we

     21     are delivering value.

     22                        Do you see that?

     23     A        Yes.

     24              Q         And then that thread goes up, and

     25     Mr. Neville says to Mr. Henry, you, and
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                                                                          Page 223
       1    Mr. Wentworth, Did you provide the full

       2    transcript?      Not that they will like it, but the

       3    context is important.

       4                       Do you see that?

       5    A        Yes.

       6             Q         Mr. Henry says, They do have it.

       7    They were concerned about your and Steve's

       8    comments about high pricing and a perceived lack

       9    of value and that, quote, we have told them that,

     10     close quote, language.

     11                        Do you see that?

     12     A        Yes.

     13              Q         It seems to me, reading this,

     14     Mr. Henry is saying that Mallinckrodt doesn't

     15     agree that you have told them in the past that

     16     you believe their product is high-priced?

     17                        MR. FORST:      Objection, calls for

     18              speculation, mischaracterizes the

     19              document.

     20                        THE DEPONENT:       Yeah, I don't know

     21              what Mallinckrodt believes or not.               I

     22              just -- I can read these just like you do,

     23              but I'm not -- you'll have to ask the

     24              people directly involved with Mallinckrodt

     25              what they believe.         I don't --
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                                                                         Page 224
       1    BY MR. HAVILAND:

       2             Q         Well, I am going to do that, sir.

       3    A        Good.

       4             Q         And Mr. Henry described himself as

       5    the eyes, ears, and mouth of the company, who is

       6    the head of communications at this time, right?

       7    A        Yes.

       8             Q         And part of his role was to listen

       9    to what the media was saying, right?

     10     A        Um-hmm.

     11              Q         Yes?

     12                        (Reporter clarification.)

     13                        THE DEPONENT:       Yes.

     14     BY MR. HAVILAND:

     15              Q         And then vet that within the

     16     organization, and he would typically do that with

     17     leadership through his FYI emails we've seen,

     18     right?

     19                        MR. FORST:      Objection to the form.

     20                        You can answer.

     21                        THE DEPONENT:       Yes.

     22     BY MR. HAVILAND:

     23              Q         So, he would take media commentary

     24     that involves Express Scripts, and at times

     25     involved Express Scripts, Mallinckrodt, and
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                                                                         Page 225
       1    Acthar, and he would send that out to you and

       2    others in the organization, right?

       3    A        Correct.

       4             Q         And then he would talk amongst the

       5    leadership, to the extent it's necessary, to

       6    formulate whether or not there'd be a response,

       7    and if so, what that response would be, and

       8    you -- you have been contacted at times about

       9    that?

     10     A        Correct.

     11              Q         And do you recall any time when you

     12     said to Mr. Henry, I want you to put out there

     13     that I say that Acthar is high-priced?

     14                        MR. FORST:      Objection to the form

     15              of the question.

     16                        THE DEPONENT:       I have never

     17              specifically said that to Brian.              I think,

     18              as these emails even indicate, I have made

     19              it very clear I was unhappy with the price

     20              of Acthar.      I've said so publicly, and

     21              obviously Mallinckrodt does not like us

     22              saying that.

     23     BY MR. HAVILAND:

     24              Q         Okay.    And then at some point, you

     25     had a meeting with them at the innovation lab,
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                                                                         Page 226
       1    and you were there, right?

       2    A        Yes.

       3             Q         Okay.    Do you recall who else was

       4    there from Express Scripts?

       5    A        I do not.

       6             Q         Do you recall who was -- you said

       7    Dr. Romano was there?

       8    A        I just remember that's when I met

       9    Dr. Romano.

     10              Q         First and only time?

     11     A        I believe so.

     12              Q         Ever talked to him on the phone?

     13     A        I may have talked to him on the phone

     14     once.

     15              Q         About?

     16     A        I just -- I believe I would -- I believe I

     17     may have talked to him prior to their visit, just

     18     about the upcoming visit.

     19              Q         Okay.    I'm just pointing out, sir,

     20     that we have no written record of this meeting

     21     ever happening, either from Mallinckrodt or

     22     Express Scripts.        So, I want to know what you

     23     know about it.       Not saying it didn't happen, but

     24     you had a conversation about the meeting.                 The

     25     meeting took place.
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                                                                         Page 227
       1                       Did you ever email Dr. Romano?

       2    A        All my emails have been made available.

       3             Q         Okay.    So, you didn't?

       4    A        I don't remember ever emailing him, no.

       5             Q         Okay.    And what specifically do you

       6    recall about what happened at the innovation lab

       7    meeting?

       8    A        I only remember that -- the only thing

       9    that stuck out to me that I remember is that they

     10     did not like our publicly talking about the

     11     price -- the high price of their drugs, and that

     12     they were upset about it.

     13              Q         Was there another purpose of the

     14     innovation lab meeting?

     15     A        The purpose is -- when we have clients in,

     16     is to show them our capabilities, and so -- you

     17     know, like I said, we've had dozens and dozens,

     18     if not hundreds, of these meetings with clients,

     19     and so, they -- they usually don't stand out in

     20     my mind as anything memorable.

     21              Q         Do you recall raising with them the

     22     indication-specific pricing model that you were

     23     working on?

     24     A        I've never spoken to them about that that

     25     I remember.
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                                                                         Page 228
       1             Q         Well, I see an acknowledgement at

       2    the CEO level of Mallinckrodt about that.

       3                       Did you ever talk to Mark Trudeau

       4    directly about it?

       5    A        I've never talked to Mark -- oh.

       6                       MR. FORST:      Let me just object to

       7             the characterization as lack of

       8             foundation, assumes facts not in evidence.

       9    BY MR. HAVILAND:

     10              Q         That's fine.

     11     A        I've never spoken with Mark Trudeau.

     12              Q         Did you speak to Tim Wentworth

     13     about a meeting he had with Mark Trudeau, and

     14     specifically about your indication-specific

     15     pricing model.

     16     A        Not that I remember.

     17              Q         Okay.    And other than their telling

     18     you and saying they were unhappy of your

     19     criticizing their product, what else was

     20     discussed at the innovation lab meeting?

     21     A        Like I said, I can't remember any of

     22     the -- anything else that stuck in my mind.                 It

     23     was just --

     24              Q         You remember that, though?

     25     A        Yeah, because that's -- you know -- you
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                                                                         Page 229
       1    know, clearly, when you've upset your client, you

       2    remember who -- you know, them being upset.

       3             Q         Okay.    And did they say they were

       4    going to do anything about it?

       5    A        I don't remember.         I don't -- I -- no, I

       6    don't remember anything about that.

       7             Q         And after that meeting and

       8    conversation, did you observe that Mallinckrodt

       9    was doing anything to change the relationship

     10     with Express Scripts, either with CuraScript,

     11     Accredo, the hub, or the PBM?

     12     A        I was unaware of any change in the

     13     relationship.

     14              Q         Okay.    So, despite the -- your

     15     comments and that meeting where they said they

     16     were not happy with them, to your knowledge,

     17     there was no change in the business relationship

     18     between the two companies in any facet that I

     19     described?

     20                        MR. FORST:      Objection, asked and

     21              answered.

     22                        THE DEPONENT:       I'm unaware of any

     23              changes.

     24     BY MR. HAVILAND:

     25              Q         All right.      After the City of
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                                                                         Page 230
       1    Rockford filed suit against Express Scripts,

       2    there was an effort to figure out how much money

       3    the various Express Scripts entities make off of

       4    Acthar.

       5                       Do you recall that?

       6    A        No.

       7             Q         Dr. Miller, I'm going to show you

       8    what I've marked as Exhibit 22.             It's

       9    ExpressScripts0837549 to 550.

     10                        (Exhibit 22 was marked.)

     11                        MR. FORST:      Thank you.

     12     BY MR. HAVILAND:

     13              Q         You'll see you're copied on the

     14     email.

     15     A        Yep.

     16              Q         And it -- it generated originally

     17     from Jennifer Luddy to Brian Henry from an email

     18     from Andrew Left of Citron Research.

     19                        Do you see that on the back side?

     20     A        Yes.

     21              Q         And Mr. Left asks, How much does

     22     Express Scripts make off each bottle of Acthar?

     23                        Do you see that?

     24     A        Yes.

     25              Q         And he says, I want to be accurate
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                                                                         Page 231
       1    in light of recent comments made by Dr. Miller.

       2    Does the company plan on modifying its

       3    relationship with Acthar, not on the PBM side,

       4    but on the pharmacy side?

       5                       Do you see that?

       6    A        Yes.

       7             Q         And this is the same day as the

       8    emails we were looking at after the Citibank

       9    conference where you made those comments, right?

     10     A        Correct.

     11              Q         And then Mr. Neville -- well,

     12     Mr. Henry has a comment, he says, Appreciate

     13     guidance.      That's when you're copied on.            Neville

     14     says, I'll defer to Ben.           Practically, it's about

     15     $1 million rebate keep.

     16                        Do you see that?

     17     A        Yes.

     18              Q         Did you understand that to mean

     19     that's the money that the PBM makes off rebates

     20     for Acthar?

     21     A        Well, they -- while I'm copied on these

     22     things, I didn't -- I don't have much

     23     recollection of this.          I don't know what

     24     Everett's -- what Everett's [sic] means by that.

     25              Q         Well, Left is writing because he's
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                                                                         Page 232
       1    keying off the comments you made and Mr. Neville

       2    made about the value of Acthar.             He's asked

       3    specifically about how much Express Scripts makes

       4    off each vial, specifically, United Bio,

       5    CuraScript, and Accredo.           Mr. Neville writes

       6    back, It's a $1 million rebate keep.

       7                       The PBM gets rebates, right?

       8    A        That's correct.

       9             Q         And then if you go up, Mr. Neville

     10     says -- oh, I'm sorry, Mr. English writes, I've

     11     provided talking-points to Ben in the past,

     12     However, I'm forecasting 8.7 million in gross

     13     margin in 2017 at CuraScript.

     14                        Do you see that?

     15     A        Yes.

     16              Q         He would know that, because he was

     17     the president at the time?

     18     A        Correct.

     19              Q         And then if you go up even further,

     20     Ben Bier says, In 2016 CuraScript Distribution

     21     had 7.3 million in gross margin, and 4.1 --

     22     4.4 million in EBITDA.          Same time period in 2016,

     23     Accredo made less than 2 million, UBC earned

     24     about 6 million, with the majority from the

     25     reimbursement hub.         And he says, When you add the
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                                                                         Page 233
       1    rebates in, it equates to approximately

       2    13 million in total for the enterprise.

       3                       Do you see that?

       4    A        Yes.

       5             Q         You had no reason to dispute that

       6    these folks that were weighing in didn't know

       7    what they were talking about in terms of monies

       8    made by the various arms of Express Scripts off

       9    Acthar, right?

     10                        MR. FORST:      Objection to the form

     11              of the question, lack of foundation.

     12                        THE DEPONENT:       Again, outside my

     13              domain, but I have no reason to believe

     14              they don't have their numbers right.

     15     BY MR. HAVILAND:

     16              Q         Well, and when Mr. Henry wants to

     17     get an answer and ask for guidance --

     18     A        Um-hmm.

     19              Q         -- he wants to get it from the

     20     people that know, right?

     21                        MR. FORST:      Objection to the form.

     22     BY MR. HAVILAND:

     23              Q         Is that right?

     24     A        Assume so, yep.

     25              Q         And you would expect that the folks
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                                                                         Page 234
       1    responding, Mr. Neville and Mr. Bier, are going

       2    to give accurate information back, right?

       3                       MR. FORST:      Objection.

       4                       THE DEPONENT:       Correct.

       5    BY MR. HAVILAND:

       6             Q         And so, you have no reason to

       7    dispute that, in 2016, Express Scripts made about

       8    13 million off of Acthar?

       9                       MR. FORST:      Objection, foundation,

     10              calls for speculation.

     11                        THE DEPONENT:       That's what the

     12              documents seem to indicate.

     13     BY MR. HAVILAND:

     14              Q         Okay.    And do you know what was

     15     done with this information?            Was it shared

     16     publicly?

     17     A        I have no idea.

     18              Q         Okay.    Did you ever see in the

     19     public, Express Scripts telling the public, We

     20     make $13 million off of Acthar?

     21                        MR. FORST:      Objection to the form.

     22                        THE DEPONENT:       Don't recall ever

     23              seeing that.

     24     BY MR. HAVILAND:

     25              Q         Okay.    And you don't know what came
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                                                                         Page 235
       1    of that thread after you were copied on it; is

       2    that fair?

       3    A        Correct.

       4             Q         Were you aware of how

       5    Express Scripts coordinated its public messages

       6    with Mallinckrodt?

       7                       MR. FORST:      Objection to the form.

       8                       THE DEPONENT:       I'm unaware of any

       9             coordination with Mallinckrodt.

     10     BY MR. HAVILAND:

     11              Q         Let me show you what I'm going to

     12     mark as Exhibit 23.

     13                        (Exhibit 23 was marked.)

     14     BY MR. HAVILAND:

     15              Q         Exhibit 23 to your deposition, sir,

     16     is --

     17     A        Yep.

     18              Q         -- Bates number

     19     ExpressScripts0959385.          You see it's

     20     June 5, 2017.       It's a little later in the day

     21     from the thread we just looked at.

     22                        Mr. Henry writes, This is how

     23     Mallinckrodt proposes to explain to its investors

     24     the relationship with us.           Let me know if you

     25     have any edits.
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                                                                         Page 236
       1                       Do you see that?

       2    A        Yes.

       3             Q         And then there's a description

       4    there about Express Scripts:            Mallinckrodt has

       5    several distinct arm's-length contracts for

       6    services with Express Scripts subsidiaries for

       7    Acthar, CuraScript, Accredo, United BioSource,

       8    right?

       9    A        Yes.

     10              Q         And you weren't involved directly,

     11     as I can see, in this.

     12                        You weren't -- you have no personal

     13     knowledge of how Express Scripts coordinated

     14     responses to media inquiries with Mallinckrodt;

     15     is that fair?

     16                        MR. FORST:      Objection, assumes

     17              facts not in evidence, mischaracterizes

     18              the document, foundation.

     19                        THE DEPONENT:       Correct.

     20     BY MR. HAVILAND:

     21              Q         A little after those emails,

     22     Mr. Wentworth had a conversation with

     23     Mr. Trudeau.

     24                        Are you aware of that?

     25     A        No.
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                                                                          Page 237
       1             Q         I'll show you what I've marked as

       2    Exhibit 24 to your deposition, Dr. Miller.

       3                       (Exhibit 24 was marked.)

       4    BY MR. HAVILAND:

       5             Q         Exhibit 24 is Bates-numbered

       6    ExpressScripts5353147.          You'll see the thread is

       7    from a Meredith Fischer, who Mr. Henry identified

       8    as his counterpart over at Mallinckrodt.                She

       9    writes to Mr. Henry and cc'ing -- and cc'ing some

     10     folks within Mallinckrodt.            It says, Follow-up to

     11     Wentworth/Trudeau conversation.

     12                        Do you see that Re line there?

     13     A        Yes.

     14              Q         "Morning, Brian, hope all is well.

     15     Just spoke to Mark Trudeau, who had concluded a

     16     call with Tim related to our shared interests and

     17     challenges with Andrew Left.            He said they had a

     18     great call, and they're not only aligned about

     19     the value and importance we mutually place on the

     20     relationship between our companies, but agreed

     21     that they, themselves, and our team should be

     22     tightly aligned on mutual messages when at the

     23     upcoming Goldman conference.            To that end, Tim

     24     suggested it would be good to work with you to

     25     provide your guys a set of talking-points on
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                                                                         Page 238
       1    Mallinckrodt and the context of Acthar."

       2                       Do you see that?

       3    A        Yes.

       4             Q         You're not copied in this thread,

       5    nor the one that Mr. Henry sent to the CEO.

       6                       Were you made aware that there had

       7    been this direct conversation between the CEOs

       8    about the shared interests and challenges and

       9    alignment between the companies?

     10                        MR. FORST:      Objection, asked and

     11              answered.

     12                        THE DEPONENT:       I do not remember

     13              any of this, no.

     14     BY MR. HAVILAND:

     15              Q         Were you at the Goldman conference?

     16     A        No.

     17              Q         Do you know if, at any point during

     18     the conversations between the CEOs, the issue of

     19     your comments of -- about Acthar during the

     20     Citibank conference came up?

     21                        MR. FORST:      Objection, asked and

     22              answered.

     23                        THE DEPONENT:       Don't know.

     24     BY MR. HAVILAND:

     25              Q         And, sir, when I say "do you know,"
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                                                                         Page 239
       1    I want to know if you know.            That's all.

       2    A        I said that.       I don't --

       3             Q         Okay.

       4    A        I don't know.

       5             Q         That's fair.       I realize it's above

       6    your pay grade.

       7                       We're dealing with the CEOs, right?

       8                       MR. FORST:      Well, let's not harass

       9             the witness and be condescending.

     10                        MR. HAVILAND:       I'm not harassing

     11              the witness, sir.

     12                        MR. FORST:      A little bit.       Again,

     13              he said he's not aware of the

     14              conversations.        Then you're asking him

     15              about the specifications of the

     16              conversations.        It's --

     17                        MR. HAVILAND:       I'm going to keep --

     18                        MR. FORST:      -- mind-boggling.

     19                        MR. HAVILAND:       I'm going to keep

     20              going, all right?

     21     BY MR. HAVILAND:

     22              Q         Because, sir, the jury can see what

     23     I'm doing.      The jury sees that Mr. Henry looped

     24     you in --

     25                        MR. FORST:      That's --
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                                                                         Page 240
       1    BY MR. HAVILAND:

       2             Q         -- to conversations --

       3                       MR. FORST:      -- not a question.

       4    BY MR. HAVILAND:

       5             Q         -- asked your opinion, and then

       6    another conversation took place between the CEOs.

       7                       You've testified you've had

       8    conversations with Mr. Wentworth, right?

       9    A        Correct.

     10              Q         But you did not have a conversation

     11     with Mr. Wentworth at this time in relation to

     12     your comments at Citibank or otherwise, right?

     13     A        Not that I remember.

     14              Q         Okay.    That's all I want to know.

     15     A        Yes.

     16              Q         And Mr. Wentworth never reached out

     17     to you to talk to you about your comments you

     18     made at the Citibank conference, right?

     19     A        Not that I remember.

     20              Q         Fair enough.       Okay.    I'm going to

     21     show you what I'm going to mark as -- oh,

     22     shoot -- Exhibit 25 to your deposition.

     23                        (Exhibit 25 was marked.)

     24     BY MR. HAVILAND:

     25              Q         There you go, Dr. Miller.
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                                                                         Page 241
       1    A        Thank you.

       2             Q         Exhibit 25, Dr. Miller, is an

       3    Express Scripts document, ExpressScripts0834253

       4    through 4265.       There's a foundation because

       5    you're on it, sir.

       6                       Do you see that?

       7    A        Yes.

       8             Q         Ben Bier writes to Tim Wentworth,

       9    you, and others on June 12, about a week after

     10     the emails we just looked at, Express Scripts

     11     questions at the Goldman Sachs conference and

     12     Acthar talking-points.

     13                        Do you see that?

     14     A        Yes.

     15              Q         "Tim, attached is the Q&A we've

     16     developed for your fireside chat at the

     17     Goldman Sachs conference on Tuesday."

     18                        Again, you did not attend that?

     19     A        Correct.

     20              Q         And you didn't talk to the CEO

     21     about it, right?

     22     A        Not that I remember.

     23              Q         "I've also attached some proposed

     24     talking-points related to Acthar to the extent

     25     that questions are brought up at any of our three
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                                                                         Page 242
       1    investor conferences this week.             Let me know if

       2    you'd like -- if you'd like to get time together

       3    with the group tomorrow to discuss either of the

       4    attached documents."

       5                       I don't know the group he's

       6    referring to, but you never get -- did get

       7    together in a group setting with the CEO about

       8    the Goldman conference, right?

       9    A        I did not.

     10              Q         And the talking-points, sir, you

     11     can see talk about the, Product attributes.

     12                        Do you see that?

     13     A        Yep.

     14              Q         Services we provide; the PAP

     15     program; income received by Express Scripts at

     16     UBC based on the number of employees; Acthar is

     17     immaterial to our company's financials, and our

     18     practice is to not disclose specific terms.

     19                        Do you see that?

     20     A        Yes.

     21              Q         And then, We also provide wholesale

     22     distribution services for Mallinckrodt.

     23                        Do you see that?

     24     A        Yes.

     25              Q         It doesn't say "exclusive," does
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                                                                         Page 243
       1    it, sir?

       2    A        No.

       3             Q         And then it says, Contracts and

       4    services provided to Mallinckrodt are not unique;

       5    they are standard in the industry.

       6                       Do you see that?

       7    A        Yes.

       8             Q         Do you agree with that?

       9    A        Don't know.

     10              Q         No -- no basis to agree or

     11     disagree?

     12     A        Correct.

     13              Q         Okay.    Acthar pricing:        Since 1998,

     14     the unit cost of AWP for Acthar has increased on

     15     average 36 percent per year.

     16                        Do you see that?

     17     A        Yes.

     18              Q         And, As a PBM, we cannot support

     19     price increases on any drug above the rate that

     20     is standard for medical inflation.

     21                        Is that referring to the medical

     22     pharma CPI, to your knowledge?

     23     A        I believe so.

     24              Q         And that's -- that's a rate that

     25     Express Scripts accepts as a reasonable rate of
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                                                                         Page 244
       1    inflation for pharmaceutical products?

       2    A        It's a -- it's the rate that they

       3    historically increase at.

       4             Q         Well, and that's what I'm trying to

       5    get at.      This seems to be keying off, as a PBM,

       6    Express Scripts can't support increases above

       7    that; Express Scripts accepts the pharma CPI rate

       8    of about 5 to 7 percent; 5 to 7 percent is a

       9    reasonable inflation rate.

     10                        Is that fair?

     11     A        That's what our drugs are usually

     12     subjected to, correct.

     13              Q         Okay.    And this doesn't say

     14     anything than report on the increase over time,

     15     and as -- as a PBM, we can't support price

     16     increases over the medical inflation rate, right?

     17                        MR. FORST:      Objection to the form.

     18                        THE DEPONENT:       It says, As a PBM,

     19              we cannot support drug -- price increases

     20              on any drug above the rate that is

     21              standard for medical inflation.

     22     BY MR. HAVILAND:

     23              Q         I don't see anywhere here where the

     24     talking-points say that Express Scripts is

     25     accusing Mallinckrodt of having a high --
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                                                                         Page 245
       1    high-priced -- price for Acthar.

       2                       MR. FORST:      Just -- I'd wait for a

       3             question.

       4    BY MR. HAVILAND:

       5             Q         Well, you said it at a conference,

       6    and did you tell Mr. Wentworth that, You -- you

       7    should say it too?

       8    A        I was not involved in these preparations.

       9             Q         Okay.    So, that conversation did

     10     not happen, right?

     11     A        I was not involved in these preparations.

     12              Q         You were copied on them, but they

     13     didn't loop you in to the ultimate preparations

     14     of Mr. Wentworth's appearance, correct?

     15     A        Correct.

     16                        MR. HAVILAND:       Are we at an hour

     17              yet, because I want to --

     18                        MR. FORST:      We are.

     19                        MR. HAVILAND:       -- move to a

     20              different topic?

     21                        MR. HAVILAND:       All right.      Let's

     22              take a break.

     23                        MR. FORST:      Let's do it.

     24                        THE VIDEOGRAPHER:        We are going off

     25              the record at 2:22 p.m.
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                                                                          Page 246
       1                       (Break taken.)

       2                       THE VIDEOGRAPHER:        We are back on

       3             the record at 2:34 p.m.

       4    BY MR. HAVILAND:

       5             Q         Dr. Miller, I'm going to mark as

       6    Exhibit 26 to your deposition what I previously

       7    marked at Mr. Henry's deposition as Exhibit 8.

       8                       (Exhibit 26 was marked.)

       9    BY MR. HAVILAND:

     10              Q         The exhibit's ExpressScripts5484513

     11     to 4514.     I'm handing that to you now, sir.

     12     A        Thank you.

     13              Q         Yep.    You'll see it's an email

     14     thread.      You're not copied on it, but you are the

     15     direct subject of it, sir.

     16                        Earlier we talked about the

     17     national meeting of Express Scripts and the

     18     separate meetings called Colos, right?

     19     A        Correct.

     20              Q         Mr. Henry told me a little bit

     21     about that, but this particular email thread is

     22     in relation to the -- the May 28 meeting.                 I

     23     think it was around the middle of the month.

     24                        Do you recall?

     25     A        I don't remember the exact dates, no.
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                                                                         Page 247
       1             Q         Okay.    Well, there was a meeting

       2    that occurred after the 60 Minutes piece, and I

       3    think this email goes to it, because it's

       4    discussing whether or not you or someone else

       5    should address it.

       6                       And if you go to Kelly Glogovac's

       7    email?

       8    A        Yep.

       9             Q         Is it right that Ms. Glogovac and

     10     Ms. Thimangu helped prepare you for these

     11     meetings?

     12     A        Yes.

     13              Q         All right.      And the subject is the,

     14     Colos, Dr. Miller topics.

     15                        And so just so the jury's clear,

     16     there's the national meeting where you talk,

     17     other executives talk, but then there's these

     18     breakout meetings with individual clients?

     19     A        They're not individual -- so, they're

     20     clients grouped by common themes, like labor

     21     clients or commercial clients, military,

     22     government, those type of clients.

     23              Q         Got it.     And in the thread, you'll

     24     see the NDPC?

     25     A        Right.
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                                                                         Page 248
       1             Q         What does that stand for?

       2    A        The National -- National Drug Purchasing

       3    Coalition.

       4             Q         And that's a group of businesses?

       5    A        It's commercial clients that have created

       6    a buying group.

       7             Q         Not labor, not municipality;

       8    it's -- it's businesses?

       9    A        I believe so.

     10              Q         Okay.    And the CBA beneath that?

     11     A        CBA -- how quickly I forget these things.

     12              Q         And then there's the PBMC?

     13     A        Yeah, the Pharmacy Benefits Management

     14     Coalition, so these are also -- they're different

     15     business groups that --

     16              Q         Who have aligned in a buying

     17     coalition?

     18     A        Correct.

     19              Q         And you would occasionally be

     20     invited to go speak at -- at these -- to these

     21     folks as an adjunct to the national meeting?

     22     A        Correct.

     23              Q         So, in this email from Kelly to

     24     Rachel -- and you're not copied on it, you're

     25     spoken about -- Kelly says, Hi, Rachel, per our
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                                                                         Page 249
       1    discussion today, I received some feedback from

       2    the Colo leads on what they're -- on what they're

       3    like -- what they'd like Dr. Miller to cover

       4    during the Colo meeting.

       5                       Do you see that?

       6    A        Yes.

       7             Q         "I did say he will do the same

       8    presentation across all groups."

       9                       Do you see that?

     10     A        Yep.

     11              Q         And then it's kind of broken down.

     12     There's some general topics.            The third bullet, I

     13     was thinking about incorporating the 60 Minutes

     14     thing into Tim's talking-points.

     15                        Would that have been

     16     Tim Wentworth's talking-points?

     17     A        I believe so.

     18              Q         Do you recall this particular

     19     meeting and whether or not you or Mr. Wentworth

     20     addressed the 60 Minutes thing?

     21     A        I can't -- I don't remember.

     22              Q         Well, she seems to be trying to

     23     figure that out before they work with you whether

     24     it would be in Tim's talking-points or whether it

     25     would be a Dr. Miller thing.
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                                                                         Page 250
       1                       Do you see that?

       2    A        Yes.

       3             Q         And you just don't recall how that

       4    broke down, who did what?

       5    A        I don't recall.

       6             Q         All right.      Under the NDPC buying

       7    group -- and what I -- how I'm reading this, you

       8    tell me if -- if my understanding's wrong, Kelly

       9    and Rachel are trying to identify topics that

     10     these groups want to discuss in the Colo

     11     breakouts with you or sometimes just generally,

     12     right?

     13                        MR. FORST:      Objection to the form

     14              of the question.

     15     BY MR. HAVILAND:

     16              Q         Is that how you're reading it?

     17     A        It appears that way, yes.

     18              Q         And NDPC wanted to talk about drug

     19     pricing strategies in light of Acthar and

     20     President Trump's drug pricing announcement.

     21                        Do you see that?

     22     A        Yes.

     23              Q         They also wanted to talk about

     24     excluding rare disease drugs with poor value,

     25     right?
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                                                                         Page 251
       1    A        Yes.

       2             Q         And is that the phenomena you

       3    talked about when you talked about the three

       4    buckets, that -- that the PBM will actually

       5    exclude older medications that don't have value,

       6    or is that something else?

       7    A        That's something else.

       8             Q         What's Exondys 51?

       9    A        Exondys 51 was -- is a drug for spinal

     10     muscular atrophy.

     11              Q         And is that something the PBM

     12     considered excluding?

     13     A        We did exclude.

     14              Q         You excluded it from formularies?

     15     A        I believe so.

     16              Q         All right.      So, it wasn't put on a

     17     tier; it was just excluded entirely?

     18     A        I believe it was excluded.

     19              Q         Why?

     20     A        It doesn't work.

     21              Q         Why doesn't it work?

     22     A        I don't know why it doesn't work.

     23              Q         So, what does it treat?

     24     A        Spinal muscular atrophy.

     25              Q         Okay.    It says, Poor value.
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                                                                         Page 252
       1                       How did you -- how did the PBM come

       2    to learn that it didn't work?

       3    A        Because when you look at the data, they --

       4    they were allowed to use surrogate endpoints.

       5    They looked at dystrophin mRNA as an endpoint.

       6    So, they didn't look at a clinical endpoint.                  And

       7    when you look at these -- the kids with this type

       8    of muscular dystrophy, it did not improve their

       9    performance.

     10              Q         So, the PBM decided to exclude it

     11     from all formularies?

     12     A        I believe so.

     13              Q         Okay.    I won't ask you about

     14     SafeGuard Oncology or the AUM.             We've talked

     15     about that with others.

     16                        The CBA wanted to talk about

     17     orphaned drugs and particularly Strensiq.

     18                        Do you see that?

     19     A        Let's see, where?         At the --

     20              Q         Bottom.

     21     A        Oh, yes.      Okay.

     22              Q         Is it right that that drug was

     23     2 million a year?

     24     A        Yes, and I'm blanking on what Strensiq

     25     treats, but I remember -- yes.
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                                                                         Page 253
       1             Q         And is that a covered drug?

       2    A        Strensiq was a covered product.

       3             Q         Is there any competitor to it?

       4    A        I would have to look it up to -- I don't

       5    remember off the top of my head.

       6             Q         Okay.    Obviously, the coalition --

       7    the buying coalition was concerned about it,

       8    right?

       9    A        They're concerned about expensive drugs.

     10              Q         On bullet point 4, What is ESI

     11     doing about high-cost meds?

     12                        Do you see that?

     13     A        Yep.

     14              Q         "Not sure if this is Dr. Miller or

     15     someone else."

     16                        Was it you?

     17                        MR. FORST:      Objection to the form.

     18     BY MR. HAVILAND:

     19              Q         Do you know if you spoke to the CBA

     20     about high-cost drugs after 60 Minutes?

     21     A        I speak about high-cost drugs in almost

     22     every presentation.

     23              Q         Well, specifically, because I --

     24     you know, this case brought by the City of

     25     Rockford is on behalf of payers.              Some of the
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                                                                         Page 254
       1    members of these buying groups may be in the

       2    Class, and so I'd like to know if you spoke to

       3    members of the Class about the 60 Minutes piece;

       4    and then, specifically, what ESI is doing about

       5    high-cost medications in light of the 60 Minutes

       6    piece?

       7    A        Yeah, so --

       8                       MR. FORST:      Objection to the -- let

       9             me just object to the buildup to that

     10              question.

     11                        (Reporter clarification.)

     12                        MR. FORST:      Object to the -- the

     13              form of the question.          You can just mark

     14              that down, Alexis, thank you.

     15                        THE DEPONENT:       So, I've been

     16              speaking about the problem of high-cost

     17              drugs for my entire career with

     18              Express Scripts.         60 Minutes did not

     19              change that.       I continue to speak about

     20              the high cost of medications and

     21              strategies we have either put in place, or

     22              tried to put in place, or have

     23              contemplated, but I cannot tell you

     24              specifically what my talk was at this

     25              meeting.
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                                                                         Page 255
       1    BY MR. HAVILAND:

       2             Q         And you don't recall if you

       3    specifically spoke about the 60 Minutes piece and

       4    how it painted ESI poorly in relation to Acthar;

       5    is that correct?

       6    A        Correct.

       7             Q         A few weeks after the 60 Minutes

       8    piece -- and we've touched on this a little bit,

       9    I want to make sure my understanding is correct.

     10     I'm going to go ahead and mark as Exhibit -- I

     11     think we're up to 27; is that right?

     12     A        Correct.

     13              Q         Thank you.      I have such pile in

     14     front of me.

     15                        Miller 27 is previously

     16     Henry Exhibit 10, sir.

     17                        (Exhibit 27 was marked.)

     18                        (Discussion held off the record.)

     19     BY MR. HAVILAND:

     20              Q         ExpressScripts Exhibit Number [sic]

     21     1096837 through 6841.          I understand Jason Dohm --

     22     is that how you pronounce it, D-o-h-m?

     23     A        Yes, that's correct.

     24              Q         He's within Andy's group beneath

     25     you, correct?
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                                                                         Page 256
       1    A        I don't believe so.          I think Jason may

       2    have been on the VAC committee --

       3             Q         Okay.

       4    A        -- within -- it's --

       5                       (Reporter clarification.)

       6                       MR. HAVILAND:       VAC.

       7                       THE DEPONENT:       Dohm, on the VAC,

       8             V-A-C, committee, which was in the supply

       9             chain group.

     10     BY MR. HAVILAND:

     11              Q         Okay.    That's over in Mr. Neville's

     12     group at this time, right?

     13     A        That'd be correct.

     14              Q         All right.      Let's go to the

     15     beginning of the email, which is -- the substance

     16     is at 6840.      There's an email from

     17     Scott McCutcheon, Friday, May 11, 2018, which is

     18     the Friday after the 60 Minutes piece.

     19                        Do you have that?

     20     A        Yes.

     21              Q         Acthar discussion, and it looks

     22     like there's a WebEx meeting.

     23                        Do you recall getting into a WebEx

     24     meeting after 60 Minutes to talk about coming up

     25     with a strategy so more clients could have a
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                                                                         Page 257
       1    prior authorization?

       2    A        No.

       3             Q         Okay.    Do you see what I just read

       4    there, Leadership has asked we come up with an

       5    Acthar strategy, so more clients have the PA.                  We

       6    need to determine if we can add to a PA list or

       7    package and the implications and operational

       8    challenges; do you see that?

       9    A        Yes.

     10              Q         If you turn the page, and if you

     11     can go to, sir, Scott McCutcheon's next email,

     12     May 11, at 2:16.        So, it's the same day.          It's

     13     about an hour after the -- the WebEx was set to

     14     end.

     15                        Do you have that email at 2:8- --

     16     2:16?

     17     A        Yes.

     18              Q         He talks about who's attending, but

     19     then embedded in there is an email from

     20     Glen Stettin from the day before, May 10, 2018.

     21                        Do you have that on page 6839?

     22     A        Yes.

     23              Q         Mr. Stettin says, Thank you

     24     Snezana.

     25                        And who is Snezana Mahon?
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                                                                         Page 258
       1    A        Snezana Mahon is someone who worked in

       2    Glen's shop for product development.

       3             Q         David Queller?

       4    A        He was the head of sales and account

       5    management.

       6             Q         He's the SAM head?

       7    A        Yes.

       8             Q         All right.      So, Mr. Stettin writes

       9    back to those two individuals, Here is what I'd

     10     like to do next -- are you with me?

     11     A        Yes.

     12              Q         -- add Acthar to all UM bundles --

     13     that's utilization management, right?

     14     A        Yes.

     15              Q         -- so that it is automatically

     16     included in all the clients who participate with

     17     us.

     18                        And then if you skip down to

     19     bullet three?

     20     A        Yes.

     21              Q         "I have discussed with Brian Seiz

     22     and Dr. Steve" -- that would be you?

     23     A        Correct.

     24              Q         -- "both of whom concur with this

     25     approach."
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                                                                         Page 259
       1                       Do you see that?

       2    A        Yes.

       3             Q         And did you concur with the

       4    approach that was reflected as a leadership

       5    decision to add Acthar to all UM bundles for

       6    participating clients with Express Scripts?

       7    A        I believe I did.

       8             Q         All right.      And was it done, sir?

       9    A        I do not know.

     10              Q         Who would know that?

     11     A        Probably Dr. Stettin.

     12              Q         Dr. Stettin.       What is the name of

     13     his group again?

     14     A        Glen was over innovation something -- I

     15     can't remember his -- he was the senior VP for

     16     innovation, I think.

     17              Q         Is he still with the company?

     18     A        Yes, he is.

     19              Q         What's his title today?

     20     Functionally, what does he do?

     21     A        Probably -- I believe pretty much the same

     22     thing still.

     23              Q         Okay.    So, you concurred in the

     24     decision that's reflected as a leadership

     25     decision to add an Acthar PA to all utilization
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                                                                         Page 260
       1    management for contracted clients, right?

       2    A        To all those who accept the bundles.

       3             Q         Right.     You know, though, that

       4    utilization management does not automatically

       5    include an Acthar prior authorization?

       6    A        Correct.

       7             Q         It's an adjunct that payers have to

       8    pay separately for?

       9    A        So, plan sponsors choose how much

     10     utilization management they want for their plans,

     11     and we try to do our best to accommodate their

     12     needs.

     13              Q         Well, Express Scripts offers this

     14     utilization bundle, right?

     15     A        Correct.

     16              Q         And then it offers these a la carte

     17     pieces to add into the bundle, right?

     18     A        Correct.

     19              Q         And one a la carte piece is a -- an

     20     adjunct prior authorization that includes Acthar?

     21     A        Correct.

     22              Q         And you would agree that plan

     23     sponsors don't have the ability to understand all

     24     that Express Scripts understands about

     25     prescription drugs?
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                                                                         Page 261
       1                       MR. FORST:      Objection to the form,

       2             calls for speculation.

       3                       THE DEPONENT:       So, our clients vary

       4             in their sophistication when it comes to

       5             what they desire, and we don't completely

       6             understand their business like they

       7             understand their own business.

       8                       So, when they're trying to achieve

       9             their objectives for their employees, we

     10              try to be flexible and help them the best

     11              way we can.

     12     BY MR. HAVILAND:

     13              Q         You would agree that the health

     14     plan clients of Express Scripts rely upon Express

     15     Scripts' advice in deciding what drugs to cover,

     16     and if covered, how to treat them, whether --

     17     A        Yeah, health --

     18              Q         I'm sorry -- whether with

     19     utilization management or otherwise, right?

     20                        MR. FORST:      Objection to the form,

     21              calls for speculation.

     22                        THE DEPONENT:       So, you're talking

     23              about health plans or commercial clients,

     24              or --

     25     BY MR. HAVILAND:
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                                                                         Page 262
       1             Q         Well, that's a fair point.           So, I'm

       2    talking about health plans.            Obviously, you've

       3    got Home Depot, You've got major corporations.

       4    We saw an email the other day --

       5    A        Yep.

       6             Q         -- that Sanofi is a client.            That's

       7    a drug company.

       8    A        Yeah, no, we've identified that we

       9    represent many of the drug companies.

     10              Q         Yeah, yeah.      And they actually had

     11     an Acthar spend and contacted Express Scripts and

     12     complained about it, but you've got a big drug

     13     company that obviously understands pharma.

     14     They're a drug company.

     15                        But then you have smaller plans,

     16     like the City of Rockford, right?

     17     A        Um-hmm.

     18              Q         Yes?

     19     A        Yes.

     20              Q         And smaller plans, like the City of

     21     Rockford, don't have the resources or knowledge

     22     that Express Scripts does about prescription

     23     drugs, you'd agree?

     24     A        Generally --

     25                        MR. FORST:      Objection.
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                                                                         Page 263
       1                       THE DEPONENT:       Generally, yes.

       2    BY MR. HAVILAND:

       3             Q         And one of the reasons why small

       4    plans, like the City of Rockford, go to

       5    Express Scripts is for its expertise?

       6                       MR. FORST:      Objection to the form,

       7             calls for speculation.

       8                       THE DEPONENT:       I -- I assume so,

       9             correct.

     10     BY MR. HAVILAND:

     11              Q         And small plans like that would

     12     rely upon, generally, Express Scripts' expertise

     13     and recommendations in deciding the formulary

     14     composition and whether or not to have

     15     utilization management?

     16     A        So, we -- we counsel all these plans on

     17     what we believe is in the their best interests.

     18              Q         And according to what was happening

     19     after 60 Minutes, there was some portion of the

     20     clients that did not have a prior authorization

     21     in place for Acthar, right?

     22     A        That's correct.

     23              Q         And leadership decided to just

     24     include it in all the UM bundles and not have it

     25     be an a la carte purchase, correct?
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                                                                         Page 264
       1    A        Correct.

       2             Q         And that would be a benefit to

       3    plans?

       4    A        It may be a benefit to plans.             Plans --

       5             Q         Well, they're getting something for

       6    free, right, they're getting the PA without

       7    having to pay the adjunct charge of it, right?

       8    A        The plans choose what they want to do

       9    based on their own philosophy.             So, some plans

     10     want no disruption.         They're willing to pay for

     11     high-priced drugs, because they'd rather have

     12     their members being able to access anything

     13     they'd like.

     14                        There are other plans that,

     15     whatever utilization management tool we have,

     16     because financially they can't afford to have any

     17     excess spend.       And so, it -- it's very dependent

     18     on a plan's own philosophy.

     19              Q         Well, let's focus on the issue at

     20     hand, and that is the decision by leadership, in

     21     which you concurred, to make a prior

     22     authorization available to all contracted

     23     clients.

     24                        In the email that we're reading

     25     from, Mr. McCutcheon's email, he's got a bullet
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                                                                         Page 265
       1    point that says, Concerns?

       2    A        Um-hmm.

       3             Q         Do you see that?

       4    A        Yes.

       5             Q         Does the proposal and sudden change

       6    to add and push out PA, at no charge, make ESI

       7    appear to admit -- admitting we were do -- we

       8    were wrong?

       9                       Do you see that?

     10     A        Yes.

     11              Q         And that was a concern, because ESI

     12     had been charging plans -- and it says later,

     13     2 pennies per member per month.

     14                        Do you see that?

     15     A        Yes.

     16              Q         And that's how Express Scripts

     17     looks at these things when it tells clients, It's

     18     going to cost 2 cents per member, per month to

     19     have this prior authorization, right?

     20     A        Correct.

     21              Q         And those pennies, small, become

     22     billions of dollars to Express Scripts, right?

     23     A        I -- I -- I don't know the math there.

     24              Q         Well, you know Express Scripts

     25     makes over $100 billion?
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                                                                         Page 266
       1    A        $100 billion?

       2             Q         Yes, sir.

       3    A        I do not know that.

       4             Q         You don't know it is the largest --

       5    20th largest company in America?

       6    A        I do not know we make $100 billion.

       7             Q         Well --

       8    A        Are you talking about revenue, or are you

       9    talking about --

     10              Q         I'm talking about, when you look at

     11     Fortune 500 companies, that Express Scripts was

     12     the 20th largest corporation in America in 2018.

     13                        Does that surprise you?

     14     A        No, that part doesn't surprise me at all.

     15              Q         Okay.    So -- and it's $100 billion

     16     in revenue, sir.        $100 billion.

     17                        MR. FORST:      That's not -- not a

     18              question.

     19                        THE DEPONENT:       It's --

     20                        MR. FORST:      Just wait for a

     21              question.

     22                        THE DEPONENT:       All right.

     23     BY MR. HAVILAND:

     24              Q         You're not surprised to know that

     25     the company you work for is the 20th largest in
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                                                                         Page 267
       1    America?

       2    A        Correct.

       3             Q         All right.      And the way it makes

       4    that money is through these services fees and --

       5    and other ways that we won't get into, it makes

       6    money out of CuraScript, Accredo, and UBC, and

       7    we've covered that a little bit, right?

       8                       MR. FORST:      Objection to the form

       9             of the question, vague, ambiguous.

     10                        THE DEPONENT:       Yes, we've discussed

     11              that.

     12     BY MR. HAVILAND:

     13              Q         Yeah, we saw the $13 million math.

     14                        The PBM, however, sir, just so the

     15     jury's clear about it, it makes money through the

     16     services it provides to the plans; consultation,

     17     putting plan designs together, creating

     18     formularies, utilization management, and other

     19     services, right?

     20     A        Correct.

     21              Q         And so, when the ad hoc PA for

     22     Acthar, and I'm in the -- under, Considerations,

     23     the circle, AUM Package Savings Erosion, ad hoc

     24     PA cost equals $0.02 PM/PM -- and that stands for

     25     per member, per month, right?
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                                                                         Page 268
       1    A        Correct.

       2             Q         Because Express Scripts goes to

       3    plan clients and says, We look at your spend, in

       4    terms of your members, per member, per month,

       5    right?

       6                       MR. FORST:      Objection --

       7                       THE DEPONENT:       Correct.

       8                       MR. FORST:      -- to the form.

       9    BY MR. HAVILAND:

     10              Q         And this utilization management

     11     tool that you described for us this morning, sir,

     12     right?

     13     A        Um-hmm.

     14              Q         Remember, you said, direct

     15     contracting, and you said, utilization

     16     management, and you said, the media, and we've

     17     covered -- we've covered the media, and we

     18     covered direct contracting.

     19                        This is utilization management,

     20     right?

     21     A        Correct.

     22              Q         And prior authorization is a form

     23     of utilization management?

     24     A        Correct.

     25              Q         It's not free?
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                                                                         Page 269
       1    A        Correct.

       2             Q         Express Scripts charges plan

       3    clients for that service, right?

       4    A        Correct.

       5             Q         And in this case, the ad -- the ad

       6    hoc PA, because it wasn't in general utilization

       7    management bundles, was costing plans who elected

       8    to have it 2 cents per member, per month, right?

       9    A        That's what this appears to say.

     10              Q         Right.     But not everybody had that,

     11     correct?

     12     A        Correct.

     13              Q         And after 60 Minutes, leadership

     14     made a decision, in which you concurred, to just

     15     give everybody the Acthar PA without any

     16     additional cost; isn't that correct?

     17     A        What I concurred with was adding it to the

     18     bundle, correct.

     19              Q         Right.     And that pushed out the

     20     Acthar PA to every plan contracted with

     21     Express Scripts for utilization management,

     22     correct?

     23     A        I don't think that's correct.

     24              Q         What's wrong about that?

     25     A        People still have to opt into the bundles.
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                                                                         Page 270
       1    Not everyone takes the bundles.

       2             Q         No, I thought I put it in my

       3    question -- I appreciate the clarification -- if

       4    a plan had the bundle, but didn't have the ad hoc

       5    PA, leadership said, Give it to everybody who has

       6    the bundle?

       7    A        Correct.

       8             Q         And that was a substantial quantity

       9    of people that didn't have the Acthar PA?

     10     A        I --

     11                        MR. FORST:      Objection to the form.

     12                        THE DEPONENT:       I don't have -- I

     13              can't quantify that for you.

     14     BY MR. HAVILAND:

     15              Q         Well, it was done in the email,

     16     sir.

     17     A        Okay.

     18              Q         Pulling the value from the

     19     adjunctive PA to the limited PA -- and that's

     20     just one of the bundles, right?

     21                        The limited PA is part of the AUM,

     22     which is the larger utilization management

     23     program --

     24     A        Um-hmm.

     25              Q         -- by Express Scripts, right?
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                                                                         Page 271
       1    A        Yes.

       2             Q         Pulling the adjunctive to limited

       3    reduces the value of the adjunctive and increases

       4    the limited result, so what -- what's happening

       5    here is the business folks at the PBM are looking

       6    at implementing this decision of leadership to

       7    push out the Acthar PA as part of these bundles,

       8    and -- and the implication is it's going to

       9    lessen the values of other bundles and lessen the

     10     value of the adjunct -- they call it the ad hoc

     11     PA, right?

     12     A        Correct.

     13                        MR. FORST:      Objection to the form.

     14     BY MR. HAVILAND:

     15              Q         And it says --

     16                        MR. FORST:      Let me just get in the

     17              objection --

     18                        THE DEPONENT:       I'm sorry.

     19                        MR. FORST:      -- between the question

     20              and answer.

     21     BY MR. HAVILAND:

     22              Q         It says the result is to, Decrease

     23     the value to step up to a more restricted

     24     package, right?

     25     A        Correct.
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                                                                         Page 272
       1             Q         Because the general utilization

       2    bundle doesn't have all these bells and whistles,

       3    right?

       4                       MR. FORST:      Objection to the form.

       5                       THE DEPONENT:       Yeah, I'm not sure

       6             characterizing it as bells and whistles

       7             is --

       8    BY MR. HAVILAND:

       9             Q         It doesn't have all the prior

     10     authorization policies that are out there to deal

     11     with high-cost drugs?

     12     A        Correct.

     13              Q         Plans have to step up, and there's

     14     a chart somewhere that shows a -- a line going

     15     up, as you add these different bundles, you're

     16     getting more and more prior authorization

     17     protection, right?

     18     A        That is correct.

     19              Q         But if you move the Acthar prior

     20     authorization down into general utilization --

     21     utilization, you're enhancing the value of

     22     utilization for -- for no additional cost, but

     23     you're diluting the value of more restricted

     24     prior authorizations up the ladder, right?

     25     A        Correct.
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                                                                         Page 273
       1             Q         So, that's what this is doing, it's

       2    looking at that analysis, and there's a bullet

       3    here that says, Greater than approximately

       4    2 million lives with the Acthar PA.

       5                       Do you see that?

       6    A        Yes.

       7             Q         That -- that's a small portion of

       8    the patient population covered by Acthar -- or

       9    Express Scripts as a PBM, right?

     10     A        That is correct.

     11              Q         And so, the analysis goes on and

     12     looks at the implications to Express Scripts of

     13     that decision and implementing that decision,

     14     you'd agree?

     15     A        It looks at some of the implications,

     16     correct.

     17              Q         And you would assume, by those that

     18     are all copied here, that they were knowledgeable

     19     about the subject matter, so that Mr. Stettin

     20     could put together a listing of concerns,

     21     considerations, results, and timing, right?

     22                        MR. FORST:      Objection to the form.

     23                        THE DEPONENT:       That appears to be

     24              what this is about, yes.

     25     BY MR. HAVILAND:
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                                                                         Page 274
       1             Q         And you weren't brought into those

       2    details when they said that Dr. Steve concurred;

       3    you were just asked, generally, Do you concur

       4    with the idea of giving out this Acthar PA for

       5    free?

       6    A        Correct.

       7             Q         All right.      And you don't know if

       8    it was implemented?

       9    A        Correct.

     10              Q         So, let's follow the thread.            And I

     11     realize, sir, you weren't copied on it, but you

     12     were mentioned in the thread.             So, they did come

     13     out to you and -- and get your opinion --

     14     A        Um-hmm.

     15              Q         -- and you provided that, yes?

     16     A        Correct.

     17                        MR. FORST:      Objection -- well,

     18              again, objection to the form.

     19                        MR. HAVILAND:       Yeah, I'm sorry, our

     20              pace has -- has hopped up a little bit

     21              here.

     22     BY MR. HAVILAND:

     23              Q         So, if you go with me to 838,

     24     Mr. McCutcheon's May 24, 2018 email.

     25                        You with me?
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                                                                         Page 275
       1    A        Yes.

       2             Q         To Kelcey Blair and Jason Martin.

       3                       Do you know who they are?

       4    A        I know who Kelcey is.          I don't believe I

       5    know Jason.

       6             Q         They work for the PBM?

       7    A        Yes, they do.

       8             Q         And he's asking, Do we have any

       9    updates on progress of research and feasibility

     10     of adding an age edit to the PA and tightening

     11     criteria?

     12                        Do you see that?

     13     A        Yes.

     14              Q         And there's a question earlier from

     15     Katie Kirk about age edits below that.

     16                        Do you see that?

     17     A        Yes.

     18              Q         And if you go to the face page, I

     19     want to go to Mr. McCutcheon's email from

     20     Thursday at 9:00 a.m.

     21                        Do you see that?        It's in the

     22     center.

     23     A        Yes.

     24              Q         He says, I'm sitting with Andy at

     25     the airport.
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                                                                         Page 276
       1                       Do you see that?

       2    A        Yes.

       3             Q         That's Andy Behm?

       4    A        I assume so.

       5             Q         "P&T has ruled optional, so Andy is

       6    recommending blocking and using current PA

       7    criteria as exception criteria."

       8                       I think earlier today, this is what

       9    you described about changing the coverage policy

     10     for Acthar to make it optional, right?

     11     A        The -- the bucketing of Acthar to the

     12     optional -- that it's an optional product.

     13              Q         Okay.    And that was done, the

     14     decision was made with respect to the Medicare

     15     formulary, right?

     16     A        Yeah, I -- I do not know what formulary

     17     they're talking about here.            So, that would be --

     18     have to be addressed with Andy.

     19              Q         I -- I'll do that, but you do

     20     recall that it was done in the context of the

     21     Medicare formulary?

     22     A        Yes.

     23              Q         And you described, because they all

     24     have babies that are covered under Medicare,

     25     right?
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                                                                         Page 277
       1    A        Right.

       2             Q         If you look above that,

       3    Kelcey Blair says, If P&T has changed their

       4    parameter, Jason, I assume this would go back to

       5    VAC.    He says, Yes, we'll be reviewing during our

       6    annual review.

       7                       You told me what the VAC was.            I

       8    appreciate that, because I didn't know what that

       9    reference was.

     10                        That is the -- the cost arm that

     11     evaluates a cost element of a decision,

     12     independent from the P&T?

     13     A        Correct.

     14              Q         All right.      And so, they would look

     15     at that decision -- that coverage decision and do

     16     their cost analysis?

     17     A        It's not a cost analysis of what a -- the

     18     functions of Express Scripts.             They do a value

     19     assessment of the product.

     20              Q         What I'm trying to understand is,

     21     you know, Acthar is such an old medication, and

     22     the value assessment was done a long time ago in

     23     terms of coverage.

     24     A        It's reviewed annually.

     25              Q         Okay.    All drugs are reviewed
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                                                                         Page 278
       1    annually?

       2    A        I believe so.

       3             Q         Okay.    So, if there's a change in

       4    coverage criteria, even for the government, that

       5    would go back to VAC.          And he -- and she says,

       6    Jason says it will be done on the annual review,

       7    right?

       8    A        Yes.

       9             Q         And that's how you understand that

     10     works?

     11     A        Yes.

     12              Q         And do you know, if, in fact -- so,

     13     we know that P&T ruled optional in Medicare,

     14     right?

     15     A        That's correct.

     16              Q         You don't know if the P&T Committee

     17     ruled optional in the commercial plans, right?

     18     A        Or any other formulary.

     19              Q         You don't know that?

     20     A        Correct.

     21              Q         All right.      The email from

     22     Scott McCutcheon says, Andy is recommending

     23     blocking.

     24                        What -- what is that referring to?

     25                        MR. FORST:      Objection, calls for
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                                                                         Page 279
       1             speculation.

       2                       THE DEPONENT:       So, when you move a

       3             drug from include to optional, you still

       4             want to make sure you're controlling

       5             utilization.       So, that's where you may

       6             want to make sure that there's a PA, for

       7             instance, that only people with infantile

       8             spasm or MS exacerbations are getting the

       9             drug.

     10     BY MR. HAVILAND:

     11              Q         And that is done as an edit at the

     12     pharmacy level, right?

     13     A        That is done -- so, prior authorization is

     14     done at the pharmacy level.

     15              Q         Yes.    For a pill dispensed at the

     16     pharmacy, that'd actually pop up on the screen

     17     for the pharmacy that there was some edit there

     18     that -- something more that needs to be done

     19     before the script gets filled?

     20     A        That's correct.

     21              Q         In the specialty arena, it's done

     22     through a more convoluted process, through prior

     23     authorization review, clinical review, and the

     24     like, right?

     25     A        That's correct.
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                                                                         Page 280
       1             Q         Similar, but different type of

       2    pharmacy operation, right?

       3    A        Correct.

       4             Q         And so, in the specialty pharmacy

       5    arena, would you still have a block and then a

       6    review to see if it would be allowed as optional?

       7    A        I would have to defer to people who are

       8    more expert.

       9             Q         Okay.    You don't know how --

     10     functionally how that works.            Okay.

     11                        And -- and I do want to make sure

     12     I'm asking all you know.           I'll tell you what, I

     13     have a couple of other emails where you're

     14     involved with Andy --

     15     A        Um-hmm.

     16              Q         -- so let's go through those, and

     17     then I'll make sure I've gotten what I can get on

     18     this subject for what you know.

     19                        So, we're up to number 28.

     20                        (Exhibit 28 is marked.)

     21     BY MR. HAVILAND:

     22              Q         This is Exhibit 28.         I don't know

     23     why this doesn't have Bates numbers on it.                 It

     24     was a -- it comes from the Express Scripts

     25     production.
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                                                                         Page 281
       1                       MR. HAVILAND:       For those on the

       2             Zoom, it doesn't have Bates numbers on it.

       3    BY MR. HAVILAND:

       4             Q         It is an email thread between

       5    Andy Behm and Dr. Miller, dated May 21, 2018.

       6    So, it's a couple of days before the Jason Dohm

       7    thread of the 24th and the leadership decision

       8    that was made May 11.          So, we're -- we're in that

       9    window, Doctor.        You'll see Mr. Behm writes, P&T

     10     decision from last week, see below.

     11                        Do you see that?

     12     A        Yes.

     13              Q         And the email -- what's embedded in

     14     the email says, Proprietary and confidential, do

     15     not distribute.

     16                        You had access to P&T decisions,

     17     right?

     18     A        Yes.

     19              Q         As the clinical head?

     20     A        Um-hmm.

     21              Q         Yes?

     22     A        Yes.

     23              Q         Obviously, Mr. Behm did, because he

     24     ran the group that monitored the P&T inside

     25     Express Scripts, right?
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                                                                          Page 282
       1    A        Correct.

       2             Q         Do you know who else got

       3    dissemination of this type of information from

       4    P&T?

       5    A        I don't -- you'd have to ask Andy.               I

       6    can't give you the -- what their distribution is.

       7             Q         Okay.    He doesn't make direct

       8    reference to the subject we're talking about here

       9    with Acthar, but if you go into the email, he

     10     says, Here are the parameters established at the

     11     May 27, 2018 ESI National P&T Committee Meeting.

     12                        And that's -- is it always a

     13     national meeting?

     14     A        ESI National P&T is.          So, there's more

     15     than one P&T.       A subgroup of the national P&T is

     16     the Medicare P&T.

     17              Q         Okay.    And then is there one for

     18     commercial?

     19     A        The national P&T is for overseas

     20     commercial.

     21              Q         I see.     Government's a subset?

     22     A        Medicare's a subset.

     23              Q         Under the bottom, it says, Existing

     24     medications, Acthar changed from include to

     25     optional.
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                                                                         Page 283
       1                       And that's what you described for

       2    us, right?

       3    A        Correct.

       4             Q         And so, just so we can nail this

       5    down, sir, does this pinpoint in your mind that

       6    that decision to change to optional was done at

       7    this national meeting, May 17, 2018, and you

       8    learned about the decision through this email

       9    from Andy Behm?

     10     A        That would be correct.

     11              Q         All right.      Now, I want to --

     12     A        But, again, just to be clear, I don't know

     13     if this is pertaining to the Medicare formulary

     14     or the commercial formularies.

     15              Q         Yeah, and I don't have anything

     16     further --

     17     A        Yep.

     18              Q         -- to show you, sir, that you're

     19     on.

     20     A        Right.

     21              Q         I believe we have your emails --

     22     entire from this time, but I -- that's all I

     23     have, so --

     24     A        Yep.

     25              Q         -- if you don't remember, that's
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                                                                         Page 284
       1    all I can add.

       2    A        Yep.

       3             Q         All right.      I do have one more

       4    subject from this time period I want to ask you

       5    about.     It's just after 60 Minutes, but it

       6    relates to a different subject matter.

       7                       I'm going to mark this as

       8    Exhibit 29.

       9                       (Exhibit 29 was marked.)

     10     BY MR. HAVILAND:

     11              Q         It was previously marked as

     12     Henry Exhibit 9.        Exhibit Miller 29 is

     13     ExpressScripts4848402 through 8406.

     14                        Just to orient ourselves, we looked

     15     at some of these emails earlier, sir.               If you go

     16     to 8406, you'll see the CBS News piece about

     17     60 Minutes.      And then you'll come forward, you'll

     18     see some of the Brian Henry emails, somewhat

     19     redacted.

     20                        I just want to bring you forward to

     21     the second page at 8403, there's a new email that

     22     picks ups after Brian Henry's email from the

     23     night of 60 Minutes.          Adam Kautzner to

     24     Jason Dohm, Not sure what we are doing on rates.

     25                        And then right above there, there's
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                                                                         Page 285
       1    an email from Mr. Dohm that says, Is there -- is

       2    this an opportunity to obtain a better rate from

       3    Mallinckrodt?

       4                       Do you see that?

       5    A        Yes.

       6             Q         And I asked you, was there ever an

       7    opportunity taken to talk to Mallinckrodt about

       8    rates?

       9                       And I want to see if you -- this

     10     helps to refresh your recollection about a

     11     subject you know.        If not, that's fine.

     12                        Jason Dohm -- so, Mr. Henry thought

     13     there was a time when he was in your group under

     14     Mr. Behm, but then he was also in pharma

     15     contracting at one point.

     16                        Do you know where he was at this

     17     time?

     18     A        This would be -- he would be in supply

     19     chain at this time.

     20              Q         Under Mr. Neville, yes?

     21     A        Yes.

     22              Q         How about Michael Rothrock?

     23     A        I believe he is also in supply chain.

     24              Q         And Jeffrey Todd [sic]?

     25     A        Same.
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                                                                         Page 286
       1             Q         Todd Jeffrey.

       2                       All right.      So, then his question

       3    goes to -- from Michael Rothrock to Todd Jeffrey,

       4    You and Tom may want to discuss if this opens up

       5    any additional rebates options on Acthar Gel.

       6                       Dohm then asks, What other drugs

       7    does Mallinckrodt manufacture?             Can we apply

       8    pressure to their other product line?

       9                       Todd Jeffrey says, Acthar is the

     10     only rebated product -- product under contract.

     11     Tom -- I think that's Tom Abson -- Any other

     12     intel here?

     13                        And then Mr. Dohm says, I will

     14     determine if they have any non-contracted drugs

     15     we could exclude.

     16                        Do you see that?

     17     A        Yes.

     18              Q         We touched upon this, but I wanted

     19     to make sure I understood your understanding

     20     about it.

     21                        One way that the PBM can control

     22     costs and reduce costs with a manufacturer is by

     23     looking at its book of drugs and saying, We're

     24     going to treat this particular drug one way and

     25     another drug a different way under formulary
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                                                                         Page 287
       1    controls and otherwise, right?

       2    A        Yes.

       3             Q         Mallinckrodt doesn't just make

       4    Acthar, right?

       5    A        Correct.

       6             Q         In fact, Mallinckrodt was -- maybe

       7    still is -- the largest manufacturer of generic

       8    opioids; did you know that?

       9    A        I knew they made generic opioids.

     10              Q         They've since settled, and they've

     11     gone through bankruptcy, and all sorts of things.

     12                        But when the folks in this thread

     13     are talking about, Can Express Scripts apply

     14     pressure to their other product line, they would

     15     be looking at products other than Acthar in terms

     16     of bringing pressure to the manufacturer to do

     17     something on rates for Acthar, right?

     18     A        The job -- their job is, each and every

     19     day, to look to see how they can lower drug

     20     prices, and this would be one mechanism by which

     21     they could lower drug prices, or potentially.

     22              Q         And do you know if, in fact, the

     23     folks in this group ever went to Mallinckrodt --

     24     hold on -- after 60 Minutes and applied pressure

     25     through their other product lines, either opioids
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                                                                         Page 288
       1    or some of their other branded products, in order

       2    to extract pricing concessions for Acthar?

       3    A        And as I've stated before, I do not.

       4             Q         Okay.    It's fair to ask, because

       5    this is right in the wheelhouse where you are

       6    copied on some emails, but -- and did you know at

       7    the time that Acthar was a rebated product?

       8    A        I do not know the financial relationships

       9    with these drugs.

     10              Q         Okay.    Do you know when the rebate

     11     came about?

     12     A        Again --

     13                        MR. FORST:      Objection, asked and

     14              answered.

     15                        THE DEPONENT:       -- I do not know.

     16     BY MR. HAVILAND:

     17              Q         Well, let me show you a document,

     18     and see if we -- there's something more to talk

     19     about.

     20                        (Discussion held off the record.)

     21     BY MR. HAVILAND:

     22              Q         All right.      You are familiar,

     23     though, sir, that Express Scripts has a Preferred

     24     Savings Grid Rebate Program; are you not?

     25     A        Yes.
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                                                                         Page 289
       1             Q         And that's one way the PBM

       2    contracts with pharma to get financial value back

       3    for its plans, right?

       4    A        Correct.

       5             Q         Through rebates?

       6    A        Correct.

       7             Q         Okay.    And just so the jury's

       8    clear, that's different from the price being

       9    charged; the price charged is the price charged;

     10     whether it's discounted or not, we can leave

     11     aside.

     12                        A rebate is money that comes back

     13     later after the expenditure's been made, right?

     14     A        That's correct.

     15              Q         Okay.    I -- I just don't want to

     16     assume that they understand what we're talking

     17     about.

     18                        And so this Preferred Savings Grid

     19     is a program that's offered to a whole host of

     20     pharma companies to participate with Express

     21     Scripts and provide rebates for their products,

     22     right?

     23     A        That is correct.

     24              Q         And some or all of those rebates

     25     might be passed on to the plans, but that's a
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                                                                         Page 290
       1    different issue?

       2    A        That's correct.

       3             Q         Okay.    Let me mark, as Exhibit 30

       4    to your deposition, an amendment to a rebate

       5    contract between Mallinckrodt and Express

       6    Scripts, and it's signed by Adam [sic] Adamcik,

       7    who was the vice president of pharma strategy and

       8    contracting at the time.

       9                       (Exhibit 30 was marked.)

     10     BY MR. HAVILAND:

     11              Q         Take a moment and see if you've

     12     seen that before today.           If you haven't, that's

     13     fine.    I'm going to ask you a question.

     14     A        Never seen it.

     15              Q         And you don't get involved in -- in

     16     pharma contracting, reviewing contracts, right?

     17     A        No, sir.

     18              Q         Mr. Adamcik, that's his role?

     19     A        That's correct.

     20              Q         He's a direct report to

     21     Mr. Wentworth at this time?

     22     A        That is -- I believe he's a direct report

     23     to Everett Neville at this time.

     24              Q         I see.     Because there's a point

     25     where Neville came in and then reported -- he had
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                                                                         Page 291
       1    folks reporting up to him before it went up to

       2    Mr. Wentworth, right?

       3    A        So, Ed is -- this is a group within supply

       4    chain.

       5             Q         I see.     Okay.    I didn't know that.

       6                       The contracting group was part of

       7    supply chain; is that right?

       8    A        I believe so, unless specialty -- yeah, I

       9    mean, this is Express Scripts, so this would be

     10     part of supply chain.

     11              Q         Okay.    This is an amendment to

     12     another agreement I'm not going to show you.                  I

     13     wanted to show you the amendment, because it's --

     14     it relates to the issue we're talking about.                  If

     15     you'll turn to page 2 of it, you'll see that

     16     it -- it only relates to Acthar.

     17                        Do you see that?        It is really hard

     18     to read.     Do you see the rebate program

     19     commercial?

     20     A        Yes.

     21                        MR. FORST:      Okay.    I'm just -- I'm

     22              just going to lodge a standing objection,

     23              foundation.

     24                        MR. HAVILAND:       You can have it.

     25                        For the record, I'm sorry, this
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                                                                         Page 292
       1             is -- Exhibit 30 is ExpressScripts0000434

       2             through 449.       This is a contract that was

       3             produced by Express Scripts very early on

       4             in the case.       It's Number 400.

       5    BY MR. HAVILAND:

       6             Q         Do you see how, on page 2, it's

       7    relating to Acthar?

       8    A        Yes.

       9             Q         And the exhibit -- Attachment A-2

     10     to Exhibit A has an HP Acthar Gel Model Policy.

     11                        Do you see that reference --

     12     A        Exhibit --

     13              Q         -- at page 3 of the document?

     14     A        Yes.

     15              Q         And then if you turn with me, sir,

     16     there is a statement that says, HP Acthar Gel

     17     Model Policy Language Guidance.

     18                        Do you have that?        It's at

     19     Bates number 437.

     20     A        Yes, sir.

     21              Q         Okay.    And then this -- this policy

     22     goes on through the end of the document, all the

     23     way through to 449.         I only want to focus on the

     24     couple of lines with you.

     25                        You see that the model policy
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                                                                         Page 293
       1    language in the first full paragraph says, Acthar

       2    is approved by the US Food and Drug

       3    Administration for 19 indications; do you see

       4    that?

       5    A        Yes.

       6             Q         We talked this morning.          That --

       7    that's not accurate, right, it's approved for two

       8    indications?

       9    A        That's -- you're correct.

     10              Q         And then if you skip down, it says,

     11     Please note that this model policy includes a

     12     whole bunch of things, in terms of therapies and

     13     so on.

     14                        I just want to get to the third

     15     page, which says -- at 438, and then it -- it

     16     goes through the various indications and uses.

     17     If you go to the top, it's page 2, it says,

     18     Effective date, HP Acthar Gel, Acthar, is

     19     approved by the FDA and is a covered therapy for

     20     the following indications and uses.

     21                        You with me?

     22     A        Yes.

     23              Q         And then it lists infantile spasms,

     24     right?

     25     A        Yes.
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                                                                         Page 294
       1             Q         Acute exacerbations of MS?

       2    A        Yes.

       3             Q         And -- and we agree that they are

       4    FDA-approved indications, right?

       5    A        Um-hmm.

       6             Q         Yes?

       7    A        Yes.

       8             Q         And then proteinuria and nephrotic

       9    syndrome; did I say that correctly?

     10     A        Proteinuria and nephrotic syndrome,

     11     correct.

     12              Q         That is not an approved --

     13     FDA-approved indication for Acthar, correct?

     14     A        Correct.

     15              Q         And then on the next page,

     16     dermatomyositis/polymyositis, I think that's

     17     DM/PM, right?

     18                        I like the shorthands better,

     19     but -- I can't pronounce these, but what -- what

     20     is that disease?

     21     A        So, these are -- myositis is inflammation

     22     of the muscles, and so this is dermatomyositis.

     23     It's skin and muscle inflammation; or

     24     polymyositis is when there's multiple muscles

     25     that are inflamed.
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                                                                         Page 295
       1             Q         Okay.    And Acthar is not approved

       2    by the FDA for that disease, correct?

       3    A        Correct.

       4             Q         Rheumatoid arthritis, or RA I like

       5    to call it, Acthar is not approved for that

       6    either?

       7    A        Correct.

       8             Q         Systemic lupus, Acthar is not

       9    approved for that?

     10     A        Correct.

     11              Q         Ophthalmic -- eye -- eye

     12     conditions, right?

     13     A        Correct.

     14              Q         Acthar is not approved for that?

     15     A        Correct.

     16              Q         Sarcoidosis, is that correct?

     17     A        Sarcoidosis, yes.

     18              Q         I'm getting there.

     19     A        Yep.

     20              Q         I don't even play a doctor on TV.

     21                        Sarcoidosis is a -- that's not

     22     approved for Acthar, right?

     23     A        Correct.

     24              Q         And then the rest.

     25                        And -- and, sir, did anybody come
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                                                                         Page 296
       1    to you and ask your opinion about whether or not

       2    the PBM should be requiring plans to cover a host

       3    of nonFDA-approved indications for Acthar as a

       4    condition for getting a rebate?

       5                       MR. FORST:      Objection to the form.

       6                       THE DEPONENT:       This is totally

       7             outside my area.         I don't know the

       8             relevance of the document or the -- these

       9             are contracts that are better, you know --

     10              these questions better suited for the

     11              teams that make these contracts.

     12     BY MR. HAVILAND:

     13              Q         And I -- I'm going to have an

     14     opportunity --

     15     A        Yep.

     16              Q         -- with Mr. Adamcik and some

     17     others.      I just want to make clear, because

     18     you're the chief medical officer --

     19     A        Correct.

     20              Q         -- you understand the medicine,

     21     right?

     22     A        Correct.

     23              Q         There was some issue yesterday.

     24                        Is there anyone above you in the

     25     hierarchy of Express Scripts, and I'm just going
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                                                                         Page 297
       1    back to pre-Cigna, that -- that understands the

       2    clinical medical aspects of the drugs better than

       3    you?

       4    A        So, I think I would be arrogant for me to

       5    say I understand the clinical evidence --

       6             Q         That's fair.

       7    A        -- of the drugs better than anyone.

       8             Q         But --

       9    A        But there is -- but I report to

     10     Mr. Wentworth, and Mr. Wentworth --

     11              Q         Yeah.

     12     A        -- has less understanding than me, so...

     13              Q         Fair enough.       He'd looked to you

     14     for that type of information, right?

     15     A        Correct.

     16              Q         All right.      And when the company

     17     had you go out and speak about these issues, the

     18     company recognized that you knew what you were

     19     talking about?

     20     A        Hopefully.

     21                        MR. FORST:      Objection to the form.

     22                        MR. HAVILAND:       Okay.    Let's take a

     23              break, and I'm going to go through this

     24              stack, which I didn't get to do at lunch,

     25              and try to get it down to something that I
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                                                                         Page 298
       1             can get through, and then we're going to

       2             finish up at the next break, okay?

       3                       MR. FORST:      Okay.

       4                       MR. HAVILAND:       Thank you.

       5                       THE VIDEOGRAPHER:        We are going off

       6             the record at 3:22 p.m.

       7                       (Break taken.)

       8                       THE VIDEOGRAPHER:        We are back on

       9             the record at 3:40 p.m.

     10     BY MR. HAVILAND:

     11              Q         So, Dr. Miller, I have no further

     12     questions.      I have a bunch of subjects that I --

     13     I might have covered with you, but I do want to

     14     ask you before we break.

     15                        You're still employed as a

     16     consultant, right?

     17     A        To Cigna, yes.

     18              Q         And do you have an expectation

     19     you'll continue as a consultant through this

     20     year?

     21     A        I believe I'll be -- my contract is

     22     through December 31st.

     23              Q         Okay.    So, you have a contractual

     24     obligation.      And do you expect after that, you'll

     25     be done?
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                                                                         Page 299
       1    A        Most likely.

       2             Q         Okay.    I don't want your personal

       3    address.     I know you put your business address.

       4                       What -- what city and state do you

       5    live in, sir?

       6    A        I live here in St. Louis.

       7             Q         You live in St. Louis.          Okay.

       8                       And you've lived there for a while?

       9    A        30 some odd years, yes.

     10              Q         No expectation of moving?

     11     A        No.

     12              Q         Okay.    Well, with that, I have no

     13     further questions, and I appreciate your time

     14     today.

     15     A        Thank you very much.

     16              Q         I said I would try to be judicious,

     17     and --

     18     A        Yep.

     19              Q         -- I know at times we weren't, but

     20     we've gotten to good place.

     21                        MR. HAVILAND:       So, I would ask

     22              that, if Counsel has questions following

     23              my examination, we close the Rockford

     24              record, and then I would tender the

     25              witness.
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                                                                         Page 300
       1                       MR. FORST:      No questions.

       2                       MR. HAVILAND:       Okay.    Anna, you're

       3             up.

       4                       MS. HIGGINS:       Dr. Miller, good

       5             afternoon.      I will make this quick.

       6                       Actually, I'm going to send these

       7             exhibits to Matt real quick.             I just got

       8             his email.      One second.       I'm sorry, I

       9             apologize, it's a little clunky by Zoom,

     10              but I will make this as quick as possible,

     11              so that you can get out of here.

     12                                EXAMINATION

     13     BY MS. HIGGINS:

     14              Q         So, I just have a few follow-up

     15     questions to what Mr. Haviland asked,

     16     specifically kind of to just try to nail down

     17     some -- some timelines based on what you've

     18     already testified to.

     19                        So, I'm going to pull up --

     20     actually, let me go ahead and do this.                So,

     21     earlier, do you recall that you testified that

     22     you met with Dr. Steve Romano from Mallinckrodt?

     23     Do you recall testifying to that?

     24     A        Yes.

     25              Q         Okay.    And you -- do you recall
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                                                                          Page 301
       1    testifying that you may have spoken to him on the

       2    phone at some point in time?

       3    A        Yes.

       4             Q         Okay.    So, I'm going to mark as

       5    Exhibit 31 ExpressScripts0515829.              I'll screen

       6    share it with you.

       7                       (Exhibit 31 was marked.)

       8                       MR. HAVILAND:       Anna -- Anna, I just

       9             added the reporter to my reply, so if you

     10              want to use that thread, it will take care

     11              of one extra step.

     12                        MS. HIGGINS:       I'm sorry, sorry.

     13              The sound quality is a little rough.

     14                        MR. HAVILAND:       I just put Alexis on

     15              my email, so you have the court reporter.

     16                        MS. HIGGINS:       Thank you.      Okay.

     17              Sorry.

     18     BY MS. HIGGINS:

     19              Q         Dr. Miller, can you see my screen?

     20     Do you see an email?

     21     A        Yes.

     22              Q         Okay.    So, this is an email, we're

     23     going to start at the bottom here and scroll down

     24     to the bottom.       It's an email from Steven Romano

     25     to you, dated November 20th, 2015.              And I'm just
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                                                                         Page 302
       1    going to read quickly from the second paragraph

       2    here.

       3                       It says, My understanding is that

       4    you have some questions regarding several of our

       5    products, including Acthar, and this was an

       6    opportunity for us to consider how best

       7    Mallinckrodt could address those questions or

       8    concerns.      I was hoping to get a sense -- better

       9    sense of any specific product issues, so we could

     10     then address in a small face-to-face meeting with

     11     me and perhaps several of my scientists and

     12     clinicians.      Given the proximities of our

     13     company's headquarters, that could likely be

     14     easily accommodated by both sides.

     15                        Dr. Miller, does this refresh your

     16     memory about the timing of when you may have met

     17     with Dr. Romano?

     18     A        This would be -- this would probably help

     19     my memory, yes.

     20              Q         Okay.    So, you believe that your

     21     meeting with Dr. Romano would have been after

     22     November 20th, 2015?

     23     A        That would probably be correct, yes.

     24              Q         Okay.    And in this email, it says

     25     that you -- he was -- he was made aware that you
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                                                                         Page 303
       1    may have some questions regarding several of

       2    their products, including Acthar.

       3                       Do you have any recollection of

       4    what your questions would have been?

       5    A        I think -- I think this was his kind way,

       6    but you'd have to ask him, of asking why I think

       7    their drug isn't very good.

       8             Q         Okay.    All right.      Moving on.      Oh,

       9    I'm sorry, let me go back to this for a second.

     10     Okay.

     11                        And earlier, Dr. Miller, you

     12     testified that Acthar was changed from clinical

     13     include to clinical optional at some point; is

     14     that right?

     15     A        On the -- that I'm aware of, on the

     16     Medicare formulary.

     17              Q         Medicare formulary.         Okay.

     18                        And Mr. Haviland showed you a few

     19     exhibits, specifically Exhibit 27 and 28, that

     20     indicated it was changed in -- to optional in

     21     2018.

     22                        Do you recall that?

     23     A        I believe I -- I saw those exhibits.               I

     24     don't know if that is when it was made optional

     25     in the Medicare formulary or if it's subsequently
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                                                                         Page 304
       1    been made optional in other formularies.

       2             Q         Okay.    Thank you.      I'm going to

       3    mark, as Exhibit 32, ExpressScripts0975522.

       4                       Dr. Miller, can you see this email

       5    from Andrew Behm --

       6    A        Yep.

       7             Q         -- to David Whitrap?

       8    A        Yes.

       9                       (Exhibit 32 was marked.)

     10     BY MR. HAVILAND:

     11              Q         Okay.    It's dated November 9th,

     12     2015.    And if you look at the second paragraph,

     13     it says, On the Medicare Part D side, again,

     14     confidentially, we flipped Acthar to optional

     15     status approximately two years ago.

     16                        So, based on this email, would that

     17     indicate that the Medicare status was flipped to

     18     optional in 2013?

     19     A        That's -- that is possible.

     20              Q         Okay.    I think I only have one more

     21     question for you.        Previously, you discussed with

     22     Mr. Haviland, in 2018, that Express Scripts

     23     wanted to add the Acthar prior authorization to

     24     the UM bundles.

     25                        Does that -- do you recall that?
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                                                                         Page 305
       1    A        I recall that discussion, yes.

       2             Q         Okay.    Do you know if that was

       3    applied to the Medicare plans as well, or was it

       4    only for commercial?

       5    A        I can't give you -- I don't know the

       6    specifics.

       7                       MS. HIGGINS:       Okay.    Thank you.

       8             Those are -- that's all my questions.

       9                       THE DEPONENT:       Thank you.

     10                        MR. HAVILAND:       Okay.    Dr. Miller,

     11              you're done.

     12                        MR. FORST:      Yeah, no more -- no

     13              questions from us.

     14                        THE VIDEOGRAPHER:        We are going

     15              off -- we are going off the record at

     16              3:47 p.m.

     17                        MR. HAMANN:      We would like

     18              definitely the rough and the standing

     19              order.

     20                        (Deposition recessed at 3:51 p.m.)

     21                                 - - - -

     22

     23

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                                                                         Page 306
       1                       C E R T I F I C A T E

       2

       3               I, Alexis A. Jensen, RPR, CRR, a

       4    Certified Shorthand Reporter, do hereby certify

       5    that prior to the commencement of the

       6    examination, DR. STEVEN MILLER was duly sworn by

       7    me to testify to the truth, the whole truth, and

       8    nothing but the truth.

       9               I DO FURTHER CERTIFY that the foregoing

     10     is a true and accurate transcript of the

     11     deposition of said witness who was first duly

     12     sworn by me on the date and place hereinbefore

     13     set forth.

     14                I FURTHER CERTIFY that I am neither

     15     attorney nor counsel for, nor related to or

     16     employed by, any of the parties to the action in

     17     which this deposition was taken, and further that

     18     I am not a relative or employee of any attorney

     19     or counsel employed in this action, nor am I

     20     financially interested in this case.

     21

     22                          __________________________

     23                     Alexis A. Jensen
                            Notary Public
     24                     My Commission Expires 01/31/23
            Dated: ________________________
     25
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                                                                         Page 307
       1                     INSTRUCTIONS TO WITNESS

       2

       3               Read your deposition over carefully.               It

       4    is your right to read your deposition and make

       5    changes in form or substance.             You should assign

       6    a reason in the appropriate column on the errata

       7    sheet for any change made.

       8               After making any change in form or

       9    substance, and which have been noted on the

     10     following errata sheet, along with the reason for

     11     any change, sign your name on the errata sheet

     12     and date it.

     13                Then sign your deposition at the end of

     14     your testimony in the space provided.               You are

     15     signing it subject to the changes you have made

     16     in the errata sheet, which will be attached to

     17     the deposition before filing.             You must sign it

     18     in front of a witness.          The witness need not be a

     19     notary public.       Any competent adult may witness

     20     your signature.

     21                Return the original errata sheet to the

     22     court reporter promptly!           Court rules require

     23     filing within 30 days after you receive the

     24     deposition.

     25
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                                                                         Page 308
       1                            ERRATA SHEET

       2    PAGE    LINE    CHANGE                    REASON FOR CHANGE

       3    ____    ____    _________________         _________________

       4    ____    ____    _________________         _________________

       5    ____    ____    _________________         _________________

       6    ____    ____    _________________         _________________

       7    ____    ____    _________________         _________________

       8    ____    ____    _________________         _________________

       9    ____    ____    _________________         _________________

     10     ____    ____    _________________         _________________

     11     ____    ____    _________________         _________________

     12     ____    ____    _________________         _________________

     13     ____    ____    _________________         _________________

     14     ____    ____    _________________         _________________

     15     ____    ____    _________________         _________________

     16     ____    ____    _________________         _________________

     17     ____    ____    _________________         _________________

     18     ____    ____    _________________         _________________

     19     ____    ____    _________________         _________________

     20     ____    ____    _________________         _________________

     21     ____    ____    _________________         _________________

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     23     ____    ____    _________________         _________________

     24     ____    ____    _________________         _________________

     25
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                                                                         Page 309
       1                           SIGNATURE PAGE

       2                                   OF

       3                         DR. STEVEN MILLER

       4

       5               I hereby acknowledge that I have read the

       6    aforementioned deposition, dated September 15,

       7    2022, and that the same is a true and correct

       8    transcription of the answers given by me to the

       9    questions propounded, except for the changes, if

     10     any, noted on the attached errata sheet.

     11

     12     SIGNATURE:

     13     __________________________

     14

     15     WITNESSED BY:

     16     __________________________

     17

     18     DATE:

     19     __________________________

     20

     21

     22

     23

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     25
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                                                                         Page 310
       1                           LAWYER'S NOTES

       2    Page    Line

       3    ____    ____    ____________________________________

       4    ____    ____    ____________________________________

       5    ____    ____    ____________________________________

       6    ____    ____    ___________________________________

       7    ____    ____    ____________________________________

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       9    ____    ____    ____________________________________

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